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01-31-2007        J. Hinderaker                                                       2.6                   884.00
                  Work on the SPD claim analysis

01-31-2007        E. Simpson                                                          3.5              1,032.50
                  Work on Gateway Stone Associates memorandum; finalize
                  Binford Medical Developers memorandum; legal research re
                  fraudulent inducement elements and remedies

02-01-2007        S. Freeman                                                          0.2                   102.00
                  Read Mr. R. Charles e-mail re PBGC issue and call him re
                  same

02-01-2007        D. Manch                                                            0.8                   324.00
                  Review pleadings in bankruptcy filings on PBGC issues

02-01-2007        R. Charles                                                          1.6                   616.00
                  Read memo from Mr. D. Monson on Standard Property
                  settlement (.1); work with Mr. J. Hinderaker on analysis of
                  Standard Property settlement and litigation (.2); work on memo
                  on Standard Property settlement (.1); work with Mr. D. Walker
                  on meeting concerning the proposed settlement (.1); facilitate
                  discussion with Mr. Walker, Mr. G. Berman, Ms. S. Freeman
                  and Mr. T. Burr on Standard Property settlement (.4); draft
                  memo to Ms. K. Applegate and Mr. S. Cummings on PBGC
                  (.1); work with Ms. Freeman on impact of plan confirmation
                  (.2); identify additional resource materials on PBGC claim (.2)
                  and work with Mr. Manch on same (.1); work on Standard
                  Property settlement (.1)

02-01-2007        J. Hinderaker                                                       2.4                   816.00
                  Work on memorandum analyzing claims by Standard Property
                  Development

02-02-2007        D. Manch                                                            0.5                   202.50
                  Further review of pleadings (.4); telephone to debtors counsel
                  handling PBGC claim (.1)

02-02-2007        R. Charles                                                          0.2                    77.00
                  Read memo from Ms. C. Carlyon on objection to claims and
                  expedited hearing (.1); note order setting settlement conference
                  and status hearing in Binford suit (.1)

02-02-2007        J. Hinderaker                                                       2.5                   850.00
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                  Work on evaluation memorandum for Standard Property
                  Development claim

02-02-2007        S. Brown                                                           0.4                   128.00
                  Continue work on analysis re Mr. D. Bunch claims

02-04-2007        R. Charles                                                         0.1                    38.50
                  Read FTDF motion and notice of motion to estimate claims for
                  distribution purposes

02-05-2007        S. Freeman                                                         0.1                    51.00
                  E-mail to M. Schoenike re claims order issue; e-mail to A.
                  Jarvis re claims analysis

02-05-2007        S. Freeman                                                         0.1                    51.00
                  Review and approve DTDF claims disallowance order

02-05-2007        R. Charles                                                         0.1                    38.50
                  Note order denying FTDF request to accelerate hearing on
                  motion to estimate claims and setting status hearing

02-05-2007        J. Belanger                                                        2.5                   962.50
                  Review documents, pleadings, 2004 exam of Del Bunch, and
                  various exhibits for purposes of assessing claims against Bunch

02-05-2007        J. Hinderaker                                                      2.1                   714.00
                  Work on Standard Property Development claims analysis

02-05-2007        E. Simpson                                                         2.5                   737.50
                  Work on memorandum concerning Gateway Adversary Action

02-05-2007        M. Schoenike                                                       0.2                    36.00
                  Review e-mail from Ms. S. Freeman and proposed order re
                  objection to misfiled claims

02-06-2007        S. Brown                                                           0.1                    32.00
                  Continue work on analysis re Mr. D. Bunch claims

02-06-2007        E. Simpson                                                         3.9              1,150.50
                  Work on Gateway Stone Associates research memorandum

02-07-2007        R. Charles                                                         0.8                   308.00
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                  Read memo on Standard Property litigation and claims (.2);
                  read notice and call to Ms. A. Jarvis on Motion to Enforce
                  Order Approving Settlement and Application for
                  Compensation filed by Mr. LePome (.1); read Binford report of
                  parties' planning meeting and standard discovery plan (.1); read
                  order on Standard Property appeal (.1); work on answer to Kehl
                  complaint (.2) and draft memo to Mr. S. Strong (.1) and direct
                  Mr. M. Blakely on analysis of same (.1)

02-07-2007        E. Simpson                                                             5.4              1,593.00
                  Work on Gateway Stone Associates Memorandum

02-07-2007        R. Blakley                                                             1.9                   437.00
                  Conference with Mr. R. Charles; review possible conflicts;
                  begin review of complaint

02-07-2007        M. Schoenike                                                           0.2                    36.00
                  Review Order re objection by FTDF Committee to Standard
                  Property Development Claim, calendar hearing, objection and
                  response deadlines

02-08-2007        R. Charles                                                             0.5                   192.50
                  Work with Ms. J. McPherson on Mr. LePome's motion to
                  enforce settlement, and on Mr. Houston's claim to fees (.3);
                  telephone call from Mr. S. Judd on servicing fee dispute (.2);
                  work with Mr. B. Griffin on interpleader issue (.1)

02-08-2007        S. Brown                                                               0.5                   160.00
                  Continue work on issues re Mr. D. Bunch claims

02-08-2007        E. Simpson                                                             7.5              2,212.50
                  Work on Gateway Stone Associates research memorandum
                  (7.0); review recent court filings related to Gateway's proof of
                  claim (.5)

02-08-2007        R. Blakley                                                             1.2                   276.00
                  Review email and revised answer; continue review of
                  complaint and related materials and exhibits

02-08-2007        M. Schoenike                                                           0.3                    54.00
                  Review claims database spread sheet

02-09-2007        R. Charles                                                             0.2                    77.00
                  Work with Mr. J. Belanger on Del Bunch claim, subordination
                  or objection
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02-09-2007        J. Belanger                                                          0.9                   346.50
                  Additional review of documents and pleadings; confer with S.
                  Brown re possible objections to Del Bunch claim

02-09-2007        S. Brown                                                             1.1                   352.00
                  Continue work on Mr. D. Bunch claim analysis and potential
                  subordination or recharacterization

02-09-2007        E. Simpson                                                           3.2                   944.00
                  Work on Gateway Stone Associates memorandum; review case
                  law cited by USACM concerning Nevada law interpretation of
                  contracts

02-09-2007        R. Blakley                                                           3.6                   828.00
                  Continue document review including loan agreement, deeds of
                  trust, notes and documents in support of pleadings and motions
                  filed (1.6); review claims filed for additional information (1.1);
                  confirm licensure and ability of USA to service its own loans
                  (.4); complete review of servicing agreement (.3); email Mr. R.
                  Charles re servicing issue (.2)

02-11-2007        E. Simpson                                                           7.6              2,242.00
                  Finalize research memorandum re Gateway Stone Associates'
                  claim and adversary proceedings initiated by USACM (.6);
                  legal research re choice of law provisions in adversary actions
                  and parol evidence rule (7.0)

02-12-2007        R. Blakley                                                           1.3                   299.00
                  Continue review of pleading and exhibits

02-13-2007        R. Charles                                                           0.2                    77.00
                  Work on interpleader and response to fee application (.1); read
                  memo from Mr. S. Strong on allocation of BMC invoices (.1)

02-13-2007        J. Hinderaker                                                        0.9                   306.00
                  Read and review stipulation to withdraw Standard Property's
                  claim against the FDTF Estate (.1); review BAP order
                  requesting response about parties intent to pursue adversary
                  proceedings against Standard Property before the Bankruptcy
                  Court (.2); review Standard Property's response to the objection
                  of the official committee of equity security holders of FTDF to
                  Standard Property's proof of claim (.3); review affidavit of
                  George Venturrella filed on February 7, 2007, which detailed
                  Standard Property's damages (.3)
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02-14-2007        R. Charles                                                           0.9                   346.50
                  Read memo from Mr. J. Hinderaker on Standard Property
                  claims and litigation (.3); read memo from Ms. E. Simpson on
                  Binford claims and litigation (.3); read memo from Ms.
                  Simpson on Gateway claims and litigation (.3)

02-14-2007        J. Belanger                                                          0.5                   192.50
                  Meet and confer with S. Brown and M. Ruth re claims against
                  Del Bunch

02-14-2007        S. Brown                                                             2.1                   672.00
                  Continue work on Mr. D. Bunch claim and counterclaims (1.5);
                  continue review re same re Rule 2004 exam (.6)

02-14-2007        R. Blakley                                                           3.4                   782.00
                  Review email from Mr. R. Charles; review Joint Motion for
                  Stipulated Order for correct citations and other issues; review
                  reorganization plan

02-15-2007        J. Hinderaker                                                        0.6                   204.00
                  Review and analyze motion to withdraw the reference (.4);
                  review District Court docket re same and orders filed by the
                  District Court (.2)

02-15-2007        S. Brown                                                             0.2                    64.00
                  Continue work on filing documents re proof claim and motion
                  to compel payment of administrative claim

02-15-2007        M. Ruth                                                              4.6                   920.00
                  Review file re Del Bunch claim (1.5); review Bunch deposition
                  (1.0); begin research re potential objections (2.1)

02-16-2007        R. Charles                                                           0.6                   231.00
                  Work with Mr. J. Hinderaker and call to Mr. L. Schwartzer on
                  Standard Property litigation and motion to withdraw reference
                  (.5); work on response to Mr. LePome's motion to enforce
                  settlement and for sanctions (.1)

02-16-2007        J. Hinderaker                                                        0.4                   136.00
                  Discuss status of motion to withdraw the reference in the
                  Standard Property adversarial and other case related issues with
                  Mr. R. Charles and call Mr. L. Schwartzer re same

02-17-2007        R. Charles                                                           0.4                   154.00
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                  Work with Ms. J. Chubb on Kehl claims objection (.1); read
                  and respond to memo from Mr. G. Walch on servicing fee
                  dispute (.1); read memo from Mr. S. Cummings on claims
                  objections (.1); read order on settlement conference (.1)

02-18-2007        R. Charles                                                          0.1                    38.50
                  Read memo from Mr. G. Walch on withdrawal of "offer" as to
                  servicing fees dispute (.1)

02-19-2007        R. Charles                                                          0.9                   346.50
                  Note McGimsey, McGimsey and Clark appeal on denial of
                  claim (.1); read Mr. D. Huston's reply on compensation in
                  interpleader action (.1); read Mr. LePome's objection to Mr.
                  Huston's second application for compensation (.1); read
                  Debtors' opposition to Mr. LePome's motion to enforce
                  settlement (.1); read Mr. J. Feeney's limited objection to Mr.
                  Huston's second interim fee application (.1); read memo from
                  Mr. S. Cummings and draft claims objection and schedules
                  (.2); read notice and Mr. LePome's fee application and direct
                  research for response (.2); read memo from Mr. M. Blakely on
                  servicing fee (.1)

02-19-2007        J. Hinderaker                                                       0.1                    34.00
                  Review BAP's order suspending prosecution of appeal in
                  Standard Property matter

02-19-2007        S. Brown                                                            0.7                   224.00
                  Work on issues re Mr. D. Bunch claims

02-19-2007        M. Ruth                                                             2.8                   560.00
                  Continue research re potential objections re Mr. D. Bunch's
                  claim (2.0); begin drafting memo re same (.8)

02-19-2007        R. Blakley                                                          2.6                   598.00
                  Review emails from Mr. R. Charles and leave voicemail;
                  complete preliminary research and draft email with evaluation
                  of adversary servicing fee complaint

02-20-2007        R. Charles                                                          0.2                    77.00
                  Work with Ms. S. Smith on servicing fees

02-20-2007        S. Brown                                                            1.4                   448.00
                  Continue research re substantial contribution claim by attorney
                  for direct lenders
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02-20-2007        M. Ruth                                                            5.9              1,180.00
                  Continue research re potential objections to Bunch claim (5.0);
                  continue drafting memo re same (.9)

02-21-2007        S. Freeman                                                         0.3                   153.00
                  Review draft claims objections and claims charts

02-21-2007        R. Charles                                                         0.5                   192.50
                  Note order on hearing on Spectrum claims; draft letter to
                  counsel (.2); skim Kantor response to FTDF claim objection
                  (.1); work with Ms. E. Simpson on analysis of Spectrum claims
                  (.2); read memo from Mr. L. Schwartzer and Standard Property
                  stipulation (.1)

02-21-2007        E. Simpson                                                         0.2                    59.00
                  Review scheduling order; review revisions to Gateway Stone
                  Associates and Binford Medical Developers memoranda

02-22-2007        S. Freeman                                                         0.3                   153.00
                  Telephone to Mr. R. Charles re hearings and claims issues and
                  strategy and in part add S. Smith re claims analysis issue

02-22-2007        S. Freeman                                                         0.1                    51.00
                  Respond to Mr. S. Cummings e-mail and read his reply re
                  claims analysis

02-22-2007        S. Freeman                                                         0.1                    51.00
                  Send e-mail to USACM re claims analysis and read responses
                  from S. Smith, S. Cummings and reply re claims' spreadsheet

02-22-2007        R. Charles                                                         0.8                   308.00
                  Work with Ms. S. Freeman and include Ms. S. Smith from
                  Mesirow in call on analysis of claims and database prepared by
                  Mesirow and BMC (.5); work with Mr. G. Walch on
                  scheduling his adversary (.1); work with Ms. S. Freeman on the
                  analysis of claims (.1); approve joinder to opposition to Mr.
                  LePome's settlement motion (.1); read memo from Mr. L.
                  Schwartzer and draft memo to Mr. Berman on Waddell claim
                  (.2)

02-22-2007        M. Ruth                                                            9.5              1,900.00
                  Continue drafting memo re objection to Mr. D. Bunch's claim
                  (6.0); continue research re same (3.5)

02-22-2007        R. Blakley                                                         1.2                   276.00
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                  Review partial opposition filed by plaintiff Walch Family Trust

02-23-2007        S. Freeman                                                          0.2                   102.00
                  Read draft motion to reclassify priority claims, and send e-mail
                  to R. Charles with comments

02-23-2007        S. Freeman                                                          0.1                    51.00
                  Read R. Charles and A. Jarvis e-mails re priority claim curve-
                  out and E. Madden e-mail re administrative claim objection

02-23-2007        S. Freeman                                                          0.3                   153.00
                  Read draft objections to priority administrative and secured
                  claims, with R. Charles' additions, and send additional citations
                  for use in objections

02-23-2007        S. Freeman                                                          0.4                   204.00
                  Read L. Schwartzer e-mail re Spectrum claims and R. Charles
                  e-mail to G. Berman and his response, and R. Charles response
                  to L. Schwartzer (.2); read draft objection to misclassified
                  claims and send e-mail to R. Charles with suggestions (.2)

02-23-2007        R. Charles                                                          2.4                   924.00
                  Read memos from Ms. S. Cummings on claims objections,
                  respond to Mr. Cummings and forward to client (.1); read
                  memo from Mr. G. Berman on Waddell litigation, draft memo
                  to Mr. L. Schwartzer on discovery plan, and draft memo to Mr.
                  E. Madden on strategy (.2); work on Mr. Cummings' draft of
                  objection to misclassified claims (.4); work on Mr. Cummings'
                  draft of objection to priority claims (.4); work on Mr.
                  Cummings' draft of objection to administrative claims (.3);
                  work with Mr. G. Berman and Mr. E. Madden and draft memo
                  to Mr. S. Cummings re administrative claims (.2); work on Mr.
                  Cummings' draft of objection to secured claims (.3); read
                  memo from Mr. L. Schwartzer and read filings on Lowe
                  Residential Enterpriser suit (.2); work with Mr. M. Blakley on
                  servicing fees (.2); read memo from Mr. Schwartzer on
                  Weddell discovery plan (.1); read memo from Ms M.
                  Schoenike on proofs of claim by brokers (.1)

02-23-2007        S. Brown                                                            0.1                    32.00
                  Follow up on issues re Mr. D. Bunch claim

02-23-2007        M. Ruth                                                             2.4                   480.00
                  Continue research re potential objections to Mr. D. Bunch's
                  claim (1.2); continue drafting memo re same (1.2)
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02-23-2007        R. Blakley                                                          1.2                   276.00
                  Conference with Mr. R. Charles regarding servicing fee claims
                  and begin research for objections

02-23-2007        M. Schoenike                                                        1.0                   180.00
                  Research and analysis of claims filed, e-mail to Mr. E. Madden
                  re same

02-25-2007        R. Charles                                                          0.2                    77.00
                  Read Mr. LePome's reply on motion to enforce settlement and
                  for sanctions (.1); draft memo to Ms. A. Jarvis on executory
                  contract rejection claims (.1)

02-25-2007        E. Simpson                                                          0.5                   147.50
                  Work on memorandum concerning Weddell/Spectrum lawsuit

02-26-2007        R. Charles                                                          0.8                   308.00
                  Read memo from Mr. S. Strong and read objection to PFGC
                  claim (.3); conference with Mr. D. Manch on objection (.1);
                  read and respond to memo on Walch adversary (.1); read
                  DACA objection to Mr. Houston's fee application in the
                  interpleader (.1); read Liberty Bank statement of claim in HMA
                  Sales litigation (.1); read Mr. LePome's reply in support of
                  motion for sanctions (.1)

02-26-2007        M. Ruth                                                             6.8              1,360.00
                  Continue research re objections to Mr. D. Bunch's claim (3.8);
                  finalize memo re same (3.0)

02-27-2007        S. Freeman                                                          0.1                    51.00
                  Read draft objection to PBGC claim and R. Charles e-mail re
                  same

02-27-2007        R. Charles                                                          1.2                   462.00
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                  Read memo from Mr. L. Schwartzer with information on
                  objection to secured claims (.1); read memo from Mr. L.
                  Schwartzer on Walch stipulation and correspond with Mr.
                  Walch on same (.1); work with Mr. G. Berman on draft
                  objection to PBGC claim and draft memo to Mr. S. Strong on
                  same (.1); draft memo to Ms. S. Smith on analysis of direct
                  lender claims (.1); work with Ms. L. Dorsey on stipulation in
                  Walch adversary (.1); draft memo to Mr. Berman on claims
                  analysis (.1); telephone call from Mr. S. Strong on omnibus
                  claims objection (.1); telephone call from Ms. Alyssa Kadish
                  on Weddell claim (.5)

02-27-2007        S. Brown                                                              1.7            544.00
                  Review and analyze issues re objection to Mr. D. Bunch's
                  claim

02-28-2007        S. Freeman                                                            0.1                51.00
                  Read G. Berman e-mail to T. Burr re claims analysis issues,
                  and T. Burr response

02-28-2007        R. Charles                                                            0.1                38.50
                  Read memo from Mr. R. McKnight on appraisals and respond

02-28-2007        J. Belanger                                                           1.0            385.00
                  Review M. Ruth memo re objection to Mr. D. Bunch's claim

02-28-2007        S. Brown                                                              0.1                32.00
                  Continue work on Mr. D. Bunch claim issues

03-01-2007        R. Charles                                                            0.7            269.50
                  Discuss claims objections with Hon. L. Riegle and court staff
                  at hearing (.3) and after with Debtors' counsel and court staff
                  (.3); read and respond to inquiry from Ms. Kim Kulasa on Bay
                  Pompano (.1)

03-01-2007        S. Brown                                                              0.4            128.00
                  Follow up on Mr. D. Bunch objection issues and review and
                  circulate new materials on Bunch issue

03-02-2007        S. Freeman                                                            0.4            204.00
                  Read Mr. R. Charles e-mail re omnibus claim objection and
                  docketing issue raised in court, and respond with Delphi
                  example and explanation of additional issues (.3); respond to
                  Ms. M. Schoenike follow-up e-mail re same (.1)
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03-02-2007        S. Freeman                                                           0.5            255.00
                  Read proposed changes to meet court concerns re claims
                  objections and respond (.1); e-mail to T. Burr and R. Charles re
                  claims objection issue, and respond to T. Burr proposal (.1);
                  telephone to and telephone from S. Brown re objection to D.
                  Bunch claim status (.2); read R. Charles e-mail to debtor's
                  counsel re claims objection issue and reply to response (.1)

03-02-2007        S. Freeman                                                           0.9            459.00
                  Participate in call with G. Berman, R. Charles on allocation and
                  claim issues (.5); participate in call with R. Charles and debtor
                  counsel and S. Smith re claims issues (.4)

03-02-2007        R. Charles                                                           2.4            924.00
                  Work with Ms. M. Schoenike to follow up Judge Riegle's and
                  her courtroom deputy's directives on omnibus claims objection
                  (.2); read minute entry on Waddell claim objection (.1); read
                  minute entries on Gateway Stone claim and adversary (.1);
                  work with Mr. S. Strong, Ms. P. Hunt and Ms. S. Freeman on
                  claims objections (.2); telephone to Mr. T. Burr on claim
                  objections (.1); work with Ms. M. Schoenike on notice of entry
                  of order in Walch adversary (.1); read memo from Mr. Burr on
                  claims (.1) and respond on potential objections (.1); note
                  stipulation withdrawing Standard Property proof of claim (.1);
                  review executory contracts claims and draft memo to Mr. S.
                  Strong on direct lenders issue (.3); call to Mr. Strong (.1); work
                  with Mr. Blakley on Placer Vineyards claims (.1); work with
                  Mr. Strong, Mr. Berman, Ms. S. Smith, Ms. A. Jarvis on
                  claims, objections and strategy for avoiding immediate,
                  massive claims objection (.7); follow up with Mr. Burr on
                  claims objections and amendments (.1)

03-02-2007        S. Brown                                                             2.3            736.00
                  Continue work and research on issues re Mr. D. Bunch claim

03-02-2007        M. Ruth                                                              1.3            260.00
                  Edit and revise memo re Bunch claim objections (.8); research
                  re same (.5)

03-02-2007        R. Blakley                                                           2.5            575.00
                  Review email from Mr. R. Charles and reply (.3); process
                  documents printed (.4); begin organization and document
                  review as requested (1.8)

03-02-2007        M. Schoenike                                                         2.5            450.00
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                  Review e-mails from Mr. Rob Charles and Ms. S. Freeman re
                  claims objections (.2); review Delphi docket re claims
                  objections and tracing (.7); telephone call to Ms. D. Li, Deputy
                  Clerk to Judge Drain re handling of objections, docketing,
                  tracing (.6); telephone call to Schwartzer & McPherson re
                  objection to claims (.4); review e-mails from Ms. A. Hosey re
                  attempts to resolve Court's concerns and work on processing of
                  omnibus objections to proof of claims (.3); e-mail to Mr. Rob
                  Charles and Ms. S. Freeman re claims objections (.3)

03-02-2007        M. Schoenike                                                        0.1                18.00
                  Review Mr. Rob Charles e-mail re claims arising from
                  rejection of executory contracts

03-03-2007        R. Charles                                                          0.1                38.50
                  Work on objection to Mr. LePome's fee application

03-03-2007        R. Blakley                                                          2.2            506.00
                  Complete review and comparison of two loan servicing
                  agreements and note differences and confirm servicer's rights;
                  review Nevada mortgage banking statutes for issues relating to
                  servicing the loans by successor entity

03-04-2007        J. Belanger                                                         0.9            346.50
                  Review memos and case law re Bunch claim issue

03-04-2007        E. Simpson                                                         10.4           3,068.00
                  Work on Weddell-Spectrum Financial Group memorandum
                  summarizing and analyzing claims, facts, and defenses

03-04-2007        R. Blakley                                                          3.1            713.00
                  Review email from Mr. R Charles and reply (.3); review draft
                  of memorandum regarding status of Placer loans (.9); continue
                  review of loan and related documents (1.1); review appraisal of
                  property (.8)

03-05-2007        S. Freeman                                                          0.2            102.00
                  Discuss research results and direct Mr. S. Brown and Mr. M.
                  Ruth re Bunch claim objection

03-05-2007        S. Freeman                                                          0.2            102.00
                  Read e-mails from M. Tucker, R. Charles, G. Berman re Reale
                  proof of claim and read proof of claim (.1); read objection to
                  PBGC claim, notice of hearing, and R. Charles e-mails re same
                  (.1)
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03-05-2007        S. Freeman                                                          0.2            102.00
                  Telephone from R. Charles re claims issues

03-05-2007        S. Freeman                                                          0.2            102.00
                  Read S. Strong and R. Charles e-mails re executory contracts
                  rejection claims, and send e-mail to T. Burr re checking for cap
                  (.1); read analysis e-mail from R. Charles re claims issue and
                  response from S. Strong (.1)

03-05-2007        R. Charles                                                          0.8            308.00
                  Work with Mr. J. Belanger on Del Bunch claim objection (.1);
                  read memo from Mr. S. Strong and respond with additional
                  inquiry (.1) and draft memo to Mr. G. Berman on claims
                  objections (.1); read memos from Mr. Strong and Ms. S. Smith
                  (.1); and direct claims objections (.1); work with Mr. Berman
                  on claims objections (.1); work with Ms. Freeman on claims
                  and amended schedules (.1); draft memo to Mr. Strong and Ms.
                  Smith on amended schedules (.1); work with Ms. Smith on
                  objections (.1); work on landlord claims and draft memo to Mr.
                  Burr (.2)

03-05-2007        J. Belanger                                                         1.0            385.00
                  Meeting re claims against Del Bunch (.6); review memos re
                  same (.4)

03-05-2007        S. Brown                                                            2.2            704.00
                  Continue work on Mr. D. Bunch claim objection (.7); attend
                  various meetings re same (1.0); commence drafting memo re
                  same (.5)

03-05-2007        M. Ruth                                                             1.1            220.00
                  Conference with Mr. J. Belanger and Mr. S. Brown re
                  objection to Bunch claim (.5); conference with Mr. S. Brown re
                  same (.6)

03-05-2007        R. Blakley                                                          4.2            966.00
                  Review email from Mr. R. Charles regarding power of
                  attorney, review documents, and reply (1.2); review Nevada
                  statutes and code relating to servicer duties and assignment of
                  rights (1.1); continue review of loan and related documents
                  (.8); complete comparison of loan servicing agreements and
                  note discrepancies (1.1)

03-05-2007        M. Schoenike                                                        0.5                90.00
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                  Review e-mail re substitution of counsel and stipulation
                  continuing hearing on objection to Spectrum Financial claim,
                  calendar continued hearing (.2); review various e-mails re
                  objections to claims and review claims and schedules (.3)

03-06-2007        S. Freeman                                                           0.1                51.00
                  Read S. Smith e-mail re claims and send e-mail to R. Charles
                  re issue on claims; read his response and send reply

03-06-2007        R. Charles                                                           0.6            231.00
                  Work with Ms. S. Freeman on Mr. Russell's claim (.1); read
                  and respond to memo from Mr. L. Schwartzer on Standard
                  Property appeal (.1); read memo from Mr. G. Walch (.1); read
                  memo from Mr. T. Burr on executory contracts (.1); note entry
                  of order withdrawing Standard Property claim (.1); work on
                  objections to claims with Ms. E. Simpson and skim new proofs
                  of claim (.2); read memo from Mr. T. Burr on claims analysis
                  (.1)

03-06-2007        S. Brown                                                             3.4           1,088.00
                  Continue work on memo and research re same re Mr. D. Bunch
                  claim

03-06-2007        E. Simpson                                                           4.3           1,268.50
                  Work on memorandum concerning Weddell/Spectrum
                  Financial Group

03-06-2007        R. Blakley                                                           6.2           1,426.00
                  Continue review of loan and other documents related to the
                  Placer property (3.5); continue draft of memorandum (2.0);
                  review relevant statutes (.7)

03-06-2007        M. Schoenike                                                         4.3            774.00
                  Obtain, review proofs of claim of Lerin Hills, Copper Sage,
                  Los Valles Land & Golf (.5); obtain, review objection to
                  Binford, Standard Property and Gateway Stone (.6); review
                  memorandums prepared by Ms. E. Simpson and Mr. J.
                  Hinderaker re claims (.9); work on objections to claims filed by
                  Lerin Hills, Copper Sage and Los Valles Land & Golf (2.1);
                  telephone call to Ms. E. Simpson and telephone from Mr. R.
                  Charles re objections (.2)

03-07-2007        S. Freeman                                                           0.5            255.00
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                  Review Sierra analysis of rejection claims and T. Burr e-mail
                  re claims objections, check proofs of claim for contacts, and
                  send response e-mail re tasks needed (.3); telephone from Mr.
                  R. Charles re form of effective date notice and claims issue
                  (.1); telephone to J. Sylvester (message re lease claim
                  computation) (.1)

03-07-2007        S. Freeman                                                           1.0            510.00
                  Send e-mail to M. Yoder re lessor connection issue (.1); further
                  revise draft lease claim objections /motions and send to R.
                  Charles for input (.9)

03-07-2007        S. Freeman                                                           1.6            816.00
                  Send e-mail to S. Strong re Pecos insider connections, and
                  check additional documents re claim analysis and lessor
                  connections (.2); further work on objections to lease
                  rejection/subordination motions (.9); review materials from S.
                  Strong re Pecos, and incorporate into objection/ motion (.4); e-
                  mail to S. Smith re sublease issue, and read her response (.1)

03-07-2007        S. Freeman                                                           1.9            969.00
                  Work on draft objections to lease rejection claims, checking
                  court filings and insider documents for relevant facts (1.8); e-
                  mail to R. Charles re information on Pecos and send e-mail to
                  M. Tacker re same (.1)

03-07-2007        S. Freeman                                                           0.4            204.00
                  Read J. Sylvester e-mail with rejection claim calculations,
                  compare to Sierra analysis and request Sierra confirmation (.2);
                  reply to G. Berman e-mail re same (.1); red draft objection to
                  IRS claim, and send e-mail to R. Charles re same (.1)

03-07-2007        S. Freeman                                                           0.6            306.00
                  Read e-mail from D. Tiffany re Sierra analysis of lease
                  rejection claims, and respond (.1); respond to follow up e-mails
                  from G. Berman (.1); send e-mail to D. Tiffany re sublease
                  information (.1); send e-mail to R. Charles re insider
                  connection and review information in response (.1); follow up
                  e-mail for more data; read R. Charles response to IRS claim
                  objection inquiry, and send e-mail to S. Strong re our
                  comments (.2)

03-07-2007        J. Hinderaker                                                        1.3            442.00
                  Work on memorandum regarding claims filed by Binford,
                  Gateway and Standard Property
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03-07-2007        S. Brown                                                             3.0            960.00
                  Continue working on memo and research re Mr. D. Bunch
                  claim and potential counterclaims (2.8); review deadlines re
                  bringing counterclaims (.2)

03-07-2007        E. Simpson                                                           0.4            118.00
                  Work on revisions to Binford memorandum concerning
                  economic loss rule

03-07-2007        M. Ruth                                                              0.3                60.00
                  Meeting with Mr. S. Brown re potential claims against Del
                  Bunch

03-07-2007        R. Blakley                                                           2.1            483.00
                  Continue document review and draft of memorandum re status
                  and options for Placer property

03-07-2007        M. Schoenike                                                         1.8            324.00
                  Work on objections to proofs of claim of Lerin Hills, Copper
                  Sage, and Los Valles (1.8)

03-08-2007        S. Freeman                                                           0.4            204.00
                  Respond to M. Yoder e-mail re Tanamera information, and
                  send e-mail to C. Clancy to get corporate records (.1); review
                  Tanamera corporate filings, and add to claim objection (.2);
                  send e-mail to M. Yoder re Tanamera issue; send e-mail to M.
                  Schoenike re claim data to insert (.1)

03-08-2007        S. Freeman                                                           0.2            102.00
                  Respond to J. Sylvester e-mail re potential objections to lease
                  rejection claims (.1); respond to M. Schoenike request re
                  claims objection (.1)

03-08-2007        S. Freeman                                                           0.1                51.00
                  Read and respond to M. Schoenike question re claims
                  objections

03-08-2007        R. Charles                                                           0.9            346.50
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                  Read memo from Mr. A. Brumby (.1), review status of
                  Standard Property litigation and draft memo to Mr. Brumby on
                  continuing hearing (.1); work with Mr. Brumby and Mr.
                  Schwartzer on Standard Property scheduling (.1); read and
                  respond to memo from Mr. Schwartzer on Gateway Stone (.1);
                  read memo from Ms. C. Carlyon on claims objections (.1);
                  work on objections to claims of Haspinov (.2), Tanamera (.2),
                  and Pecos Plaza (.1) and discuss with Ms. S. Freeman (.1)

03-08-2007        J. Hinderaker                                                        0.2                68.00
                  Review numerous emails related to Standard Property Claim

03-08-2007        S. Brown                                                             4.3           1,376.00
                  Continue work on memo and research re counterclaims against
                  Mr. D. Bunch

03-08-2007        M. Schoenike                                                         3.6            648.00
                  Finalize objections to proofs of claim of Lerin Hills, Copper
                  Sage and Los Valles, forward to Mr. Rob Charles for review
                  (.6); work on objections to Haspinov, Pecos and Tanamera for
                  rent (1.8); review e-mail from Ms. S. Freeman, work on
                  Haspinov, Pecos and Tanamera objections (1.2)

03-09-2007        S. Freeman                                                           0.3            153.00
                  Telephone from G. Berman re reserve calculations, objection
                  filings (.2); read R. Charles and G. Berman e-mails re claim
                  objections (.1)

03-09-2007        S. Freeman                                                           0.2            102.00
                  Read M. Yoder e-mail re Tanamera with attached document,
                  and respond (.1); read G. Berman response re lease rejections,
                  and respond re same (.1)

03-09-2007        R. Charles                                                           1.2            462.00
                  Work with Ms. E. Simpson on objections to Lerin Hills,
                  Copper Sage and Los Valles claims (.5); call to Mr. T. Burr and
                  direct Ms. M. Schoenike on declaration (.1); work with Ms.
                  Schoenike and Mr. Burr and Ms. Simpson on Lerin Hills and
                  claims objections (.2); work with Mr. J. Hinderaker on analysis
                  of Binford, Gateway and Standard Property litigations (.3);
                  read memo from Mr. L. Schwartzer on Gateway claim (.1);
                  draft memo to Mr. G. Berman on IRS claim objection (.1)

03-09-2007        J. Hinderaker                                                        0.9            306.00
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                  Work on memorandum regarding claims by Standard Property
                  and Gateway Stone Associates and Binford

03-09-2007        S. Brown                                                            1.6            512.00
                  Review committee website inquiry and respond re same (.2);
                  continue work on memo and research and related issues re Mr.
                  D. Bunch claim and possible counterclaims (1.4)

03-09-2007        E. Simpson                                                          8.2           2,419.00
                  Work on memorandum concerning Weddell/Spectrum
                  Financial Group (8.2)

03-09-2007        M. Ruth                                                             1.3            260.00
                  Work on memo re possible causes of action against Del Bunch

03-09-2007        M. Ruth                                                             4.3            860.00
                  Research re preclusive effect of plan confirmation, necessity of
                  adversary proceeding for recoupment

03-09-2007        R. Blakley                                                          2.2            506.00
                  Complete review of subordinated loan agreement and deed of
                  trust, additional fee agreements, title policies and supporting
                  documents

03-09-2007        M. Schoenike                                                        4.4            792.00
                  Work on objection to Mountain West Mortgage Co. claim and
                  revisions to objections to Haspinov, Tanamera and Pecos (2.5);
                  draft Ted Burr Declaration (.9); review e-mails re deadline for
                  filing of objections (.2); research re pre and post judgment
                  interest awards, 544 and 548 fraudulent transfer claims as
                  requested by Mr. S. Brown (.8)

03-10-2007        S. Freeman                                                          0.1                51.00
                  Read G. Berman e-mail re claims objections

03-10-2007        R. Charles                                                          1.8            693.00
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                  Work on motion to extend deadline for objection to claims for
                  rejection damages (.1) and work on motion of Mr. T. Burr in
                  support of same (.3); draft memo to Mr. Burr and Mr. G.
                  Berman on same (.1); work on declaration in support of
                  objections to rejection claims (.2); work on objection to
                  Haspinov claim and supporting declaration (.2); work on
                  objection to Pecos claim and supporting declaration (.3); work
                  on objection to MWM claim and supporting declaration; work
                  on objection to Lerin Hills claim and supporting declaration
                  (.3); work on objection to Tanamera claim and supporting
                  declaration (.3)

03-12-2007        S. Freeman                                                        0.2            102.00
                  Check trust agreement for final changes needed, and e-mail to
                  G. Berman re same

03-12-2007        R. Charles                                                        2.0            770.00
                  Work on Copper Sage (.2) and Los Valles (.2) claims
                  objections; draft memo to Ms. M. Schoenike on claims
                  objections (.1); read memo from Mr. T. Burr on declaration
                  (.1); work with Ms. S. Freeman on Diversified claim and
                  settlement (.3); note filing by Standard Property in BAP appeal
                  and draft memo to Mr. A. Brumby (.1); work with Ms. J.
                  Chubb on Kehl claims (.1); read letter from contractor claiming
                  escrowed funds in Binford (.1); work with Ms. S. Scann on
                  Binford claim and litigation (.2); work with Ms. E. Simpson on
                  Halsey Canyon claim (.2); work with Ms. Simpson on Los
                  Valles after reading memo from Mr. Strong (.2); work on Burr
                  declaration for claims objections (.2); work with Mr. Burr on
                  claims analysis (.2); work on motion to extend bar date to
                  object to rejection damages claims and Mr. Burr's declaration
                  (.2)

03-12-2007        J. Hinderaker                                                     2.7            918.00
                  Work on memorandum related to SPD, Binford and Gateway
                  claims

03-12-2007        E. Simpson                                                        6.5           1,917.50
                  Work on memorandum summarizing claims and counterclaims
                  in Weddell/Spectrum Financial Group action (.7); work on
                  objections to proofs of claim in Los Valles (3.4); review
                  agreement related to payoff of Los Valles' loan post-petition
                  (2.4)

03-12-2007        M. Schoenike                                                      0.4                72.00
                  Continue working on objections to claims
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03-12-2007        M. Schoenike                                                          3.8            684.00
                  Review motion to extend deadline to file objection to rejection
                  claims and Burr Declaration (.2); respond to Mr. Rob Charles
                  re Los Valles and Copper Sage objections (.2); file, docket and
                  serve motion to extend deadline, and Burr Declaration (.5);
                  work on revisions to objections to claims of and Burr
                  Declaration re objections (2.2); review Las Valles documents,
                  and Hasley Canyon loan payoff, respond to Mr. R. Charles re
                  claim (.3); revise Burr declaration to objection to claims and e-
                  mail to Mr. T. Burr for review (.3); respond to Ms. E. Simpson
                  re Chambers Courtesy copy (.1);

                      TOTAL FOR TASK CODE B310                                        585.4         139,497.50


             B320 PLAN/DISCLOSURE STATEMENT

08-09-2006        R. Charles                                                            0.7            269.50
                  Read proposed stipulation and order for extension of plan
                  exclusivity (.1); read memo from Mr. A. Landis and call him
                  on the issue (.2); telephone call from Mr. J. Gordon on same
                  (.4); read memo from Mr. S. Strong and approve revised
                  stipulated order on plan exclusivity

08-10-2006        R. Charles                                                            0.3            115.50
                  Work with Mr. S. Strong, Ms. C. Carlyon and Mr. G. Gordon
                  on order briefly extending Debtors' exclusivity period (.1); read
                  memo from Ms. C. Pajak on "one time without our consent"
                  language (.1); work with Mr. S. Strong on change requested by
                  FTDF and Direct Lenders (.1); read and approve revised
                  stipulation (.1)

08-11-2006        R. Charles                                                            0.1                38.50
                  Read memo from Mr. A. Landis on exclusivity order after
                  noting entry of interim order

08-14-2006        R. Charles                                                            0.4            154.00
                  Work with Ms. S. Freeman on structuring sale and plan issues
                  for meetings in Las Vegas (.3); read memo from Mr. M.
                  Levinson re same (.1)

08-16-2006        S. Freeman                                                            0.2            102.00
                  Emails regarding plan meeting issues (.1); Telephone from R.
                  Charles regarding same and conversations in Las Vegas
                  regarding plan (.1)
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08-16-2006        R. Charles                                                          1.0            385.00
                  Meet with Mr. M. Levinson and Ms. L. Ernce re plan

08-16-2006        R. Charles                                                          1.3            500.50
                  Meet with Ms. A. Jarvis, Ms. S. Smith, Mesirow, Mr. M.
                  Levinson and Ms. L. Ernce on plan and settlement issues (1.0)
                  and discuss after with Mr. Levinson and Ms. Ernce (.3)

08-16-2006        R. Charles                                                          0.2                77.00
                  Correspond on plan meeting arrangements (.1); discuss plan
                  alternatives with Mr. M. Levinson (.1); read memos from Ms.
                  Jarvis and Mr. Levinson re plan issues (.1)

08-17-2006        S. Freeman                                                          0.5            255.00
                  Evaluate plan issues with R. Charles

08-17-2006        R. Charles                                                          0.5            192.50
                  Work with Ms. S. Freeman on plan alternatives, discussion and
                  settlement ideas and follow up from hearings and meetings

08-17-2006        R. Charles                                                          3.4           1,309.00
                  Prepare for and meet with Debtors, Mesirow, Diversified
                  counsel, chair and FTI, FTD Fund counsel and chair, Direct
                  Lenders' counsel and chair, Mr. D. Walker and Mr. T. Burr on
                  plan alternatives and settlement

08-18-2006        S. Freeman                                                          0.2            102.00
                  Review notes of Mr. R. Charles and T. Burr materials in Las
                  Vegas re plan negotiations and respond with my thoughts on
                  same

08-21-2006        R. Charles                                                          0.2                77.00
                  Telephone call from Mr. M. Levinson on discussions
                  concerning USAIP, plan, sale and related issues (.2)

08-23-2006        R. Charles                                                          1.0            385.00
                  Work on plan issues outline

08-24-2006        R. Charles                                                          0.6            231.00
                  Read memo from Ms. E. Karasik and skim plan term sheet
                  proposal (.2); work with Mr. M. Levinson on settlement and
                  plan issues and related topics (.4)
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08-25-2006        S. Freeman                                                            0.8            408.00
                  E-mails re call on plan terms and review draft plan outline from
                  FJDF and memos re same (.6); discuss plan strategy issues with
                  Mr. R. Charles (.2)

08-25-2006        R. Charles                                                            0.6            231.00
                  Read exchange of emails by Mr. A. Landis, Mr. S. Strong on
                  plan exclusivity (.1); draft memo to Ms. A. Jarvis on plan
                  issues (.1); telephone call from Mr. Strong and Ms. A. Jarvis
                  (.2); telephone call from Ms. C. Carlyon (.2)

08-26-2006        S. Freeman                                                            1.5            765.00
                  Review plan materials (.7); call with Mr. R. Charles, D. Walker
                  and T. Burr re strategy on plan (.8)

08-27-2006        R. Charles                                                            0.7            269.50
                  Read memo from Mr. S. Strong on plan negotiations (.1); work
                  on plan term sheet (.6)

08-28-2006        S. Freeman                                                            0.7            357.00
                  Analyze plan issues with Mr. R. Charles (.4); call with Mr. R.
                  Charles and Mr. M. Levinson re plan issues (.3)

08-28-2006        S. Freeman                                                            0.5            255.00
                  Analyze plan issues with Mr. R. Charles (.3); e-mails from T.
                  Burr , R. Charles re plan issues (.2)

08-28-2006        S. Freeman                                                            1.9            969.00
                  Review draft plan term sheet and mark my suggested changes
                  (.8); conference call to discuss plan issues with direct lenders
                  committee counsel and Mr. R. Charles (1.1)

08-28-2006        R. Charles                                                            0.6            231.00
                  Meeting with Mr. T. Allison, Ms. A. Jarvis, Ms. S. Freeman,
                  Mr. S. Strong on sale and plan issues

08-28-2006        R. Charles                                                            4.7           1,809.50
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                  Work on revisions to Ms. E. Karasik's term sheet (1,1); read
                  memo from Mr. S. Strong; work with Ms. S. Freeman on plan
                  issues (.3); work with Mr. M. Levinson on plan issues with Ms.
                  Freeman (.3); telephone to Mr. D. Walker and draft memo to
                  Ms. T. Burr on all committees call (.1); prepare for and
                  participate in the all committees and debtors call re plan (1.2);
                  read memo from Mr. G. Garman re plan (.1); read memo from
                  Mr. M. Levinson and read memo from Mr. M. Tucker on plan
                  meeting (.1); negotiate with Mr. G. Garman, Mr. G. Gordon,
                  with Ms. Freeman on plan issues generally and then
                  specifically on the continuing distribution motion (1.1); work
                  on revisions to proposed plan term sheet and work with Ms.
                  Freeman on issues (.3); work on memo to Diversified counsel
                  and financial advisers and continue to revise term sheet,
                  circulate with a redline (.3); read memo from Mr. S. Strong on
                  communication with Debtors on plan and read memo from Ms.
                  M. Levinson and read memo from Ms. Freeman on same (.1)

08-29-2006        S. Freeman                                                           1.2            612.00
                  Brief review of FTDF mark-up of sale offers (.1); conference
                  call with Diversified re plan issues (1.1)465

08-29-2006        R. Charles                                                           2.0            770.00
                  Draft memo to Mr. Marc Levinson et al on meeting (.1); meet
                  with Mr. Levinson, Mr. J. Hermanson, Mr. M. Tucker for
                  Diversified, and Ms. S. Freeman on plan and sale negotiations
                  (.5) ; work with Ms. S. Freeman on meetings with Diversified,
                  then all committees and debtors, on sale and plan issues (.4);
                  draft memo to Ms. E. Karasik on plan term sheet (.1) ; return
                  call to Ms. A. Jarvis; prepare for and participate in meeting
                  with all committees' and debtors' professionals on plan (.9)

08-30-2006        R. Charles                                                           1.3            500.50
                  Begin reading of Debtors' plan (.5); read memo from Ms. E.
                  Karasik and work on "ride through" issue, briefly research
                  using Westlaw and work on quick note to Ms. Karasik on the
                  option (.2); telephone call from Mr. M. Levinson for
                  Diversified on plan, sale and related issues (.2); call and draft
                  memo to Mr. A. Landis with Mr. S. Strong on exclusivity (.1);
                  read and approve stipulated order on exclusivity (.1); read
                  memos from Mr. Strong, Mr. Landis, Ms. Karasik and Mr.
                  Levinson and reach out to Mr. Landis on exclusivity issue (.3)

08-31-2006        S. Freeman                                                           4.5           2,295.00
                  Meeting with professionals for other committees re plan and
                  sale issues
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08-31-2006        R. Charles                                                           0.2                77.00
                  Read memo from Mr. A. Landis and read memo from Mr. S.
                  Farrow and communications with counsel for debtors and
                  committees on stipulation to extend plan exclusivity two
                  weeks, bridge order and expediting the hearing (.2)

09-01-2006        R. Charles                                                           0.1                38.50
                  Telephone call from Mr. M. Levinson re plan issue

09-05-2006        R. Charles                                                           1.6            616.00
                  Prepare for and work with all committees' professionals on
                  terms of potential sale to buyer 2, on both concepts and
                  language, including working through drafts from Ms. C. Pajak,
                  Mr. G. Gordon and Ms. A. Jarvis (1.5); read memo from Ms. E.
                  Karasik and note revised term sheet (.1)

09-11-2006        R. Charles                                                           0.3            115.50
                  Work on plan and term sheet drafts

09-12-2006        S. Freeman                                                           0.6            306.00
                  Review revised plan term sheet (0.1); analyze guarantee
                  financial analysis and e-mail to USACM and Diversified
                  Professionals re same, and re plan proposal to address (0.5)

09-12-2006        S. Freeman                                                           2.2           1,122.00
                  Participate in call of all committees and debtors professionals
                  re sale, plan, monthly distributions

09-12-2006        R. Charles                                                           2.5            962.50
                  Work with Ms. S. Freeman and then also with Mr. M. Levinson
                  and then also with Mr. M. Tucker on term sheet and plan issues
                  (.4); calls with all committees and debtors on plan, plan term
                  sheet and related issues (2.2), and during the call, work on the
                  proposed order on the distribution motion, and forward D&O
                  policy to Ms. E. Karasik

09-13-2006        S. Freeman                                                           0.1                51.00
                  Read and respond to R. Charles e-mail re plan term sheet

09-13-2006        R. Charles                                                           3.4           1,309.00
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                  Meet with Mr. T. Allison, Ms. A. Jarvis, Mr. F. Merola, Ms. C.
                  Carlyon, Mr. G. Garman and Ms. A. Loraditch on plan and
                  transaction issues (.8); before hearing and after meeting, work
                  on comments on plan term sheet from Ms. E. Karasik (.5) and
                  work on issues in term sheet and Debtors' draft plan (1.5); work
                  with Ms. S. Freeman on follow up on plan and asset purchase
                  agreement issues (.4); conference with Mr. G. Gordon re plan
                  issue (.1); work with Ms. Jarvis on Diversified plan meeting
                  (.1)

09-14-2006        S. Freeman                                                           0.8            408.00
                  Participate in call with debtor's and committees' professionals
                  re plan issues (.5); review revised draft of plan term sheet and
                  e-mail suggestions to Mr. R. Charles and DTDF (.3)

09-14-2006        R. Charles                                                           3.8           1,463.00
                  Work with Mr. M. Levinson on Diversified plan meeting (.1);
                  participate in call with Diversified and Debtors' counsel on
                  plan issues, and work on revisions to FTDF proposed term
                  sheet (2.1); work on term sheet with input from Ms. S.
                  Freeman and Mr. J. Herman and draft letter to Ms. E. Karasik
                  and Mr. G. Gordon (.5); work on term sheet with input from
                  Mr. Burr and Mr. Herman (.3); read memo from Ms. A. Jarvis
                  and forward draft (.1); work on term sheet with input from Mr.
                  Levinson, Mr. Burr, Mr. M. Tucker (.5); work with Mr.
                  Herman on revisions and forward to interested counsel (.2)

09-15-2006        S. Freeman                                                           1.1            561.00
                  Telephone from A. Jarvis, M. Levinson, E. Karasik re plan
                  term sheet (.2); follow up call with DTDF and plan
                  negotiations and add in part Mr. R. Charles (.9)

09-15-2006        S. Freeman                                                           0.1                51.00
                  Read e-mail from E. Karasik re plan negotiations and meeting

09-15-2006        R. Charles                                                           1.2            462.00
                  Meet with Mr. M. Levinson, Mr. J. Herman, Mr. M. Tucker
                  and Ms. S. Freeman on plan negotiations and settlement issues
                  and strategy (.8); read and comment on the motion to extend
                  the exclusive period to obtain confirmation of a plan (.2); reach
                  out to Messrs G. Gordon and G. Garman; discuss plan and
                  USAIP developments with Mr. Levinson (.2); read and respond
                  to memo from Ms. E. Karasik (.1)

09-16-2006        R. Charles                                                           0.3            115.50
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                  Begin review of Debtors' plan and disclosure statement

09-17-2006        S. Freeman                                                           2.5           1,275.00
                  Review disclosure statement as filed (.8); review plan as filed
                  and note points to discuss (1.7)

09-18-2006        S. Freeman                                                           0.9            459.00
                  E-mails to and from Diversified counsel re meeting to negotiate
                  plan issues (.1); read e-mails to and from Mr. R. Charles, E.
                  Karasik, M. Levinson re plan negotiations (.1); read E. Karasik
                  e-mail re trust funding and send Mr. R. Charles e-mail re my
                  thoughts on response (.1); telephone from Mr. R. Charles, Mr.
                  M. Levinson, Mr. T. Burr re plan meeting and employee
                  compensation issues (.6)

09-18-2006        R. Charles                                                           0.9            346.50
                  Communications with committees and debtors on plan meeting
                  and read memo from Ms. A. Jarvis (.1); work with Mr. M.
                  Levinson on Diversified issues and meeting (.1); draft memo to
                  all counsel on term sheet and plan discussions (.1); work with
                  Mr. M. Levinson and Ms. S. Freeman on negotiations among
                  Diversified and USACM on plan and litigation issues, and
                  include Mr. T. Burr on same, proposed loan payment and
                  discount, and on developments at the Debtors (.6)

09-18-2006        S. Brown                                                             0.3                96.00
                  Review debtors' plan and disclosure statement

09-19-2006        R. Charles                                                           0.2                77.00
                  Work with Mr. T. Burr on issues raised by the draft plan term
                  sheet and on inquiry by Mesirow on the 2% holdback (.2)

09-20-2006        R. Charles                                                           3.8           1,463.00
                  Negotiate with Mr. G. Gordon on plan issues (.5); draft memo
                  to Ms. S. Smith and Ms. A. Jarvis on prepaid interest (.1);
                  prepare for and meet with Mr. M. Levinson, Mr. J. Herman,
                  Mr. M. Tucker, Mr. T. Burr, Ms. S. Freeman on Diversified
                  and USACM plan issues and negotiations (2.8); work on
                  revisions to plan filed by filed by Debtors (.5)

09-21-2006        S. Freeman                                                           0.3            153.00
                  Read E. Karasik e-mail re plan term sheet and term sheet for
                  discussion with committee

09-21-2006        R. Charles                                                           1.1            423.50
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                  Prepare for meeting with Diversified on plan issues (.2); meet
                  with Diversified counsel, financial adviser, and Mr. T. Burr on
                  plan and settlement issues (.7); read memo from Ms. E. Karasik
                  and read revise joint plan term sheet (.3)

09-22-2006        S. Freeman                                                          0.5            255.00
                  Telephone from E. Karasik re plan term sheet issue (.1); e-mail
                  to committee re same and impact on vote (.1); respond to
                  member e-mail re same (.1); return M. Levinson call re plan
                  issue (.1); read e-mil from T. Burr re default notice issue and
                  respond (.1)

09-22-2006        S. Freeman                                                          1.9            969.00
                  Telephone from M. Levinson, J. Hermann and M. Tucker re
                  plan term sheet issues (1.7); follow-up call with Mr. R. Charles
                  re issues discussed (.1); e-mail to E. Karasik re status (.1)

09-22-2006        S. Freeman                                                          1.7            867.00
                  Conference call with Mr. R. Charles and Diversified
                  professionals re plan negotiations

09-22-2006        S. Freeman                                                          0.8            408.00
                  Read revised plan term sheet, mark changes and comments and
                  send back to Diversified professionals, Mr. T. Charles and Mr.
                  T. Burr

09-22-2006        R. Charles                                                          2.5            962.50
                  Read memo from Ms. E. Karasik on plan term sheet (.1); work
                  with Mr. M. Levinson etc. on plan discussions (.1); work with
                  Ms. Freeman on plan issues with Diversified (.1); read memo
                  from Ms. S. Freeman to Ms. E. Karasik on plan discussions
                  (.1); call with Mr. Levinson, Mr. J. Herman, Mr. M. Tucker
                  and Ms. Freeman on plan negotiations (1.7); work on revision
                  to plan term sheet and redline and draft memo to Diversified
                  and USACM professionals for input (.6)

09-23-2006        S. Freeman                                                          0.1                51.00
                  Read revised mark-up of plan term sheet

09-23-2006        R. Charles                                                          0.4            154.00
                  Work on changes to term sheet proposed by Ms. S. Freeman,
                  further revise plan term sheet, redline and circulate to
                  Diversified and USACM professionals (.4)

09-25-2006        R. Charles                                                          0.3            115.50
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                  Negotiate with Ms. E. Karasik and Mr. G. Gordon on plan
                  issues (.3)

09-26-2006        R. Charles                                                             1.9            731.50
                  Work with Mr. M. Levinson on plan negotiations, term sheet
                  and conflict issues (.4); prepare for and participate in all
                  committees and debtors' professionals call (1.1); negotiate with
                  Mr. G. Gordon for direct lenders (.4); brief negotiation with
                  Ms. E. Karasik for FTDF (.1)

09-27-2006        R. Charles                                                             1.3            500.50
                  Prepare for and participate in settlement discussions with Ms.
                  E. Karasik and Mr. T. Burr (.8); prepare for and participate in
                  settlement discussions with Mr. M. Levinson (.5)

09-27-2006        S. Brown                                                               1.5            480.00
                  Review disclosure statement re nature of related companies and
                  treatment of unsecured creditors

09-29-2006        S. Freeman                                                             0.1                51.00
                  Read e-mails from RQN and C. Carlyon re stipulated order on
                  exclusivity and form of order, respond re authorized signature

09-29-2006        S. Brown                                                               3.1            992.00
                  Continue review of plan re definitions and classification
                  structure and review exhibits re same (1.5); analyze related
                  issues re investor inquiries and FAQs re same (.8); continue
                  review of Silver Point term sheet and related sale issues (.8)

09-30-2006        S. Brown                                                               0.6            192.00
                  Continue reviewing provisions of plan re FAQ and discussion
                  with unsecured creditors

10-02-2006        S. Freeman                                                             0.2            102.00
                  Study mark-up of plan term sheet for discussion at meeting

10-02-2006        R. Charles                                                             1.2            462.00
                  Work on plan term sheet with FTDF issues (.2); work on plan
                  term sheet with Diversified Fund issues (.3) and clean up for
                  committee review (.3); work on USAIP and plan issues with
                  Mr. J. Hermann (.2); work on analysis of impacts of
                  concessions requested by Diversified (.2)

10-02-2006        S. Brown                                                               1.1            352.00
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                  Continue review of plan provisions re classification and
                  distribution (.5); work on monthly update for website (.6)

10-02-2006        M. Schoenike                                                         0.3                54.00
                  Review e-mail re plan, redlined and clean draft of plan

10-03-2006        S. Freeman                                                           0.2            102.00
                  Review Mr. R. Charles analysis of alternative plan provisions
                  and e-mail response inquiry re chart

10-03-2006        R. Charles                                                           0.6            231.00
                  Read memo from Ms. E. Karasik on FTDF prepaid interest
                  (.1); work on issues and language for joint plan term sheet as it
                  relates to Diversified and FTDF issues (.5)

10-03-2006        S. Brown                                                             0.6            192.00
                  Work on analysis re plan provisions re sale of assets

10-04-2006        S. Freeman                                                           0.1                51.00
                  Read E. Karasik analysis of FTDF fees to USACM

10-04-2006        R. Charles                                                           1.4            539.00
                  Work on plan term sheet (.2); negotiate with Ms. E. Karasik for
                  FTDF on plan issues (.5); research issue of whether lender may
                  offset unpaid principal against prepaid interest as demanded by
                  Diversified in plan negotiations (Westlaw) (.2); continue to
                  research and draft memo to Mr. M. Levinson et al on prepaid
                  interest recovery not offset against unremitted principal (.5)

10-04-2006        S. Brown                                                             1.0            320.00
                  Continue analysis of plan issues, including advisory
                  committees, estate administrators, reporting and claims

10-05-2006        S. Freeman                                                           0.3            153.00
                  Read revised draft of plan term sheet and mark my comments
                  and suggestions and e-mail back to Mr. R. Charles

10-05-2006        R. Charles                                                           2.1            808.50
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                  Read memo from Ms. E. Karasik on fees charged to FTDF for
                  loan servicing and management (.1); read memo from Ms.
                  Karasik and draft memo to Mr. D. Walker on settlement (.1);
                  work on letter on unpaid principal not offset against prepaid
                  interest (.1); work on plan term sheet and outline for Mr.
                  Walker (.5); work with Ms. S. Freeman on revisions to plan
                  term sheet and particularly on prepaid interest and allocation
                  issues (.3); work on term sheet for plan and settlement (.6);
                  work with Mr. T. Burr on term sheet for plan and settlement
                  alternatives (.3); read memo from Ms. A. Jarvis and
                  incorporate on allocation provision of the joint term sheet (.1)

10-06-2006        S. Freeman                                                           0.1                51.00
                  Read e-mails among D. Walker, T. Burr and R. Chares re
                  servicing fee/plan issue

10-06-2006        S. Freeman                                                           0.2            102.00
                  Read revised draft term sheet for plan (.1); read e-mail
                  exchange between Mr. R. Charles and E. Karasik re plan term
                  sheet issues (.1)

10-06-2006        R. Charles                                                           1.6            616.00
                  Work through joint term sheet with Mr. D. Walker (.6); redline
                  and revise draft for circulation to the committees with an
                  explanatory memo (.5); read and respond to memo from Ms. E.
                  Karasik on term sheet (.1); negotiate with Ms. Karasik (.3);
                  work on term sheet (.1)

10-09-2006        S. Freeman                                                           0.7            357.00
                  Read T. Burr analysis of FTDF plan settlement proposal and
                  chart (.1); respond to T. Burr, R. Charles and D. Walker re my
                  proposal and questions (.1); read R. Charles and T. Burr
                  responses (.1); reply re proposal and reasoning (.1); read T.
                  Burr reply and R. Charles proposed draft to FTDF (.1); revise
                  draft and send to R. Charles, T. Burr and D. Walker (.1); read
                  R. Charles plan settlement proposal to FTDF (.1)

10-09-2006        R. Charles                                                           0.7            269.50
                  Work on settlement proposal to FTDF with input from Mr. T.
                  Burr and Ms. S. Freeman (.4); draft memo to Ms. E. Karasik on
                  same (.2); read memo from Mr. D. Walker on same; read
                  memo from Ms. Karasik on the use of servicing fee to pay
                  administrative claim allocation (.1)

10-10-2006        S. Freeman                                                           0.1                51.00
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                  Respond to Mr. R. Charles, T. Burr, D. Walker e-mail re
                  meeting with committees on plan

10-10-2006        R. Charles                                                             0.9            346.50
                  Work with Mr. D. Walker and Mr. T. Burr on plan conference
                  in LA (.1); work on term sheet (.2); draft memo to Ms. Karasik
                  on plan meeting (.1); work with Mr. D. Walker on plan
                  meeting and related issues (.3); work on term sheet (.2)

10-11-2006        R. Charles                                                             0.1                38.50
                  Read letter from SEC on the disclosure statement

10-12-2006        S. Freeman                                                             0.1                51.00
                  Read e-mails from S. Strong re disclosure statement objection
                  deadline

10-12-2006        R. Charles                                                             4.4           1,694.00
                  Work on debtors' plan (.6); draft memo to Mr. H. Taylor on
                  need for liquidation trust agreement (.1); settlement
                  negotiations with counsel for Diversified, First Trust and Direct
                  Lenders' committees (3.5); conference with Mr. M. Levinson
                  (.1), and financial advisors on settlement discussions (.1)

10-13-2006        R. Charles                                                             6.0           2,310.00
                  Work with Mr. M. Levinson on plan negotiations

10-14-2006        R. Charles                                                             2.9           1,116.50
                  Work on memo outlining alternatives and plan term sheet (1.9);
                  meet with Mr. D. Walker and Mr. T. Burr on settlement
                  alternatives and plan issues (1.0)

10-15-2006        R. Charles                                                             0.3            115.50
                  Work on memo on plan alternatives (.3)

10-16-2006        S. Freeman                                                             0.2            102.00
                  Review Mr. R. Charles notes re plan meetings with
                  committees, and e-mails re same

10-16-2006        R. Charles                                                             0.1                38.50
                  Note stipulation on deadline to object to disclosure statement
                  (.1)

10-16-2006        M. Schoenike                                                           0.2                36.00
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                  Review correspondence from SEC re concerns on disclosure
                  statement and plan

10-17-2006        S. Freeman                                                           0.4            204.00
                  Analyze plan alternatives with R. Charles

10-17-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr liquidation analysis

10-17-2006        R. Charles                                                           0.7            269.50
                  Work with Ms. S. Freeman on negotiations over the plan in Los
                  Angeles, committee discussions on Monday and following, and
                  alternative strategies (.4); work with Mr. T. Burr on plan issues
                  and developments (.3)

10-18-2006        S. Freeman                                                           0.2            102.00
                  Read Mr. R. Charles-D. Walker e-mails re plan issue (.1); read
                  Mr. R. Charles e-mail and memo on plan negotiations (.1)

10-18-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr analysis of plan term sheet and issues re same

10-18-2006        R. Charles                                                           0.8            308.00
                  Analyze term sheet from Ms. E. Karasik on joint plan (.4);
                  draft memo to Mr. M. Levinson on plan (.1) ; return call to and
                  negotiate with Mr. M. Levinson re plan (.3)

10-19-2006        R. Charles                                                           0.7            269.50
                  Prepare for hearing on Debtors' motion to extend 180-day
                  period for exclusivity to solicit acceptances or rejections of
                  plan and prior UST objection and FTDF response (.2); read
                  memo from Ms. E. Karasik re same (.1); negotiate with Ms.
                  Karasik for FTDF (.2); work with a liquidating trustee on
                  issues for the liquidation trust agreement and on oversight (.2)

10-20-2006        S. Freeman                                                           0.1                51.00
                  Read E. Karasik and R. Charles e-mails re plan proposal and
                  respond

10-20-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr analysis of DTDF claim

10-20-2006        R. Charles                                                           0.3            115.50
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                  Read memo from Ms. E. Karasik on plan; read memo from Mr.
                  M. Levinson on plan (.1); read memo from Mr. T. Burr on
                  negotiation issues on plan term sheet (.1); read memo from Ms.
                  Karasik on plan (.1)

10-21-2006        R. Charles                                                           1.3            500.50
                  Work on joint plan term sheet

10-22-2006        R. Charles                                                           0.4            154.00
                  Work on joint plan term sheet

10-23-2006        S. Freeman                                                           0.5            255.00
                  Study revised plan term sheet (.2); discuss plan term sheet
                  issues with Mr. R. Charles, and call to Mr. M. Levinson re time
                  to discuss (.3)

10-23-2006        R. Charles                                                           1.1            423.50
                  Work with Mr. H. Taylor on liquidating trust agreement (.2);
                  read memo from Mr. T. Burr on negotiations with DTDF (.1);
                  read memo from Mr. T. Burr and read memo from Mr. T.
                  Allison on Diversified (.1); work with Ms. S. Freeman on
                  negotiations with Diversified Equity Committee (.3); draft
                  memo to Diversified Equity Committee counsel on meeting
                  (.1); work on joint plan term sheet and circulate to counsel (.2);
                  read memo from Mr. Burr on meeting with Diversified
                  committee (.1)

10-24-2006        S. Freeman                                                           0.5            255.00
                  Read draft distribution analysis and e-mail my comments to
                  Mr. R. Charles (.1); review revised draft of same, and discuss
                  changes with Mr. R. Charles and further modifications (.3);
                  read final version of distribution examples as e-mailed to
                  DTDF (.1)

10-24-2006        S. Freeman                                                           1.6            816.00
                  Read DTDF analysis from Mr. T. Burr (.1); conference call
                  with DTDF professionals, Mr. R. Charles and Mr. T. Burr
                  (1.0); follow-up call with Mr. R. Charles and Mr. T. Burr (.5)e
                  plan issues

10-24-2006        S. Freeman                                                           0.1                51.00
                  Read e-mail from E. Karasik re term sheet issue and plan
                  drafting

10-24-2006        R. Charles                                                           2.8           1,078.00
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                  Prepare for and meet with Mr. J. Herman, Mr. M. Levinson,
                  Mr. M. Tucker, Mr. T. Burr and Ms. S. Freeman on Diversified
                  negotiations (1.0); work on example for distribution and
                  forward to Mr. Burr (.2); work with Mr. Burr and Ms. Freeman
                  on Diversified negotiations, Malton Square and pending issues
                  (.5) ; read memo from Ms. Freeman and create and revise three
                  examples of potential plan distributions (.5); read memo from
                  Ms. E. Karasik (.1); work with Ms. Freeman on the examples
                  (.1); draft memo to Diversified professionals with same after
                  inserting interim totals to clarify the presentation (.2) ; work
                  with Ms. E. Karasik on plan issues (.1) ; work with Mr. Burr on
                  plan alternatives and negotiations with Diversified (.1); read
                  memo from Ms. Karasik with a new suggestion (.1)

10-25-2006        S. Freeman                                                         0.1                51.00
                  Read S. Sherman e-mail re plan documents and deadlines

10-25-2006        H. Taylor                                                          1.9            674.50
                  Begin preparing draft liquidating trust agreement

10-26-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. E. Karasik comments on revised plan term sheet

10-26-2006        R. Charles                                                         1.0            385.00
                  Work with Mr. T. Burr on investigation of Diversified plan
                  issues (.2); read memo from Mr. M. Levinson and suggestions
                  of Diversified to joint plan term sheet (.3); read memo from
                  Ms. E. Karasik on FTDF suggestions to joint plan term sheet
                  (.2); call to Ms. S. Freeman (.1) and to Mr. Burr (.1) on
                  meeting; draft memo to Mr. D. Walker on meeting (.1)

10-26-2006        H. Taylor                                                          4.6           1,633.00
                  Continue working on draft Liquidating Trust Agreement

10-27-2006        S. Freeman                                                         1.8            918.00
                  Partial participation in conference call of committee chair and
                  professionals re formulating response to DTDF plan term sheet
                  proposal

10-27-2006        R. Charles                                                         3.1           1,193.50
                  Work on plan term sheet (.2); meet with Mr. D. Walker, Mr. T.
                  Burr, Ms. S. Freeman, and briefly Mr. D. Bunch, on plan
                  alternatives and work on plan term sheet alternatives (2.4);
                  work on memo to Mr. M. Levinson on counter-proposal (.5)
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10-28-2006        R. Charles                                                            1.4            539.00
                  Work on response to Ms. E. Karasik (.4); work on joint term
                  sheet and forward with comments to committees' counsel (.6);
                  after reading memo from Ms. E. Karasik (.1); draft memo to
                  Mr. M. Levinson with memo (.1); read memo from and
                  forward revisions to Ms. E. Karasik (.1); read memo from Ms.
                  Karasik on Sierra analysis (.1)

10-29-2006        R. Charles                                                            0.6            231.00
                  Read memo from Mr. J. Hermann on plan term sheet (.1); read
                  accumulated communications from Mr. Burr on plan issues
                  (.2); read and respond to memo from Mr. M. Levinson (.2);
                  draft memo to Ms. E. Karasik on alternative structure (.1)

10-30-2006        S. Freeman                                                            1.8            918.00
                  Study term sheets and DTDF e-mails and documentation and
                  work on e-mail to M. Levinson

10-30-2006        S. Freeman                                                            1.4            714.00
                  Discuss proposed e-mail with Mr. R. Charles (.1); work on
                  revisions (.2); join in conference call with other committees re
                  term sheet (1.0); review mark-up of response from DTDF (.1)

10-30-2006        S. Freeman                                                            0.2            102.00
                  Read Mr. R. Charles analysis of plan issues to Mr. M. Levinson
                  (.1); read A. Jarvis e-mail re plan filing and extension (.1)

10-30-2006        S. Freeman                                                            0.2            102.00
                  Read e-mail exchange between Mr. R. Charles and Mr. M.
                  Levinson re plan term sheet issues (.1); read e-mail exchange
                  between R. Charles and Mr. E. Karasik re term sheet and plan
                  drafting (.1)

10-30-2006        R. Charles                                                            2.4            924.00
                  Meet with Ms. E. Karasik, Mr. G. Garman, Ms. B. Higgins,
                  Ms. E. Monson, and briefly on phone with Ms. S. Freeman,
                  Mr. T. Burr, and Mr. M. Levinson, on plan term sheet issues
                  (1.5), and discuss after with Ms. Karasik (.4); begin work on
                  creditors trust agreement (.4); work with Ms. S. Freeman on
                  Diversified term sheet (.1)

10-31-2006        S. Freeman                                                            0.2            102.00
                  Participate in call with DTDF professionals to reschedule call
                  on plan and re DTDF committee votes
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10-31-2006        R. Charles                                                         2.0            770.00
                  Work on issues with Diversified equity committee and term
                  sheet (.2); work with Mr. T. Burr on the direct lender service
                  fee and G&S issue (.1); work with Mr. Burr and Mr. Walker on
                  compromise on direct lender surcharge (.1); work on order re
                  extension of plan solicitation exclusivity (.1); call to Mr. G.
                  Garman on issue with the 2% holdback in the term sheet (.1);
                  negotiate with Ms. E. Karasik and respond to her inquiry on a
                  meeting (.1) ; work with Ms. S. Freeman on plan issues (.2);
                  then participate in negotiation with Mr. M. Levinson, Mr. M.
                  Tucker, Ms. S. Freeman, Mr. T. Burr, Mr. C. Harvick on the
                  plan issues (1.1) ; read and respond to Mr. J. Herman on 10-90
                  note (.1)

10-31-2006        M. Schoenike                                                       0.2                36.00
                  Review joint plan term sheet

11-01-2006        S. Freeman                                                         1.9            969.00
                  Read C. Pajak term sheet as revised (.2); read T. Burr e-mail re
                  DTDF claim issue (.1); call with J. Hermann, M. Levinson, Mr.
                  R. Charles re plan issues (1.0); review 10-90 note e-mails from
                  J. Hermann (.2); read J. Hermann e-mail re plan term sheet (.1);
                  read A. Jarvis e-mail re plan logistics (.1); read G. Garman
                  responses re term sheet (.1); read J. Hermann response to G.
                  Garman issue (.1)

11-01-2006        R. Charles                                                         1.9            731.50
                  Read memo from Ms. A. Jarvis on plan and disclosure
                  statement process (.1); read memo from Mr. M. Levinson and
                  from Ms. E. Karasik on same (.1); work on insert into the
                  disclosure statement on inter-debtor claims and on settlement
                  description (1.1); negotiate with Mr. G. Garman (.3) ; work
                  with Mr. T. Burr on negotiations with Diversified and on loan
                  payoff issues (.2); read memos from Mr. Levinson and Mr.
                  Hermann on meeting (.1)

11-02-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. E. Karasik e-mail re draft plan

11-02-2006        S. Freeman                                                         0.8            408.00
                  Discuss plan negotiations with DTDF with Mr. R. Charles (.2);
                  read Mr. R. Charles report to committee on status of DTDF
                  negotiations and request for direction (.1); read J. Hermann
                  proposal re term sheet (.1); discuss with Mr. R. Charles (.2);
                  read C. Pajak disclosure statement inserts (.2)
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11-02-2006        R. Charles                                                            5.9           2,271.50
                  Work on insert into the disclosure statement based upon
                  proposed compromises of the joint term sheet (1.0); prepare for
                  and meet with Mr. M. Levinson, Mr. J. Hermann, and on phone
                  with Messrs. T. Burr and M. Tucker and C. Harvick of FTI on
                  Diversified plan negotiations and related matters (3.4); call to
                  Ms. E. Karasik (.1) ; work with Ms. E. Karasik and Mr. G.
                  Garman on alternatives (1.2) ; work with Mr. Burr on follow up
                  to the negotiations (.3) ; skim memo from Mr. J. Hermann on
                  additional proposal (.1)

11-03-2006        S. Freeman                                                            0.5            255.00
                  Review notes and draft on revised plan from C. Pajak re issues
                  (.3); read C. Carlyon notes and draft on plan changes (.2)

11-03-2006        S. Freeman                                                            0.2            102.00
                  Read Mr. R. Charles e-mail re language for disclosure
                  statement, and reply (.1); read e-mail from Mr. R. Charles re
                  plan without DTDF compromise (.1)

11-03-2006        S. Freeman                                                            0.2            102.00
                  Read J. Hermann proposed term sheet language (.1); discuss
                  with Mr. R. Charles (.1)

11-03-2006        S. Freeman                                                            0.6            306.00
                  Read Mr. R. Charles follow-up to Mr. H. Taylor re liquidating
                  trust agreement (.1); read e-mails re plan language on IP and
                  insiders from Mr. R. Charles, C. Pajak, D. Cica, A. Jarvis (.2);
                  read Mr. R. Charles e-mail re UCC suggestions for plan (.1);
                  read M. Levinson insert for disclosure statement (.1); read G.
                  Garinan comments on plan (.1)

11-03-2006        R. Charles                                                            4.2           1,617.00
                  Read memo from Ms. E. Karasik on revised plan (.1); read
                  memo from Mr. S. Strong on plan meeting; work on insert as to
                  intercompany claims and plan description (.4); work with
                  Debtors' and Committees' professionals on plan and sale issues
                  (1.1) ; read memo from Mr. S. Strong on trust agreement (.1);
                  work on plan term sheet for Mr. D. Walker (.1); work on
                  counterproposal from Mr. J. Hermann (.2); work on disclosure
                  statement insert and forward for comments (.2) ; draft memo to
                  Mr. H. Taylor on liquidating trust (.1); work on Ms. Karasik's
                  draft plan (.9) ; continue work on plan and forward to
                  interested parties (1.1) ; draft memo to committees and debtors
                  on disclosure statement insert (.1)
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11-05-2006        S. Freeman                                                           4.1           2,091.00
                  Review copies of plan with Mr. R. Charles mark-up and C.
                  Pajak mark-up, for call today (1.5); read Mr. M. Levinson e-
                  mail re plan call and comment status (.1); read Mr. R. Charles
                  e-mail re plan language (.1); read S. Smith-T. Burr-R. Charles
                  e-mails re prepaid interest computations (.1); read S. Smith-T.
                  Burr e-mails exchanges re IP note issues (.1); read S. Smith e-
                  mail re DTDF-USACM accounting issue (.1); draft language
                  for plan provision and e-mail to call participants (.2); read
                  DTDF comments on draft plan (.3); read FTDF additional
                  comments on draft plan (.3); participate in conference call with
                  debtor and committee professionals re draft plan (1.3)

11-05-2006        R. Charles                                                           3.3           1,270.50
                  Read memo from Ms. C. Pajak (.1); read memo from Ms. A.
                  Jarvis (.1); read memo from Ms. Pajak and respond on meeting
                  (.1); work with Ms. S. Freeman on plan issues ; work with Ms.
                  S. Freeman on plan issues (.1); prepare for and participate in
                  call with Committees' and Debtors' professionals (2.3)

11-06-2006        S. Freeman                                                           5.9           3,009.00
                  Read D. Walker, S. Smith, R. Charles e-mails re reconciliation
                  issues (.1); read draft notice of balloting procedures and e-mail
                  to S. Strong (.2); read S. Smith e-mails re diverted principal
                  amounts (.1); read R. Charles and C. Pajak e-mails re plan
                  language and e-mail back my suggested changes (.2); read R.
                  Charles-H. Taylor e-mails re liquidating trust agreement (.1);
                  read R. Charles-A. Jarvis e-mail exchanges re plan terms (.2);
                  review revised draft plan and send e-mail to all with my
                  comments (2.3); read R. Charles e-mail re services advances
                  language in plan (.1); read A. Jarvis e-mail in changes to plan
                  (.1); read R. Charles e-mail re proposed plan language on
                  committee agreements (.1); read R. Charles e-mail re plan
                  modification language (.1); read M. Levinson response re
                  language issue (.1); read L. Emce revised balloting order and
                  send e-mail to her re change (.2); review debtors' revised plan
                  and disclosure statement and mark points of concern (2.0)

11-06-2006        S. Freeman                                                           5.1           2,601.00
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                  Review and send e-mails re comments on plan draft to all
                  professionals or to Mr. R. Charles only (.3); participate in
                  debtors-committees' call re changes to plan and disclosure
                  statement (3.5); discuss further mark-up of disclosure statement
                  with Mr. R. Charles (.1); review draft summary of plan and
                  respond with suggestion (.2); read Mr. T. Burr e-mail re
                  diverted principal issue (.1); begin review and mark-up of next
                  draft of disclosure statement (.9)

11-06-2006        R. Charles                                                         6.8           2,618.00
                  Read memo from Ms. C. Pajak on revised plan (.1); read memo
                  from Mr. S. Strong and read proposed order on balloting and
                  voting procedures (.1); work on amended plan from Ms. Pajak
                  (.4); propose language on unclaimed distributions (.1); work
                  with Ms. S. Freeman and Ms. Pajak on unclaimed distributions
                  (.1); work with Ms. A. Jarvis on unclaimed distributions in the
                  other estates (.1); work on plan issues with input to and from
                  Ms. Jarvis, Ms. Pajak, Ms. Freeman and other professionals
                  (.7); read memo from Ms. L. Ernce on DTDF comments on the
                  ballot procedures (.1); work on amended plan with Ms.
                  Karasik, Ms. Freeman and Ms. Jarvis and prepare for meeting
                  on plan comments (2.5); work on disclosure statement (.2);
                  work with Ms. Karasik on FTDF issues (.1); work with Ms.
                  Freeman on trust issues (.1); participate in call on plan and
                  disclosure statement (2.8); work on disclosure statement with
                  all professionals for debtors and committees (.5); work with
                  Ms. Freeman on settlement issues (.1)

11-07-2006        S. Freeman                                                         9.9           5,049.00
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                  Per debtor request, suggest language for plan on holdback issue
                  and forward to S. Strong, A. Jarvis and G. Gaiman (.2); work
                  on further revisions to amended disclosure statement (2.5);
                  check with Mr. R. Charles on status of his changes and create
                  redline and send to all for comment (.2); read plan as filed and
                  draft additional disclosure statement language (.7); e-mail to
                  and from Mr. R. Charles and G. Gaiman re same (.2); review
                  additional Mr. R. Charles changes to disclosure statement, and
                  e-mail to and from him re same (.2); send redline to all (.1);
                  study FTDF and DTDF changes to disclosure statement and
                  note points to discuss (.8); study Gaiman's proposed changes,
                  and mark suggested proposed revisions, and send to all (.7);
                  participate in debtors-committees call re mailings of disclosure
                  statement, and make changes during call and send to all (1.6);
                  make additional changes to disclosure statement and forward
                  (.4); review and mark changes to description of sale (.3);
                  review numerous further e-mails re same (.2); telephone from
                  G. Gaiman re additional changes (.2); review and approve
                  description of USACM-DTDF disputes as modified (.2); revise
                  draft language describing plan and send (.3); review proposed
                  description of Direct Lender compromise, check for authorities
                  and compare to prior drafts, revise and resend to all (.8); read
                  further e-mails re language changes and approvals and
                  comments (.2); read markups of revision of cover sheet
                  summary of plan, and approve (.1)

11-07-2006        S. Freeman                                                         1.3            663.00
                  Read S. Smith e-mail re lay questions; read R. Charles
                  suggested changes to address (.1); read e-mail comments on
                  other disclosure statement changes and send e-mail re same
                  (.2); read T. Burr response re disclosure questions (.1); read
                  APA edits and e-mails re same (.1); read e-mail from C.
                  Carlyon, R. Charles, and A. Jarvis re summary statement (.1);
                  read A. Jarvis revision of summary, mark changes, and send
                  back to all (.4); read M. Levinson changes and approve by e-
                  mail (.1); read additional e-mails re approvals (.1); read
                  additional e-mails re summary (.1)

11-07-2006        R. Charles                                                         5.4           2,079.00
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                  Read memo from Ms. A. Jarvis and read memo from Ms. S.
                  Freeman and from Mr. G. Garman on 2% Holdback (.2); work
                  with Ms. S. Freeman on release and prepaid interest (.1) and on
                  disclosure statement issues (.1); work through Debtors'
                  amended disclosure statement and note issues (1.1); read memo
                  from Mr. G. Garman and work with Mr. Garman on prepaid
                  interest disclosure statement language (.2); prepare for and
                  participate in working meeting with all professionals for
                  Debtors and Committees on the disclosure statement, balloting
                  and related issues (1.8); work on language for the disclosure
                  statement on the sale of servicing assets (.2); work with Mr.
                  Garman and Ms. B. Higgins on the prepaid interest issues (.1);
                  work on description of the USACM sale (.2); work on plan
                  summary after reading from Ms. C. Carlyon, Ms. Karasik and
                  Mr. J. Hermann (.2); work on summary of direct lenders'
                  compromise (.1); read memo from Ms. S. Smith on drafting
                  issues (.1); work on drafts of DTDF language (.1); work on
                  drafts of direct lender compromise (.1); work on drafts of
                  description in disclosure statement on selected issues (.2); read
                  memo from Ms. Carlyon on summary (.1); work on calendar of
                  upcoming deadlines (.4); read memo from Mr. Hermann on
                  summary (.1) ; read memo from Mr. L. Schwartzer and review
                  disclosure supplement (.1) and review additional comments (.1)

11-08-2006        S. Freeman                                                            0.1                51.00
                  Read e-mails re finalization of disclosure statement and
                  summary

11-08-2006        S. Freeman                                                            0.1                51.00
                  Read P. Rieger inquiry re liquidation analysis and R. Charles
                  and T. Burr responses

11-08-2006        S. Freeman                                                            0.1                51.00
                  Send e-mail to Mr. M. Carmel, potential trustee re plan,
                  disclosure statement, and resume request

11-08-2006        S. Freeman                                                            0.2            102.00
                  Read T. Carlyon e-mail re changes to disclosure statement and
                  inquiry, review plan for final changes, and respond

11-08-2006        R. Charles                                                            1.5            577.50
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                  Read late night communications on the amended disclosure
                  statement (.1); work with Ms. S. Freeman on solicitation and
                  plan issues (.1); read memo from Ms. E. Monson on disclosure
                  statement (.1); work with Mr. T. Burr on liquidating trust and
                  related issues, including Diversified settlement alternatives (.4)
                  ; read memo from Ms. E. Karasik and begin reading of FTDF
                  technical and other plan changes (.2); read memo from Ms. C.
                  Carlyon and work through her changes, FTDF changes and
                  insert additional changes (.6)

11-09-2006        S. Freeman                                                            1.7            867.00
                  Review FTDF technical changes to plan, and mark additional
                  CKC changes and call Mr. R. Charles to request review and
                  sending for filing (.8); read e-mails from E. Karasik, A. Jarvis,
                  C. Carlyon re filings for today (.1); read e-mails from A. Jarvis,
                  E. Karasik re plan confirmation-related deadlines (.1); read R.
                  Charles e-mail to G. Gaman re changes to plan clarifying
                  prepaid interest treatment (.1); read A. Jarvis e-mail re planned
                  filings today and R,. Charles mark-up of ballot solicitation
                  order (.1); review mark-up of disclosure statement for clean-up
                  changes, note additional changes needed and send e-mail re
                  same (.4); read M. McPherson e-mail re today's filings, G.
                  Gaman e-mail re approved language (.1)

11-09-2006        R. Charles                                                            2.3            885.50
                  Work on revisions to plan (.7); work on revisions to disclosure
                  statement (.3); work on proposed order and notice on voting
                  procedures (.2); read memo from Ms. A. Jarvis on procedures
                  (.1); discussions with Mr. T. Burr and Ms. A. Loraditch (.4);
                  read memo from Ms. A. Jarvis (.1); work with Ms. E. Karasik
                  and Ms. S. Smith on prepaid interest reference in the plan (.1);
                  correspond with Ms. Lavigna of SEC (.2); read memo from
                  Ms. A. Jarvis on USA Realty (.1); read additional disclosure
                  statement comments from Ms. Freeman (.1)

11-09-2006        S. Brown                                                              1.3            416.00
                  Review disclosure statement and distribution motion

11-09-2006        M. Schoenike                                                          0.1                18.00
                  Review Mr. R. Charles e-mail re voting

11-10-2006        S. Freeman                                                            1.3            663.00
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                  Read e-mails from SEC and plan and responses from A. Jarvis,
                  R. Charles, E. Karasik (.1); read e-mails from A. Jarvis and
                  response re USA Realty concern (.1); participate in committee-
                  debtors conference call re USA Realty (.7); discuss analysis of
                  Realty issues raised in debtor call, and agenda for meeting with
                  R. Charles (.3); read proposed motion re assignments (.1)

11-10-2006        S. Freeman                                                             0.4            204.00
                  Review e-mails re disclosure statement order (.2); read e-mails
                  from N. Peterman and respond re prepaid interest (.1); read
                  response from A. Jarvis, G. Gaiman, R. Charles (.1)

11-10-2006        S. Freeman                                                             0.2            102.00
                  Read draft DTDF letter supporting plan (.1); read M. Levinson
                  e-mail to SEC, e-mails re prepaid interest (.1)

11-10-2006        R. Charles                                                             2.2            847.00
                  Conference call with committees' and debtors' professionals on
                  USA Realty Advisors (.7); work with Ms. S. Freeman on plan
                  issues raised in the call and upcoming (.2); further meeting
                  with committees' and debtors' professionals on USA Realty and
                  plan issues (.4); return call to Ms. A. Jarvis (.1) ; return call to
                  Ms. A. Jarvis (.4) ; work with Mr. M. Levinson, Mr. J.
                  Hermann and Ms. A. Jarvis on communication from
                  Racebrook/USAIP (.4)

11-10-2006        M. Schoenike                                                           0.4                72.00
                  Review proposed confirmation notice (.3); e-mail to Mr. Rob
                  Charles re 2002 notice requirement (.1)

11-11-2006        S. Freeman                                                             0.2            102.00
                  Read Mr. R. Charles meeting notes and draft letter to
                  committee and respond re suggested changes and agreement

11-11-2006        R. Charles                                                             2.6           1,001.00
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                  Read "proposal" from Racebrook and USAIP and draft
                  response (.3); prepare for and participate in call on definition of
                  "prepaid interest" with Ms. A. Jarvis, Mr. G. Garman, and (Mr.
                  David Baddley) Mesirow counsel and then with Mr. Garman
                  and Ms. Jarvis on USAIP (.5); read memo from Mr. M.
                  Levinson on Racebrook (.1); work on proposed notice of
                  confirmation hearing and procedures and propose revisions
                  (.2); read memo from Ms. Jarvis on Racebrook (.1); read memo
                  from Ms. Jarvis and work on memo to Mr. Garman on release
                  of accrued servicing fees (.2); read memo from Ms. Smith and
                  Ms. Jarvis on accrued servicing fees (.1); read memo from Mr.
                  S. Strong on amended disclosure statement (.1); read memo
                  from Ms. Jarvis and read memo from Ms. Smith on accrued
                  servicing fees (.1); negotiate with Mr. Garman (.3); work with
                  Mr. Burr on negotiations (.2); draft memo to Ms. Freeman on
                  issue and potential resolution (.1); read memo from Mr. Strong
                  on order on solicitations and memo from Mr. G. Gordon in
                  response (.2); read memo from Mr. Strong on amended plan;
                  read memo from Mr. Strong on order on disclosure statement,
                  ballot and procedures (.1)

11-12-2006        S. Freeman                                                            0.2            102.00
                  E-mail to Mr. M. Levinson re comments on revised plan (.1);
                  telephone from Mr. M. Levinson re same (.1)

11-12-2006        S. Freeman                                                            2.4           1,224.00
                  Study next draft of plan and mark corrections needed (.8); send
                  e-mail re proposed language change (.2); send second e-mail re
                  additional changes (.1); review revised disclosure statement
                  and note corrections (.7); e-mail to professionals re further
                  change to plan and changes to disclosure statement (.2); read
                  Mr. C. Pajak comments on draft plan and USA Realty (.1);
                  read Mr. M. Levinson comments on plan, Mr. E. Karasik
                  comments re same (.1); read Mr. C. Pajak comments on
                  disclosure statement (.1); read Mr. G. Gordon comments on
                  subordination (.1)

11-12-2006        S. Freeman                                                            0.6            306.00
                  Read e-mails from Mr. R. Charles, S. Smith, A. Jarvis re
                  prepetition servicing fee misunderstanding (.1); telephone to
                  Mr. R. Charles re same (.2); read G. Gaman e-mail re same
                  (.1); read S. Strong e-mail re disseminating information and G.
                  Gordon response (.1); read T. Burr analysis of servicing fee
                  issue (.1)

11-12-2006        S. Freeman                                                            0.4            204.00
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                  Read further e-mails from G. Gaman, S. Sinatra, R. Charles, T.
                  Burr on servicing fee issue (.1); e-mail from R. Charles and
                  respond re servicing fee issue (.1); read e-mails from R.
                  Charles and draft re loan assignment (.1); read R. Charles e-
                  mail to G. Gaman re servicing fee issue and proposed
                  resolution and G. Gaman response (.1)

11-12-2006        R. Charles                                                           1.9            731.50
                  Read memos from Mr. G. Garman, Ms. S. Smith and Mr. T.
                  Burr on accrued and unpaid servicing fees and work on
                  language (.3); analyze Ms. Smith's data on accrued and
                  uncollected servicing fees and draft memo to Mr. Burr (.2);
                  read memo from Ms. E. Karasik and work with Ms. Karasik on
                  issues (.2); work on amended plan (.7); work on language for
                  accrued and unpaid servicing fees (.1); work with Ms. Freeman
                  on analysis (.1); draft memo to Mr. Garman re pre-petition
                  services fee issues (.1); read memo from Mr. Burr (.1) ; read
                  memo from Ms. A. Jarvis and read memo from Mr. G. Gordon
                  on plan classification, subordination, penalty claims and
                  treatment (.1); return call to Ms. Jarvis; work with Mr. Garman
                  and propose language on accrued and unpaid servicing fees (.2)
                  ; read memo from Ms. Jarvis on additional plan language (.1);
                  read memo from Mr. Garman and draft memo to Ms. Jarvis on
                  accrued and uncollected servicing fees (.1)

11-13-2006        S. Freeman                                                           0.1                51.00
                  Read A. Jarvis e-mail re plan subordination

11-13-2006        S. Freeman                                                           0.3            153.00
                  E-mails from and to Mr. R. Charles re hearing status (.1);
                  review C. Pajak e-mail re clean up items on disclosure
                  statement and plan (.1); read Mr. R. Charles e-mail re
                  disclosure statement approval order corrections, disclosure
                  statement , plan, summary corrections, E. Karasik e-mails re
                  assigning claim in plan (.1)

11-13-2006        S. Freeman                                                           0.3            153.00
                  Read A. Jarvis e-mail re plan language changes, R. Charles e-
                  mail re plan agreement, E. Karasik e-mail re revised plan; S.
                  Strong e-mails with final of plan and disclosure statement, C.
                  Pajak inquiry re Silver Point plan review

11-13-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr e-mail re liquidation analysis
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11-13-2006        S. Freeman                                                          0.2            102.00
                  Read e-mails between Mr. R. Charles, Mr. G. Gaman re
                  servicing fee plan issue (.1); read Mr. G. Gordon e-mail re plan
                  subordination and Mr. R. Charles e-mail re plan language (.1)

11-13-2006        R. Charles                                                          6.4           2,464.00
                  Prepare for hearings (1.0); meet with Ms. E. Karasik etc. on
                  hearings (.5); meet with Mr. D. Walker and counsel before
                  hearing (.5); and attend hearings and discuss issues before and
                  after with counsel and parties at the hearing (2.5); discussions
                  after with Mr. Walker (.2); read and revise amended disclosure
                  statement (.9); read and revise third amended plan of
                  reorganization (.5); read and revise plan summary (.2);
                  telephone call from and Ms. Karasik on FTDF litigation claims
                  (.2)

11-13-2006        S. Brown                                                            0.5            160.00
                  Continue reviewing disclosure statement and related issues

11-14-2006        S. Freeman                                                          0.2            102.00
                  Read E. Karasik e-mail re plan releases, S. Strong response,
                  follow up e-mails for E. Karasik (.1); read S. Strong e-mail re
                  silver point changes to and disclosure statement and proposed
                  changes (.1)

11-14-2006        S. Freeman                                                          0.2            102.00
                  Read proposed hypotheticals for disclosure statement and S.
                  Strong e-mail re addition to plan re undistributed case, C.
                  Carlson and S. Smith, and R. Charles e-mails re hypotheticals
                  (.1) read T-Burr-M. Haftl equity re claims and liquidation
                  synopsis (.1)

11-14-2006        S. Freeman                                                          0.1                51.00
                  Read draft hypothetical for disclosure statement with S. Smith
                  additions, and e-mail my input (.1)

11-14-2006        R. Charles                                                          1.1            423.50
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                  Work on changes to the plan via Mr. S. Strong, Ms. C. Carlyon
                  and others (.3); work on changes to the disclosure statement via
                  Silver Point, Mr. Strong, Ms. Carlyon and others (.3); read
                  memo from Ms. A. Jarvis and work on hypo 1 for the
                  disclosure (.2); read memo from Ms. Jarvis and work on hypo 2
                  with Ms. Freeman for the disclosure (.2); telephone to Mr. M.
                  Levinson (.2); read memo from Mr. G. Garman on hypo 1 (.1);
                  read memo from Ms. C. Pajak with additional comments on the
                  plan (.1) and disclosure (.1); read memo from Debtors' counsel
                  on redlined plan and comment on litigation defense issue (.2)

11-15-2006        S. Freeman                                                           2.0           1,020.00
                  Send e-mail to M. Levinson re potential trustee (.1); discuss
                  potential trustees with Mr. R. Charles (.1); prepare e-mails to
                  five potential trustee candidates (.4); reply to responses from A.
                  Snelling and Mr. S. Avila (.1); e-mail to and from Mr. R.
                  Charles re memo for trustee candidates (.1); respond to e-mail
                  from S. Everett (.1); telephone to candidate Mr. B. Novak
                  (message) (.1); telephone from Mr. B. Novak re trustee
                  position (.2); e-mail to Mr. B. Novak re same (.1); telephone
                  from Mr. B. Novak re follow-up inquiry (.2); respond to e-mail
                  from D. Walker re revision to committee support letter (.1);
                  respond to G. Gaman e-mail re identifying trustee candidates
                  (.1); read e-mails from G. Berman and M. Barbeaux re trustee
                  consideration (.1); read e-mails from G. Gaman and S. Strong
                  re ballot issue (.1); review materials re potential trustee
                  referrals (.1)

11-15-2006        S. Freeman                                                           0.3            153.00
                  Read e-mails from M. Levinson, G. Gordon, S. Strong, R.
                  Charles re approval order language (.1); read additional Strong,
                  Levinson, Landis e-mails re approval order (.1); skim e-mails
                  from Karasik, Strong, Hunt, Hermann re final revisions (.1)

11-15-2006        R. Charles                                                           2.7           1,039.50
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                  Read memo from Mr. S. Strong with and read comments on
                  plan (.2); read memo from Mr. Strong and read comments on
                  disclosure statement (.3); read memo from Mr. Strong and
                  review and approve order setting confirmation hearing (.1);
                  read memo from Mr. M. Levinson on proposed order (.1); read
                  memo from Mr. R. Russell and read memo from Ms. E.
                  Karasik on potential trustees and forward to Ms. S. Freeman
                  for follow up (.1); work on deadlines for the plan, balloting,
                  confirmation hearing and related filings (.1); work with Ms.
                  Freeman and Mr. T. Burr on process for selection of liquidating
                  trustee (.1); work with Mr. Levinson on selection of trustee
                  (.1); draft memo to Mr. G. Gordon on same (.1); work with Mr.
                  Burr on same (.1); work on memo for information for
                  liquidating trustee candidates (1.5); return call to Ms. J. Chubb
                  re Monday hearing and development (.1); work with Mr. Burr
                  on trustee selection process (.1)

11-15-2006        H. Taylor                                                           1.7            603.50
                  Review plan filed in consolidated cases (1.1); review form of
                  Liquidating Trust Agreement prepared by Debtors' counsel (.6)

11-15-2006        S. Brown                                                            1.5            480.00
                  Continue review of disclosure statement, plan and related
                  issues

11-15-2006        M. Schoenike                                                        0.7            126.00
                  Review order setting confirmation hearing (.3); e-mail to Mr.
                  R. Charles re hearing time (.1); calendar all deadlines and dates
                  set by order (.2); review Committee Support letter (.1)

11-16-2006        S. Freeman                                                          0.4            204.00
                  Read e-mails re settlement conference proposal and respond
                  (.1); telephone from Mr. R. Charles re same (.1); send e-mail to
                  additional trustee candidate re interest and issues (.2)

11-16-2006        R. Charles                                                          0.3            115.50
                  Work with Ms. S. Freeman on issue of trustee candidate and
                  potential involvement in Epic case and on issues raised by Mr.
                  Walker (.2); work with Mr. M. Levinson on settlement
                  conference (.1); draft memo to Mr. Levinson (.1); read memo
                  from Mr. S. Strong on solicitation materials (.1)

11-16-2006        H. Taylor                                                           5.3           1,881.50
                  Work on revisions to liquidating trust agreement
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11-16-2006        M. Ruth                                                              1.5            300.00
                  Research re voiding committee votes

11-17-2006        S. Freeman                                                           0.2            102.00
                  Read e-mail re settlement conference and respond re timing
                  (.1); read further e-mails re settlement conference arrangements
                  (.1)

11-17-2006        S. Freeman                                                           1.2            612.00
                  Read e-mail from Mr. T. Burr re Trustee interviews (.1); check
                  for flights and discuss interview schedule with Mr. R. Charles
                  and committee review status (.1); send e-mail to interviewees
                  re scheduling interviews (.1); send e-mails from Mr. R. Charles
                  and C. Hunsworth re special counsel (.1); telephone from G.
                  Lyon re interviews re liquidating trustee (.2); telephone from
                  M. Carmel re same (.2); respond to e-mails from S. Avila, K.
                  Everett, A. Schnelling re interviews (.2); e-mails to and from T.
                  Burr re same (.1); respond to e-mails from committee members
                  re trustee candidate (.1)

11-17-2006        R. Charles                                                           1.3            500.50
                  Return call to Mr. Bob Novak as potential trustee candidate
                  (.3); work on information for the potential trustees (.1); work
                  on scheduling Diversified settlement conference (.2); additional
                  input into the memo for potential trustees, including asset and
                  claim information and critical tasks (.5); work with Mr. H.
                  Taylor on trust agreement (.2)

11-18-2006        R. Charles                                                           0.5            192.50
                  Read memo from Ms. S. Nounna and read memo from Ms. P.
                  Rieger on trustee candidate (.1); read memo from Mr. M.
                  Levinson on DTDF involvement in process (.1); read memo
                  from Ms. S. Freeman on selection process (.1); draft memo to
                  Mr. D. Walker and Mr. T. Burr on complaint and outline (.1);
                  work on arrangements for trustee interview (.1)

11-19-2006        R. Charles                                                           0.6            231.00
                  Work on outline for potential liquidating trustees (.4); forward
                  outline to potentially interested candidates (.2)

11-20-2006        S. Freeman                                                           4.6           2,346.00
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                  Respond to e-mails from trustee candidates Novak, Schenlling,
                  Bonfiglio (.1); respond to M. Levinson e-mail re settlement
                  conference issues (.1); respond to e-mail from D. Walker re
                  liquidating trustee candidate, and advise all members re
                  decision-making (.1); read e-mails between D. Walker and R.
                  Charles re authority to file suit against IP (.1); respond to e-
                  mail from H. Grobstein, potential trustee, providing
                  information (.1); respond to two additional H. Grobstein e-
                  mails with further information (.1); respond to B. Novak e-
                  mails re interviews (.1); respond to S. Nounna e-mails re
                  trustee candidates (.1); telephone to R. Charles re trustee
                  qualification issues and trust agreement terms (.1); telephone to
                  T. Burr re servicing issue and trustee issue (.1); e-mail to J.
                  Bonfiglio re claim amount and impact on trustee qualification
                  (.1); review draft trust agreement and work on changes to it
                  (1.7); e-mail and voice mail to M. Levinson re trustee
                  candidates (.2); study outline of information for trustee
                  candidates, and send e-mails to R. Charles re inquiries on same
                  (.3); review responses re trustee information and e-mails from
                  committee members re trustee (.1); telephone from J. Bonfiglio
                  re withdrawal as trustee candidate (.1); telephone to R. Charles
                  re same and claim issue (.1); participate in call with trustee
                  candidates (.8); e-mail to candidates re logistics for meeting
                  (.2)

11-20-2006        S. Freeman                                                           0.2            102.00
                  E-mail to committee re trustee candidates and interviews (.1);
                  second e-mail re same and resumes, and respond to Rieger and
                  Hainsworth e-mails re participation (.1)

11-20-2006        S. Freeman                                                           3.2           1,632.00
                  Further work on changes to draft trust agreement

11-20-2006        S. Freeman                                                           0.2            102.00
                  Read and respond to additional e-mails re trustee interviews
                  from committee members

11-20-2006        R. Charles                                                           2.2            847.00
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                  Read memo from Mr. J. Bonfiglio as potential liquidating
                  trustee (.1); work with Mr. D. Walker on authority to bring suit
                  (.1); telephone call from Mr. C. Hainsworth on trustee selection
                  (.3); telephone call from Mr. L. Rieger on trustee selection (.2);
                  work with Ms. S. Freeman on trustee interview issues (.2);
                  work with Ms. Freeman on release issue (.1); prepare for and
                  participate in briefing session for potential trustee candidates
                  (1.0); read memo from Mr. Walker and identify changes in the
                  third plan and the disclosure statement for it (.4)

11-20-2006        M. Ruth                                                              7.5           1,500.00
                  Additional research re voiding committee votes; draft memo to
                  Ms. S. Freeman re same

11-20-2006        M. Schoenike                                                         0.2                36.00
                  Review e-mails re voting

11-20-2006        M. Schoenike                                                         0.6            108.00
                  Assist Ms. S. Freeman re determination of critical votes cast by
                  Mr. R. Hagmaier

11-21-2006        S. Freeman                                                           0.3            153.00
                  Read M. Levinson e-mail and attachment re direct lender UIM
                  - call to vote against plan (.1); read and respond to e-mails re
                  participating in call re same (.1); discuss proposed unsecured
                  committee response with Mr. R. Charles (.1)

11-21-2006        S. Freeman                                                           1.1            561.00
                  Read C. Pajak e-mail and analysis re improper solicitation of
                  votes (.9); respond to Mr. R. Charles and S. Nounna e-mail re
                  creditor inquiries (.1); telephone from R. Hainsworth re trustee
                  qualification issues (.1)

11-21-2006        S. Freeman                                                           0.9            459.00
                  Participate in committees-debtor call re discouragement to vote
                  on plan (.8); read further e-mails from T. Burr, E. Karasik, re
                  UIM solicitation (.1)

11-21-2006        S. Freeman                                                           0.4            204.00
                  Read e-mails from S. Sherman, L. Schwartzer re OST (.1); read
                  E. Monson and R. Charles e-mails on 2004 exam proposal (.1);
                  read R. Charles bullet points for response to solicitation, E.
                  Karasik revision (.1); send e-mails to counsel for DTSF and
                  debtors re trustee interviews and resumes (.1)
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11-21-2006        R. Charles                                                           3.9           1,501.50
                  Read memo from Ms. D. Cangelosi (.1); read memo from Mr.
                  M. Levinson (.1); work on liquidating trust agreement (.7);
                  work with Ms. S. Freeman on Cangelosi (.1); read memo from
                  Mr. S. Strong and forward to Mr. D. Walker on meeting (.1);
                  continue work on trust agreement (1.4); read memo from Ms.
                  E. Karasik (.1); meet with Debtors and Committees on
                  Cangelosi solicitation (.9); work on outline of arguments for
                  response to the "action plan" (.6)

11-21-2006        M. Schoenike                                                         0.6            108.00
                  Review Robert Ulm "Call to Action" re plan (.4); research
                  docket re notices of appearance and respond to Ms. S. Freeman
                  re same (.2)

11-21-2006        M. Schoenike                                                         0.7            126.00
                  Prepare memorandum recapping critical committee votes

11-22-2006        S. Freeman                                                           0.6            306.00
                  Read e-mails from S. Smith, M. Levinson re Cangelosi
                  solicitation and additional facts (.1); read G. Gordon initial
                  draft (.1); read further e-mails re drafts, revisions from E.
                  Karasik, C. Carlyon (.1); read revised version from R. Charles
                  and M. Levinson (.1); read OST filings (.1); send next version
                  of draft joint committee-debtor motion and e-mail my comment
                  (.1)

11-22-2006        S. Freeman                                                           0.3            153.00
                  Read e-mails from E. Monson re 2004 exam, revised draft of
                  joint motion and e-mailed comments and changes from S.
                  German, M. Levinson, J. Herman, C. Carlyon, S. Strong, R.
                  Charles (.1); read final draft of joint motion and send e-mail re
                  same (.1); read e-mail from Mr. R. Charles to committee re
                  same, and discuss with him (.1)

11-22-2006        S. Freeman                                                           0.1                51.00
                  Read additional correction e-mails from C. Carlyon, M.
                  Levinson, A. Parlan, G. Gaiman, re OST and e-mail our
                  approval

11-22-2006        S. Freeman                                                           0.1                51.00
                  Respond to R. Grobstein e-mail re interviews as trustee

11-22-2006        S. Freeman                                                           0.5            255.00
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                  Read T. Burr outline of trustee interview questions and respond
                  with orders (.1); respond to DSI e-mail re fees and
                  qualifications (.1); return M. Barbeau call re same (.2); respond
                  to R. Charles e-mail re trustee interviews and send e-mail to
                  FTDF committee re same (.1)

11-22-2006        R. Charles                                                          1.0            385.00
                  Work on bullet points response to "call for action", reading
                  comments from committee counsel and debtors, and circulate
                  revisions (.5); work with Ms. C. Pajak on language (.1); read
                  draft motion by Mr. G. Garman and additional comments (.1);
                  read revised bullet points and comment (.1); work on motion
                  and bullet point supplemental solicitation (.1); read
                  correspondence on drafts (.1); read memo from Mr. Burr and
                  read memo from Ms. Freeman on trustee interview questions
                  (.1)

11-22-2006        S. Brown                                                            0.7            224.00
                  Continue review re disclosure statement and exhibits

11-23-2006        S. Freeman                                                          0.1                51.00
                  Read B. Nounna and R. Charles e-mail exchanges re trust
                  agreement, time line and ballots

11-23-2006        S. Freeman                                                          0.2            102.00
                  Read C. Hainsworth, R. Charles e-mails re trust agreement and
                  D. Walker-R. Charles e-mails re same, and respond (.1); read
                  D. Walker/R. Charles e-mails re trustee, plan issue (.1)

11-24-2006        S. Freeman                                                          0.3            153.00
                  Read P. Rieger e-mails re trust agreement/trustee issue, and re
                  draft IP complaint (.1); read R. Charles/B. Russell e-mails re
                  trustee and re document control issues, and e-mails to
                  committee re trust agreement issue (.1); read R. Charles e-mail
                  to debtor and committee professionals re trust agreement, and
                  e-mail to A. Jarvis re complaint against IP (.1)

11-24-2006        R. Charles                                                          0.9            346.50
                  Read and respond to inquiry from Mr. C. Hainsworth on trustee
                  interview (.1); read memo from Ms. L. Treadway on hearing on
                  committee motion re plan solicitation (.1); work on liquidating
                  trust agreement, with input from the Riegers (.5); draft memo
                  to debtors' and committees' counsel on draft trust agreement
                  (.1); read memo from Ms. E. Karasik on tax issue (.1)
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11-26-2006        S. Freeman                                                           0.2            102.00
                  Respond to T. Schnelling trustee interview inquiries, and
                  forward his revised presentation to committee members (.1);
                  respond to further inquiries by T. Schnelling re interview issues
                  (.1)

11-26-2006        S. Freeman                                                           0.3            153.00
                  Read e-mail from Mr. R. Charles re deadlines (.1); read J.
                  Bonfiglio e-mail re trust agreement (.1); review D. Walker
                  resume and e-mail re trust oversight committee (.1)

11-26-2006        R. Charles                                                           0.9            346.50
                  Work with Ms. S. Freeman on plan interviews (.1); work on
                  deadlines for plan supplement and ADR agreement (.2); work
                  on alternative dispute resolution proposal (.6)

11-27-2006        S. Freeman                                                          10.5           5,355.00
                  Travel to Las Vegas, reviewing resumes for interviews and
                  discussing with Mr. T. Burr (1.5); meeting with committee and
                  DTDF professionals and interviewing trustee candidates, with
                  working lunch to discuss candidates seen

11-27-2006        R. Charles                                                           4.7           1,809.50
                  Participate in trustee candidate interviews (2.3); work with Mr.
                  A. Parlen on bidding stipulation (.1); work with Mr. G. Garman
                  on meeting on alternative dispute resolution; work on draft
                  agreement (.4); work with Mr. Parlen on motion and order on
                  confidentiality of bidding stipulation (.1); read memo from Mr.
                  Parlen on stipulation filed under seal (.1); read memo from Mr.
                  J. Bauer on oversight committee nominations (.1); respond to
                  Ms. S. Nounna's inquiries (.1); forward revised trust agreement
                  to committee (.1); continue on trustee interviews (.5); read
                  memo from Ms. E. Karasik on tax implication of the disbursing
                  agent issues (.1); continue on trustee interviews (.3); continue
                  on trustee interviews (1.4)

11-28-2006        S. Freeman                                                           0.1                51.00
                  Read opposition to supplemental disclosure

11-28-2006        S. Freeman                                                           0.8            408.00
                  Check interview notes and trustee proposal materials and
                  prepare draft e-mails with follow-up interviewee questions, and
                  send to committee

11-28-2006        S. Freeman                                                           0.3            153.00
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                  Review T. Burr and C. Hainsworth responses re draft e-mail to
                  trustee candidates (.1); revise e-mails to Budge and DSI and
                  send (.2)

11-28-2006        S. Freeman                                                          0.4            204.00
                  Telephone from Mr. C. Hainsworth re notice to trustee
                  candidates and re trustee considerations

11-28-2006        R. Charles                                                          2.8           1,078.00
                  Work with Ms. A. Jarvis on bidding stipulation (.1); work with
                  Ms. Jarvis on supplemental plan documents and ADR
                  agreement (.1); read memo from Mr. G. Garman and review
                  draft ADR agreement (.4); work with Mr. Garman on ADR
                  agreement (.1); read memo from Ms. Jarvis and read memo
                  from Mr. Merola on supplemental filings (.1); work on
                  language of draft ADR agreement with input from Mr. Garman
                  (.3); additional revisions to the language and forward to Mr.
                  Garman (.2); read memo from Mr. Garman and read his
                  proposed changes (.2); listen in to the hearing on resolution of
                  USACM's involvement in the interpleader (.2) and on the
                  motion for approval of supplemental disclosure (1.2); forward
                  ADR agreement to counsel and committees (.2); return call to
                  Mr. A. Parlen and work on ADR Agreement (.3)

11-28-2006        S. Brown                                                            0.4            128.00
                  Review order approving disclosure statement (.1); review
                  amended disclosure statement (.1); review third amended plan
                  (.2)

11-29-2006        S. Freeman                                                          1.2            612.00
                  Read e-mails and revised drafts re trust agreement and ADR
                  agreement (.1); discuss trustee issues and DTDF settlement
                  issues with Mr. R. Charles (.1); respond to Mr. G. Berman and
                  Mr. T. Schnelling e-mails re trustee interviews (.1); telephone
                  from G. Lyons re trustee decision (.1); telephone from Mr. M.
                  Carmel re same (.1); respond to Mr. H. Grobstein e-mails re
                  assisting trustee (.1); telephone from Mr. B. Brandt re trustee
                  interview issues (.2); read Mr. R. Charles and Ms. E. Karasik e-
                  mails on trust agreement/agency issue (.1); telephone from Mr.
                  G. Berman re trustee interview follow-up (.2); read Ms. A.
                  Loraditch and Ms. C. Pajak e-mails re supplemental disclosure
                  order (.1)

11-29-2006        S. Freeman                                                          0.1                51.00
                  Read responses from trustee candidates to my e-mail requests
                  and forward to committee members
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11-29-2006        S. Freeman                                                           0.1                51.00
                  Read further G. Gaiman/A. Jarvis/S. Smith e-mails re loan
                  servicing schedule

11-29-2006        S. Freeman                                                           1.5            765.00
                  Send e-mail to committee members re arranging for any
                  follow-up interviews by phone with trustee candidates (.1);
                  respond to member e-mail re trustee candidate response (.1);
                  telephone from Mr. C. Hainsworth re trustee interviews and e-
                  mail information to him per request (.2); telephone to R.
                  Russell re participation in committee meeting on Friday and
                  reviewing trustee candidate materials in advance (.2);
                  telephone from S. Nounna re arranging to call trustee
                  candidates (.2); read Mr. A. Jarvis e-mail re loan servicing
                  schedule issues (.1); read Mr. D. Walker and Mr. R. Charles e-
                  mails re voting on trustee, and respond (.1); read additional e-
                  mail from Mr. D. Walker re same, locate caselaw, and send
                  with response (.5)

11-29-2006        S. Freeman                                                           0.4            204.00
                  Read Mr. H. Taylor e-mail re trust agency proposal (.1);
                  telephone from Mr. M. Tucker re trustee candidates and DTDF
                  meeting (.2); send him e-mail re resume under agreement re
                  privilege, and read his confirmation (.1)

11-29-2006        S. Freeman                                                           0.4            204.00
                  Telephone from Mr. T. Schnelling re communication with Mr.
                  T. Burr on working relationship if he is trustee (.2); read Mr. T.
                  Burr e-mail re October disbursement report and analysis (.1);
                  read Mr. T. Burr e-mails re trustee candidates, S. Nounna e-
                  mail re agenda; Mr. R. Charles e-mail re loan servicing
                  schedule (.1)

11-29-2006        R. Charles                                                           0.8            308.00
                  Read memo from Ms. A. Jarvis and draft memo to Ms. E.
                  Karasik on plan trust agreement language on disbursing agent
                  (.1); read exchange with Ms. Jarvis on direct lenders
                  supplement (.2); read memo from Ms. Karasik and work with
                  Mr. H. Taylor on disbursing agent and trust agreement issues
                  (.2); work with Mr. G. Garman on plan trustee and ADR
                  agreement (.1); call to Mr. M. Levinson on plan trustee and
                  settlement (.1); call to Mr. S. Strong on plan trustee and ADR
                  agreement (.1); call from tax counsel on the trust agreement
                  (.1)
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11-29-2006        H. Taylor                                                            0.6            213.00
                  Review and respond to e-mails relating to revisions to
                  Liquidating Trust Agreement and telephone conference with
                  Mr. M. Wallace of Stutman Triester relating to draft Trust
                  Agreement

11-29-2006        S. Brown                                                             2.5            800.00
                  Review third amended disclosure statement (.5); review briefs
                  and related issues re supplemental disclosures (1.1); review
                  order approving disclosure statement and related documents
                  (.9)

11-30-2006        S. Freeman                                                           0.2            102.00
                  Return Mr. T. Burr call re trustee interviews

11-30-2006        R. Charles                                                           3.0           1,155.00
                  Read memo from Mr. T. Burr and work on trust agreement
                  (.1); telephone call from Mr. M. Levinson on plan trustee and
                  on Diversified negotiations (.2); read and respond to memo
                  from Ms. S. Ostrow for Liberty Bank (.1); draft memo to Mr.
                  Burr on liquidation analysis (.1); return call to Ms. C. Pajak on
                  selection of liquidating trustee (.1) ; work with Ms. A. Jarvis
                  and Mr. S. Strong on a variety of pending issues (.7); continue
                  work on Diversified settlement proposal (1.2); work with Mr.
                  Burr on approach to Diversified settlement (.3)

11-30-2006        H. Taylor                                                            1.7            603.50
                  Continue working on revisions to draft liquidating trust
                  agreement

11-30-2006        S. Brown                                                             0.6            192.00
                  Continue review of third amended disclosure statement (.4);
                  review order re supplemental disclosures (.2)

12-01-2006        S. Freeman                                                           1.3            663.00
                  Work on revisions to trust agreement to incorporate DSI form
                  (1.1); telephone to G. Berman re conflicts clearance (.1); direct
                  M. Schoenike re providing creditor list to DSI (.1)

12-01-2006        S. Freeman                                                           0.1                51.00
                  Read P. Hart e-mail re trustee/agency analysis and forward to
                  G. Berman

12-01-2006        S. Freeman                                                           0.1                51.00
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                  Read G. Berman e-mail and forward to committee re direct
                  lender meetings and read Mr. R. Charles e-mail exchange with
                  G. Berman re information for supplemental disclosure on
                  qualifications

12-01-2006        R. Charles                                                              0.6            231.00
                  Read memo from Mr. R. Walker on the RaceBrook/SilverPoint
                  "offer" (.1); respond to Mr. Milanowski's counsel on the
                  RaceBrook/Silver Point "offer" (1); read memo from Ms. C.
                  Pajak on outline for confirmation hearing (.1); work with Ms.
                  S. Freeman on trust agreement (.1); read memo from Ms. E.
                  Monson on trust agreement (.1); draft memo to Mr. G. Berman
                  on information needed from proposed trustee (.1)

12-01-2006        H. Taylor                                                               0.7            248.50
                  Continue working on revisions to Liquidating Trust Agreement
                  for USACM estate and e-mails to and from Ms. S. Freeman
                  and Mr. R. Charles regarding same

12-02-2006        S. Freeman                                                              0.1                51.00
                  Read and respond to Mr. G. Berman e-mail re trust agreement

12-02-2006        S. Freeman                                                              2.8           1,428.00
                  Work on revisions to trust agreement to include DSI form, and
                  send to Mr. G. Berman with explanation of issues and agency
                  issue

12-02-2006        S. Freeman                                                              0.1                51.00
                  Read Mr. R. Charles - Mr. G. Berman correspondence re
                  information for disclosure, A. Smith letter re direct lender e-
                  mail list

12-03-2006        R. Charles                                                              0.5            192.50
                  Read memo from Ms. S. Freeman on trust agreement (.1);
                  telephone call from Mr. M. Levinson for Diversified (.1); read
                  memo from Ms. A. Jarvis on ballot report (.1); work on
                  Diversified settlement letter (.3)

12-03-2006        H. Taylor                                                               0.1                35.50
                  Review e-mail from Ms. S. Freeman regarding form of
                  Liquidating Trust Agreement

12-04-2006        S. Freeman                                                              1.7            867.00
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                  Review trustee's comments to draft trust agreement, and call re
                  same (message) (.3); incorporate some revisions (.4); telephone
                  from G. Berman and discuss other changes (.2); further revise
                  draft agreement per discussion (.5); telephone to G. Berman re
                  further inquiry (.1); further revise draft agreement (.2)

12-04-2006        S. Freeman                                                          0.2            102.00
                  Direct M. Ruth re drafting brief in support of confirmation

12-04-2006        R. Charles                                                          1.6            616.00
                  Work with Ms. S. Freeman on brief in support of plan
                  confirmation (.1); continue work on Diversified settlement
                  proposal (.6); work on Diversified letter with input from Mr.
                  Burr, Ms. Freeman and Mr. Walker (.7); skim initial ballot tally
                  (.1); read and revise language from Mr. S. Strong on plan and
                  prepaid interest (.2)

12-05-2006        S. Freeman                                                          0.1                51.00
                  E-mail to Mr. G. Berman re additional changes to trust
                  agreement, and read response

12-05-2006        S. Freeman                                                          0.2            102.00
                  Read additional Mr. T. Burr and debtor materials re DTDF
                  tracing issue

12-05-2006        S. Freeman                                                          0.2            102.00
                  Telephone from Mr. C. Hainsworth re trust agreement
                  language

12-05-2006        S. Freeman                                                          0.3            153.00
                  Return Mr. G. Berman call re estate representative issue (.2); e-
                  mail to other counsel re proposed resolution of same and
                  respond to J. Bauer e-mail re meeting (.1)

12-05-2006        S. Freeman                                                          1.0            510.00
                  Review additional trust agreement language from DSI, add to
                  draft and redline, send revised draft trust agreement to
                  committee with explanation (.9); e-mail response to DSI re
                  agreement language and availability to discuss; second e-mail
                  re additional decision needed (.1)

12-05-2006        S. Freeman                                                          3.4           1,734.00
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                  Direct M. Ruth re preparation of confirmation brief and add
                  Mr. R. Charles by phone re same (.2); review P. Hunt (RQN)
                  changes to trust agreement and explanation and incorporate
                  most into new draft with DS and other changes and further
                  revise (2.9); send revision and redlines to debtors and other
                  committees' counsel with explanation (.2); send to DSI and
                  unsecured committee members with explanation (.1)

12-05-2006        R. Charles                                                            0.4            154.00
                  Read updated ballot tally (.1); work on confirmation brief and
                  sale issues with Ms. S. Freeman and Mr. M. Ruth (.3)

12-05-2006        S. Brown                                                              0.7            224.00
                  Work on brief supporting plan confirmation

12-05-2006        M. Ruth                                                               2.8            560.00
                  Review Debtors' plan of reorganization (.7); review Debtors'
                  disclosure statement (.7); research re surcharging direct lenders
                  for their professional fees (1.4)

12-06-2006        S. Freeman                                                            1.2            612.00
                  Respond to P. Hunt e-mail re trust agreement (.1); read e-mail
                  from C. Hainsworth re trust agreement; read e-mails re sale
                  from R. Charles, A. Jarvis, D. Cica, M.Tucker, E. Karasik re
                  qualifying bidders at sale; read J. Reed e-mail and Hamilton
                  resignation letter (.2); read D. Walker, R. Charles e-mails re
                  bid deposit, query to committee re authority to proceed (.1);
                  revise trust agreement to address trustee changes (.6); send to
                  other professionals with explanation (.1); send to committee
                  members with explanation and proposal re meeting change (.1)

12-06-2006        S. Freeman                                                            1.5            765.00
                  Telephone from M. Wallace re additional changes to trust
                  agreement and reasons (.3); respond to e-mail from member re
                  trust agreement issue, with information from minutes (.2); call
                  from member re same, and confirm with e-mail (.1); read new
                  filing re assignment of loans (.1); read e-mails from M.
                  Wallace re trust agreement changes and work into new version
                  of trust agreement (.8)

12-06-2006        S. Freeman                                                            0.6            306.00
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                  Send redlined revised agreement to DSI with explanation (.1);
                  send to other professionals with explanation (.1); respond to J.
                  Bonfiglio's e-mail re trust agreement concern (.1); read C.
                  Hainsworth e-mail re trust agreement (.1); read and respond to
                  J. Bauer e-mail re trust agreement approval, re M. Yoder e-mail
                  re same (.1); respond to G. Berman inquiry re reason for trust
                  agreement change and read reply (.1)

12-06-2006        S. Freeman                                                         0.4            204.00
                  Telephone from G. Berman re changes to draft trust agreement
                  (.3); telephone from Mr. R. Charles re report on hearing and re
                  confirmation brief (.1)

12-06-2006        R. Charles                                                         0.2                77.00
                  Work with Ms. S. Freeman on plan trust issues (.1); skim
                  updated ballot report (.1)

12-06-2006        H. Taylor                                                          0.3            106.50
                  Review multiple e-mails regarding form of trust agreement

12-06-2006        M. Ruth                                                            5.2           1,040.00
                  Review Unsecured Committee's Response to Holdback Motion
                  (.5); research re setoff and fraudulent conveyance (3.0; begin
                  drafting memo in support of reorganization plan (1.7)

12-07-2006        S. Freeman                                                         0.9            459.00
                  Send e-mail to Mr. H. Taylor and Mr. R. Charles re revisions to
                  trust agreement and communication with committee re same
                  (.1); read e-mails from M. Wallace, P. Hunt re trust agreement
                  and D. Cangelosi e-mail re voting against plan (.1); send e-mail
                  to Mr. H. Taylor re P. Hunt proposal on privilege issue in trust
                  agreement (.1); read e-mails from M. Wallace, P. Hunt, R.
                  Charles re trust agreement language and disclosures (.1); read
                  and reply to G. Berman e-mail re proposed change to trust
                  agreement language (.1); telephone to H. Taylor re P. Hunt
                  position on privilege issue in trust agreement (.1); read H.
                  Taylor e-mail to P. Hunt re same and send e-mail to him re
                  follow-up with DTDF (.1); read R. Charles e-mail re
                  compensation provision of trust agreement and responses from
                  Hainsworth, Russell, Yoder (.1); e-mail to committee members
                  re compensation issue and read their responses (.1)

12-07-2006        R. Charles                                                         1.0            385.00
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                  Read correspondence on ballot tally meeting (.1); work with
                  Ms. S. Nounna on trust agreement issues (.1); discuss books
                  and records issues with Mr. T. Allison (.1); read memo from
                  Ms. D. Cangelosi (.1); conference with Mr. M. Levinson on
                  compensation of oversight committee (.1); conference with Mr.
                  Levinson and Mr. M. Tucker on Del Bunch, plan and
                  settlement conference (.3); read memo from Mr. C. Hainsworth
                  on settlement conference statement (.1)

12-07-2006        H. Taylor                                                          5.2           1,846.00
                  Multiple telephone calls and e-mails with counsel for Debtors,
                  proposed Liquidating Trustee and counsel for other estate
                  committees regarding form of Liquidating Trust Agreement
                  (2.0); multiple revisions to form of Liquidating Trust
                  Agreement (3.2)

12-07-2006        S. Brown                                                           0.3                96.00
                  Telephone calls re privilege issues in liquidating trust

12-08-2006        S. Freeman                                                         0.5            255.00
                  Read e-mails from Ms. S. Nounna re oversight committee
                  compensation issue and respond (.1); read Mr. R. Charles e-
                  mails responding to committee inquires on trust agreement and
                  confirmation issues and D. Bunch vote (.1); telephone to Mr.
                  R. Charles re same and meeting (.1); read four committee e-
                  mails re trust agreement issues (.1); read Mr. R. Charles and
                  Mr. H. Taylor e-mails re trust agreement language and
                  committee meeting to discuss and respond (.1)

12-08-2006        S. Freeman                                                         0.8            408.00
                  Send e-mail to committee members re trust agreement
                  language and voting issue (.1); e-mails to and from Mr. R.
                  Charles re oversight committee payment issue (.1); participate
                  in part of committee meeting re trust agreement issues (.6)

12-08-2006        S. Freeman                                                         0.2            102.00
                  Read Mr. R. Charles e-mail to debtors and other committees re
                  trust agreement as changed and approved by our committee
                  (.1); read Mr. R. Charles e-mail re agreement as filed with
                  disclosures, and e-mail re voting report (.1)

12-08-2006        R. Charles                                                         3.4           1,309.00
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                  Participate in telephonic meeting on balloting issues with
                  BMC, Debtors and committees (.8); work on trust agreement
                  (.5); read memo from Mr. Walker; telephone to Mr. Del Bunch
                  on vote and plan alternatives (.5); read memo from Ms. C.
                  Pajak on APA offered by Compass (.1); read memo from Ms.
                  Pajak on plan supplement (.1), respond as to disbursing agency
                  agreements (.1) and read memo from Ms. A. Jarvis on same
                  (.1); revise and circulate trust agreement (.5); assemble bios
                  and create Ms. Nounna's bio (.2); read memo from Ms. Rieger
                  and create Mr. Rieger's bio (.1); telephone call from Ms. C.
                  Pajak (.1); work on notice of plan supplement (.1); edit notice
                  and file (.2) (NC); read letter from Ms. C. Carlyon on Ms. D.
                  Cangelosi (.1)

12-08-2006        H. Taylor                                                            5.6           1,988.00
                  Review and respond to multiple e-mails regarding revisions to
                  form of Liquidating Trust Agreement for USCA estate (1.5);
                  revise form of Liquidating Trust Agreement (2.5); prepare and
                  participate in Committee call regarding form of Liquidating
                  Trust Agreement (1.6)

12-08-2006        S. Brown                                                             0.3                96.00
                  Work on attorney client privilege issue re liquidating trust

12-09-2006        R. Charles                                                           0.6            231.00
                  Read updated ballot report (.1); read orders expediting hearing
                  on motion to estimate claims (.1); read "reservation of rights"
                  and draft memo to Mr. S. Brown for confirmation brief (.1);
                  work with Ms. J. Chubb on mediation of disputes with direct
                  lenders (.1); draft memo to Mr. T. Burr on Diversified
                  settlement hearing preparation (.1) and confirmation hearing
                  proof (.1); skim Grundman objection to plan confirmation (.1)

12-10-2006        R. Charles                                                           0.5            192.50
                  Work with Ms. S. Freeman on ballot issues, committee meeting
                  and claim objections (.2); work on memo on balloting (.2);
                  draft memo to Mr. S. Strong on meeting on balloting and
                  claims objections (.1)

12-11-2006        S. Freeman                                                           7.4           3,774.00
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                  Work on confirmation brief (2.8); direct Mr. M. Ruth re
                  research for brief (.2); read PBGC objection to plan
                  confirmation, and e-mail suggestions for response to Mr. R.
                  Charles (.2); read additional objections to confirmation, and
                  revise draft sections of joint brief (2.1); read C. Pajak draft of
                  confirmation brief (.2); e-mail to Mr. R. Charles re concerns re
                  same (.1); discuss all committees/debtors call and confirmation
                  brief arguments with Mr. R. Charles (.2); further work on draft
                  confirmation brief (1.1); read S. Smith e-mails re prepaid
                  interest issue and Mr. R. Charles response, and e-mail my
                  suggestions re same (.1); conference with Mr. M. Ruth re
                  research results and work into brief (.3); e-mails to C. Pajak for
                  incorporating into joint brief (.1)

12-11-2006        S. Freeman                                                           0.2            102.00
                  Read new Ninth Circuit case for potential use in confirmation
                  brief

12-11-2006        R. Charles                                                           3.2           1,232.00
                  Work with Ms. M. Schoenike on service of plan supplement
                  (.1); read memo from Mr. S. Strong on meeting (.1); read
                  memo from BMC on voting and read memo from Ms. E.
                  Karasik on same after analyzing ballot tallies (.4); prepare for
                  and participate in meeting on claims objections and voting (.4);
                  read memo from Ms. Karasik on Standard Property (.1); briefly
                  research balloting issues (Westlaw) (.2); calls and
                  correspondence to committee members on balloting (.3);
                  discuss balloting with Mr. R. Russell (.1); discuss balloting
                  with Mr. J. Bauer (.1); work with Ms. S. Smith and Mr. T. Burr
                  on the collection of servicing fees under the plan (.2); note
                  PBGC objection to plan (.1); receiver and forward Bauer and
                  Bonfiglio ballots and work with BMC on same (.2); meeting
                  with committees and debtors' professionals on balloting,
                  confirmation hearing and related issues (.6); work with Ms.
                  Freeman on brief for plan confirmation (.1); draft memo to Ms.
                  Freeman on prejudgment interest issue on fraudulent transfer
                  (.1) ; telephone call from Mr. Russell on balloting and
                  confirmation issues (.2)

12-11-2006        S. Brown                                                             0.8            256.00
                  Review correspondence re confirmation brief issues (.2);
                  review various plan supplements (.6)

12-11-2006        M. Ruth                                                              0.2                40.00
                  Conference with Ms. S. Freeman re memo in support of
                  reorganization plan
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12-12-2006        R. Charles                                                          1.7            654.50
                  Work on draft confirmation brief by FTDF (.6); read memo
                  from Mr. J. Miller on call from Mr. Del Bunch (.1); participate
                  in all committees and debtors call on plan issues (.8); work
                  with Ms. S. Freeman and committee members on plan issues
                  (.3)

12-12-2006        S. Brown                                                            0.5            160.00
                  Review various objections to plan of reorganization

12-13-2006        S. Freeman                                                          0.1                51.00
                  Read e-mails from Mr. R. Charles re objections to confirmation

12-13-2006        S. Freeman                                                          1.7            867.00
                  Conference call committee meeting (1.5); read S. Strong, E.
                  Karasik, R. Charles e-mails re dealing with PBGC objection
                  (.1); read E. Karasik e-mails re setoff analysis (.1)

12-13-2006        S. Freeman                                                          0.2            102.00
                  Read e-mails from Mr. T. Burr re follow up to committee
                  meeting re data and draft confirmation brief (.1); read
                  comments on draft brief from Mr. R. Charles, C. Carlyon, Mr.
                  E. Karasik (.1)

12-13-2006        R. Charles                                                          3.6           1,386.00
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                  Work on confirmation brief draft from FTDF (.1); read memo
                  from Mr. M. Levinson on settlement and plan (.1); work with
                  Mr. G. Gordon on plan issues (.2); work with Ms. S. Freeman
                  on confirmation and committee conflict issues (.2); forward
                  objections to confirmation (.1); work on confirmation brief
                  (.1); work with Mr. G. Garman on joint interest privilege issues
                  (.1); work with Mr. J. Hinderaker on Loob deposition (.1); draft
                  memo to debtors and committees on joint interest privilege
                  (.1); read memos from Mr. S. Strong and Ms. E. Karasik on the
                  PBGC compromise (.1); read memo from Ms. A. Jarvis and
                  read memo from Ms. Karasik on briefing (.1); read memo from
                  Mr. Strong on Liberty Bank and briefing (.1); draft memo to
                  committees on 2% holdback issue (.1); work with Ms. Freeman
                  on confirmation briefing (.2); re-read PBGC plan objection
                  (.1); read draft insert from Ms. C. Carlyon on direct lenders'
                  issue (.1); re-read Pecos and Haspinov objections (.1); begin to
                  read Mr. Smith's objection to confirmation (.1); read Mr.
                  Smith's 2019 statement to identify the objectors (.1);
                  conference call with committees and debtors on plan issues
                  (1.0); research on issues raised in Mr. Smith's brief (.5) and
                  draft memo to Ms. Freeman on strategy (.1)

12-13-2006        S. Brown                                                               2.1            672.00
                  Review various objections to the plan of reorganization

12-13-2006        M. Ruth                                                                4.8            960.00
                  Additional research re setoffs and fraudulent conveyances
                  (3.5); edit memo in support of reorganization plan re same
                  (1.3)

12-14-2006        S. Freeman                                                             7.3           3,723.00
                  Read Mr. R. Charles e-mails re confirmation briefing issues
                  and listen to his voice mail re committee/debtor call results
                  (.1); discuss strategy with Mr. R. Charles (.1); review C. Pajak,
                  E. Karasik, M. Ruth and G. Garman drafting re setoff issues,
                  and integrate into confirmation brief (1.5); call with E. Karasik,
                  R. Charles, F. Merola, re confirmation brief issues (.5); further
                  work on confirmation brief (1.2); call to G. Garman (message)
                  re joint brief (.1); direct M. Ruth re research issues (.1); read R.
                  Charles e-mails re S. Sinatra prepaid interest analysis and
                  attachments (.1); further work on drafting (2.0); participate in
                  debtors/committees call re briefing (.8); telephone to M. Ruth
                  re research status (.1); further revise draft brief and send to all
                  after comment (.6); e-mail to M. Ruth and R. Charles re adding
                  citations (.1); [use Rob's number for call times
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12-14-2006        R. Charles                                                         3.0           1,155.00
                  Read memo from Ms. C. Pajak on setoff (.1); edit proposed
                  insert into confirmation brief (.3); work on issue of timeliness
                  of objections (.2); read and propose revisions on insert on
                  compromises from Ms. C. Carlyon (.4); read and propose
                  revisions to debtors' draft opening brief (.8); work with Ms.
                  Freeman on offset and procedure arguments in the objection
                  (.3) and confer via phone with Ms. E. Karasik, Ms. C. Pajak
                  and Mr. F. Merola on same (.4); work with Ms. Freeman on
                  confirmation brief (1); work on insert on prepaid interest (.1);
                  read memo from Ms. Carlyon; read brief by Mr. G. Garman
                  and propose additional facts on prepaid interest and tracing
                  issues (.4); work on insert on prepaid interest and diverted
                  principal for brief (.4); participate in all committees and
                  debtors call on briefing (.4); read memos and approve language
                  resolving Liberty Bank objection (.1); read memo from Ms. E.
                  Monson on Loob deposition (.1)

12-14-2006        S. Brown                                                           0.7            224.00
                  Continue review re various objections to plan

12-15-2006        S. Freeman                                                         0.2            102.00
                  Skim e-mails re status of confirmation briefs and changes and
                  APA finalization

12-15-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. M. Ruth research results re subrogation

12-15-2006        R. Charles                                                         7.9           3,041.50
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                  Work on subrogation issue from Mr. M. Ruth (.2); work on
                  debtors' opening brief, with Ms. C. Carlyon's comments, and
                  comment on same to Ms. E. Monson (.4); read Mr. G.
                  Garman's draft and correspondence on the issue (.2); read UCC
                  brief for reply issues (.2); read Ms. Carlyon's comments on Mr.
                  Garman's draft (.1); work on Debtors' draft reply brief (.6);
                  work with Ms. Carlyon on language in the joint brief on
                  allocation issue (.1); continue work on Debtors' reply brief and
                  circulate comments (.5); work with Ms. E. Karasik on
                  allocation issue deferred until after confirmation hearing (.1);
                  prepare for and attend hearing on the December 15 calendar
                  (.8); work on Liberty Bank proposed settlement (.1); read
                  memo from Ms. C. Pajak and respond as to identification of
                  disputed issue (.2); read memos on ballot reports (.1); read
                  memo from Mr. M. Ruth on classification research (.1); write
                  insert into brief (.2) and cite check (Westlaw (.2); draft memo
                  to counsel; read memo from counsel on ballot report (.2);
                  participate via conference call in hearing on temporary
                  allowance of Binford claim (1.7); work on UCC brief on
                  confirmation hearing, include suggestions from Mr. M.
                  Levinson (.3) and revise citations (Westlaw) (.4); meeting via
                  call with Debtors and committees on confirmation brief, voting
                  and related issues (.9); work on language for the joint brief
                  from Ms. Pajak (.1); work on reply brief with input from the
                  joint call (1.1); review declaration from Mr. T. Allison (.3);
                  read memo from Ms. P. Hunt with joint brief (.2); finalize reply
                  brief and file (.1); read additional correspondence on reply
                  brief (.2)

12-15-2006        S. Brown                                                              1.2            384.00
                  Work on motion expedite and order re same (.9); review issues
                  re plan confirmation and objection thereto (.3)

12-15-2006        M. Ruth                                                               4.1            820.00
                  Research re plan classification of classes with substantially
                  similar claims; draft memo to Mr. R. Charles re same

12-16-2006        R. Charles                                                            0.7            269.50
                  Read memo from Mr. T. Allison and discuss balloting issues
                  with Mr. Allison and Loob deposition (.3); read memo from
                  Ms. Pajak on confirmation order (.1); work with Ms. S.
                  Freeman on confirmation hearing scheduling and strategy (.3)

12-17-2006        R. Charles                                                            0.9            346.50
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                  Note Del Bunch motion to estimate claim for voting and Rule
                  2004 exam of Del Bunch requested (.1); note additional
                  objections to plan confirmation (.1); prepare for hearing on
                  contested plan confirmation (.2); analyze ballot report and draft
                  memo to Ms. S. Freeman and Mr. C. Hainsworth on same (.4);
                  read Debtors' motion in limine re Milanowski objection and
                  declaration of Ms. E. Monson on thwarted discovery (.1)

12-18-2006        S. Freeman                                                          1.8            918.00
                  Read draft motion to determine allocation of bid and e-mail to
                  Mr. R. Charles re same (.1); read ballot tabulation final; read
                  Mr. R. Charles e-mail to D. Walker and D. Bunch re vote
                  issues (.1); read Mr. R. Charles e-mails and attachment re D.
                  Bunch deposition today (.1); read Mr. C. Hainsworth e-mail re
                  oversight committee (.1); read Sierra joinder in objections to
                  plan and e-mails from Mr. R. Charles and responses re Liberty
                  Bank objection (.1); telephone from Mr. R. Charles and Mr. T.
                  Burr re allocation of bid evidence for hearing (.3); review draft
                  FFCC and confirmation order and mark proposed changes send
                  to all and Mr. G. Berman (.7); read Mr. R. Charles proposed
                  changes to FFCC (.1); resend e-mails as remarked to all (.1);
                  read e-mails from Mr. C. Hainsworth and Mr. R. Charles re
                  oversight committee, and from S. Strong and E. Karasik re
                  Liberty objection (.1)

12-18-2006        S. Freeman                                                          4.4           2,244.00
                  Review draft disbursing agent agreement and mark suggested
                  changes (.4); e-mail to C. Pajak re circulation of draft and e-
                  mail to G. Berman re same; reply to responses (.2); telephone
                  from G. Berman re same (.1); review revised draft of
                  confirmation order, FFCC re plan, and mark additional changes
                  re disbursing agent agreements and send to call (.8); participate
                  in debtors-committee strategy meeting by phone (2.0);
                  telephone from G. Berman re disbursing agent agreements (.2);
                  mark changes to drafts and send to all (.4); e-mails to and from
                  Mr. R. Charles re DTDF payments under plan, and oversight
                  committee (.1); read joinders in objections (.1); e-mails from
                  and to A. Parlan re draft findings, conclusions, and
                  confirmation order (.1)

12-18-2006        S. Freeman                                                          0.2            102.00
                  Read D. Bareck supplemental declaration re claim and exhibits
                  (.1); read Mr. R. Charles e-mails re D. Bareck claim and ballot
                  analysis (.1)

12-18-2006        R. Charles                                                          6.1           2,348.50
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                  Read memo from Mr. J. Miller on ballot report (.1); work with
                  Ms. A. Jarvis on ballot question (.1); read proposed findings of
                  fact and conclusions of law from Ms. C. Pajak (.6); work with
                  Ms. Jarvis on balloting (.1); work with Mr. T. Burr and Ms. S.
                  Freeman on confirmation hearing preparation (.3); read JV
                  amended joinder in objection to plan confirmation (.1); read
                  memo from Mr. S. Strong on language requested by Standard
                  Property and respond (.2); draft memo to Mr. G. Garman on
                  oversight committee (.1); read memo from Mr. Burr on counsel
                  for Bunch (.1); read memo from Ms. Freeman on confirmation
                  order (.1); note Debtors' amended schedule of executory
                  contracts and unexpired leases (.1); read memo from Ms. E.
                  Karasik on Standard Property language (.1); work on
                  confirmation order draft from Ms. Pajak with Ms. Freeman's
                  suggestions (.3); draft memo to Mr. G. Berman on proposed
                  findings (.1); draft memo to Mr. Burr on excluded assets
                  schedule (.1); discuss issues with Mr. Berman (.4); read JV
                  second amended joinder to objection to plan confirmation (.1);
                  continue preparation for confirmation hearing (.6); work on
                  issues of oversight committee membership based upon claim
                  information developed by the Debtors (.1); read memo from
                  Ms. P. Hunt on the disbursing agent agreement (.1); read memo
                  from Mr. Burr and forward excerpt language for the
                  confirmation order on excluded assets (.2); meet with counsel
                  and committees on plan confirmation hearing and related topics
                  (2.1)

12-18-2006        S. Brown                                                               0.4            128.00
                  Review USAMC Committee brief in support of plan

12-19-2006        S. Freeman                                                             1.9            969.00
                  Read Mr. T. Burr e-mail re USA Realty issue, new filings by
                  Cangelosi, Mr. R. Charles e-mail re allocation (.1); travel to
                  Las Vegas, reviewing confirmation materials en route (1.8)

12-19-2006        S. Freeman                                                            10.3           5,253.00
                  Participate in plan confirmation hearing (4.0); meet with
                  committee member, trustee designate and Mr. R. Charles at
                  lunch and discuss hearing strategy (.8); participate in continued
                  hearing (3.5); participate in strategy meeting with professionals
                  for other committees and debtors (2.0)

12-19-2006        S. Freeman                                                             0.3            153.00
                  Read and note concerns on forms of FF&CC and order

12-19-2006        R. Charles                                                            12.5           4,812.50
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                  Read memo from Mr. A. Parlen on findings and confirmation
                  order (.1); read memo from Ms. P. Hunt on additional plan
                  documents (.1); read analysis of ballot reports by BMC (.2);
                  prepare for and attend confirmation hearing (4.1); discussions
                  at with Mr. C. Hainsworth, Ms. S. Freeman, Mr. T. Burr and
                  Mr. G. Berman on confirmation hearing issues and discuss
                  prior to continued hearing with Mr. D. Walker (1.0); attend
                  afternoon confirmation hearing and negotiations with parties on
                  the confirmation order (4.5); travel to meeting (.7); meet with
                  counsel for Committees and Debtors on alternatives requested
                  by Judge Riegle and confirmation hearing issues (2.0); draft
                  memo to committee and debtor counsel on plan modification
                  concerning Mr. G. Walch objection (.1)

12-20-2006        S. Freeman                                                         5.0           2,550.00
                  Read Mr. R. Charles proposed plan amendment (.1); read draft
                  revised FFCC and confirmation order (.1); discuss concerns
                  with Mr. R. Charles and review APA with him (.2); read Mr. R.
                  Charles e-mails to other professionals re same (.1); read L.
                  Schwartzer objection to claim allowance of Bunch for voting
                  (.1); read Mr. T. Burr e-mails re prepaid interest issue and Mr.
                  R. Charles e-mails to other professionals re additional changes
                  to order (.1); participate in continued confirmation hearing
                  (2.0); meet with debtor and committee professionals and work
                  on revisions to form of order (2.0); read Mr. R. Charles report
                  to committee re confirmation decision (.1); read e-mails to and
                  from Mr. G. Berman and respond re transition meetings (.1);
                  read Mr. T. Burr analysis re transition issues (.1)

12-20-2006        R. Charles                                                         7.1           2,733.50
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                  Work on proposed findings of fact and conclusions of law (.5);
                  work on potential issues in the proposed findings as to books
                  and records (.1); work on findings and confirmation order on
                  books and records and executory contracts (.5); work on order
                  as to Liberty Bank and carve out and propose language (.2);
                  read memo from Mr. G. Walch on plan modification (.1); read
                  memo from Mr. G. Gordon on Walch issue (.1); read memo
                  from Mr. S. Strong on carve out language (.1); work with Mr.
                  T. Burr on plan and confirmation hearing issues and records
                  (.1); prepare for continued confirmation hearing, discussions
                  with counsel and attend confirmation hearing (2.3); work on
                  transition issues with Ms. S. Freeman, Mr. T. Burr and then
                  also Mr. D. Walker (.8); meet with counsel for FTDF, Direct
                  Lenders and DTDF committees and work on confirmation
                  order and findings (1.9); read memo from Mr. T. Burr on
                  transition issues (.1) and read memo from Mr. G. Berman on
                  same (.1); read memo from Mr. D. Kirby for DACA on
                  proposed findings and order (.1); read memos from Mr. Burr,
                  Ms. Pajak and Mr. Merola on confirmation order (.1)

12-20-2006        S. Brown                                                                0.2                64.00
                  Follow up on confirmation status

12-20-2006        M. Schoenike                                                            0.2                36.00
                  Review Mr. Rob Charles report on plan confirmation hearing
                  (.1); review e-mail from Mr. R. Charles re plan confirmed (.1)

12-21-2006        S. Freeman                                                              4.0           2,040.00
                  Read Mr. G. Berman, Mr. T. Burr, Mr. R. Charles e-mails re
                  transition issues calls (.1); discuss transition issues and logistics
                  with Mr. R. Charles (.2); read S. Strong e-mail re revised A-4
                  ballot count and send response re filing amended Disbursing
                  Agent Agreements (.1); send e-mail to Mr. L. Beus re
                  consideration as contingency fee counsel (.1); read e-mails
                  from Ms. A. Jarvis re changes to form of order and note
                  concerns with proposed changes to discuss on call (.1); read e-
                  mails from Mr. G. Berman, Mr. J. Karasik, Ms. A. Jarvis re
                  effect of deferred ruling on D. Bunch vote (.1); read revised
                  forms of confirmation order FFCC and Disbursing Agent
                  Agreements (.6); participate in conference call with debtors and
                  committee professionals on amendments to confirmation order
                  and FFCC and disbursing agent agreements (2.4); send e-mail
                  to all re proposed changes to disbursing agent agreement (.1);
                  send e-mail re status of revised disbursing agent agreements
                  (.1); read J. Herman comments on proposed form of order (.1)
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12-21-2006        S. Freeman                                                         2.2           1,122.00
                  Read new version of confirmation order and FFCC (.1); e-mail
                  to and from P. Hunt, E. Karasik, M. Levinson re same (.1);
                  telephone from G. Berman and R. Charles re transition issues
                  (.4); e-mail to DTDF professionals re proposed dates (.1); skim
                  and forward revised DTDF agreement to G. Berman (.1); read
                  E. Karasik and R. Charles e-mails re employment of tax
                  professional (.1); read DTDF revised draft agreement and send
                  e-mail to G. Berman re same (.1); respond to G. Berman e-
                  mail, and read draft amended USACM agreement and send to
                  G. Berman with comments (.2); read e-mails from P. Hunt re
                  revised agreements for Securities and Realty and drafts, and
                  forward to G. Berman with comments (.2); read revised FFCC
                  with e-mails from C. Pajak and S. Strong re same (.1); read C.
                  Pajak re new stipulation on fee application timing and reasons
                  (.1); read G. Gordon e-mail on FFCC and G. Berman e-mail on
                  agreements (.1); respond to G. Berman and reply to his (.1);
                  send e-mail to professionals with changes to revised draft
                  disbursing agreements (.1); read R. Charles e-mail to C.
                  Hainsworth re claim objection issue and E. Karasik responses
                  re proposals for agreements (.1); e-mails from and to G.
                  Berman re same (.1); read e-mails from P. Hunt and E. Karasik
                  re revisions to agreements (.1)

12-21-2006        R. Charles                                                         5.0           1,925.00
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                  Read memo from Mr. M. Levinson on the confirmation order
                  (.1); read memos from Ms. S. Smith and Mr. T. Burr etc. on
                  transition meetings (.1); read memo from Mr. S. Strong on the
                  ballot report (.1); read memo from Ms. S. Freeman on the
                  liquidating trustee; telephone call from Mr. G. Berman on
                  planning selection of litigation counsel and other transition
                  issues (.7); work with Ms. S. Freeman on same and on
                  additional litigation counsel (.3); read memo from Mr. G.
                  Garman on ballot issue (.1); read memo from Ms. A. Jarvis on
                  additional plan documents (.1); read memos from counsel and
                  work on proposed findings of fact and conclusions of law and
                  confirmation order to prepare for meeting with committees,
                  debtors and compass (2.4); read memo from Mr. Ostrow for
                  Liberty Bank on order language (.1); draft memo to Ms. M.
                  Schoenike on litigation report; work with Mr. Burr and Ms.
                  Freeman on carve out of Colt loans (.1); work with Mr. Berman
                  and Ms. Freeman on meeting (.1); read memo from Mr. J.
                  Hermann on Compass issues vis a vis the direct lenders (.1);
                  work with Mr. Berman on meeting to select litigation counsel
                  (.1); read memo from Ms. C. Pajak with amended findings (.1);
                  read proposed amended confirmation order (.1); read memo
                  from Ms. P. Hunt and Ms. Ms. E. Karasik on disbursing agent
                  agreements (.1); work with Mr. Berman, Ms. Freeman and Mr.
                  M. Sorenson to plan transition issues for the trust (.7); read
                  correspondence on plan documents (.1); read correspondence
                  on resolution of direct lender issues (.1)

12-22-2006        S. Freeman                                                       1.6            816.00
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                  Read email re revised disbursing agent agreement and forward
                  to G. Berman with note (.1); respond to G. Berman email re
                  designated claims tax issue (.1); read C. Karasik revised FTDF
                  disbursing agent agreement with information and note
                  concerns; forward to G. Berman with proposed language (.1);
                  read P. Hunt revisions of OSACM Realty and Securities
                  agreements (.1); discuss with G. Berman (.1); email to P. Hunt
                  re revision to cover notice and to forms of agreement (.1); read
                  emails from R. Charles re supplemental ballot reports, draft fee
                  stipulation (.1); read emails from R. Charles to revisions to
                  FFC and order and responses from C. Pajak (.1); read A. Jarvis
                  email re FTDF agent agreement (.1); review and revise draft
                  letter to committee re status and pending matters (.1); read C.
                  Karasik revision to draft FTDF agent agreement and email my
                  approval (.1); read and respond to R. Charles email re letter to
                  committee revision (.1); read email from G. Garman re
                  Compass communication about confirmation order issue, and
                  telephone to R. Charles re same and read his response (.1); read
                  follow-up emails from R. Charles, G. Garman, C. Pajak (.1);
                  read R. Charles report on status of contacts with Compass (.1);
                  read P. Hunt email re disbursing agent agreement and notice as
                  filed, with attachments (.1)

12-22-2006        R. Charles                                                            1.1            423.50
                  Read memo from Ms. P. Hunt on disbursing agent agreements
                  (.1); work on revised findings of fact and conclusions of law
                  (.2); read correspondence and work on revised form of
                  confirmation order (.2); read memo from Ms. E. Karasik on
                  confirmation order; read memo from Ms. Karasik on disbursing
                  agent agreements (.1); read memo from Ms. A. Jarvis on same
                  as to FTDF and other debtors (.1); read memos from Ms. S.
                  Freeman and Ms. Karasik on disbursing agent agreements; read
                  memo from Ms. C. Pajak and approve revisions to the
                  proposed confirmation order (.2); read memo from Mr. D.
                  Kirby on objection to findings and confirmation order (.1); read
                  filing by Mr. A. Smith on notice of intent to object to findings
                  and confirmation order (.1)

12-22-2006        M. Schoenike                                                          1.2            216.00
                  Obtain, review dockets on adversary proceedings, prepare
                  litigation report on status of adversary matters

12-23-2006        R. Charles                                                            0.2                77.00
                  Draft memo to Ms. A. Jarvis on Reale as a direct lender (.1);
                  read memo from Mr. R. Ventura on confirmation order and
                  findings (.1)
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12-26-2006        S. Freeman                                                          0.6            306.00
                  Read R. Ventura comments on draft confirmation order (.1);
                  read and respond to N. Peterman email re disbursing agent
                  agreements (.1); forward agreements as filed to G. Berman and
                  read response (.1); check release provisions of plan and send
                  email to R. Charles re same and Reale (.1); read C. Pajak
                  revised draft of confirmation order with notes (.1); read A.
                  Smith notice of intent to object to confirmation order and D.
                  Kirby email re concerns on order (.1)

12-26-2006        R. Charles                                                          0.1                38.50
                  Read memo from Ms. E. Karasik on confirmation order and
                  findings (.1)

12-27-2006        S. Freeman                                                          2.6           1,326.00
                  Read C. Karasik email re issues with confirmation order, and
                  A. Jarvis response (.1); read R. Charles, M. Levinson and J.
                  Hermann emails re issues between DTDF and USACM
                  reserved (.1); read emails from C. Pajak with final order
                  language and addressing objections (.1); discuss with R.
                  Charles and read R. Charles email re tax return responsibility
                  language and effective date issue (.1); read agenda for
                  committee meeting (.1); read R. Charles email re confirmation
                  order language, and responses from FTDF defendant and DL
                  committee counsel (.1); read A. Jarvis response and send her
                  reply (.1); send email chain to G. Berman, and telephone from
                  G. Berman re same (.2); read S. Smith email re limited
                  Mesirow responsibility and forward to G. Berman, read his
                  response (.1); read C. Pajak email re effective date issue and A.
                  Jarvis email re same (.1); read G. Gordon email re tax return
                  issue and S. Smith response (.1); participate in conference call
                  with professionals for debtors and committees re confirmation
                  order language concerns (.8); telephone to R. Charles re
                  potential defendants for release issue and check for draft
                  complaint (.2); read A. Jarvis email re order language re same
                  and respond listing potential defendants (1); check OAC filings
                  for section re tax return authority of liquidating trustee (.3)

12-27-2006        R. Charles                                                          7.8           3,003.00
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                  Work on memo to Mr. G. Berman on transition issues and
                  prepare for meeting (1.0); meet with Mr. G. Berman, Mr. M.
                  Sorensen, Mr. T. Burr and Ms. S. Freeman on liquidating trust
                  and transition issues (3.2); then continue meeting with Mr. C.
                  Harvick and Mr. M. Tucker and Mr. M. Levinson for
                  Diversified committee (1.3); read memo from Ms. C. Pajak
                  with revisions to confirmation order and proposed findings (.1);
                  draft memo to Debtors and Committees on language on
                  effective date and Reale (.1); read memo from Ms. A. Jarvis on
                  plan language (.1); read memo from Ms. E. Karasik on same
                  (.1); read memo from Ms. C. Pajak on meeting and confirm
                  (.1); read memo from Ms. Pajak on Standard Property language
                  (.1); read memo from Mr. M. Tucker on litigation counsel (.1);
                  read memo from Ms. Pajak on effective date issue (.1); read
                  memo from Ms. S. Smith on tax return issue (.1); read memo
                  from Ms. A. Jarvis on language for Standard Property (.1); read
                  memo from Ms. C. Pajak on same; read memo from Ms. Jarvis
                  on effective date and Reale issues (.1); participate in
                  Committees' and Debtors' professionals call on confirmation
                  order issues (.8); telephone to Ms. Pajak on effective date issue
                  (.1); work with Ms. S. Freeman on plan language after the call
                  (.1); read memo from Ms. Freeman on plan language (.1); read
                  memo from Ms. Jarvis on plan carve out language (.1); read
                  memo from Ms. Freeman on special litigation counsel
                  candidates; read memo from Ms. Freeman on carve out names
                  for release from plan (.1); read memo from Ms. S. Smith on
                  plan and tax reporting (.1); read memo from Mr. G. Gordon on
                  tax reporting (.1); work on memo for the transition to the
                  trustee (.1)

12-28-2006        S. Freeman                                                          0.1                51.00
                  E-mail response to Ms. A. Jarvis re changes to confirmation
                  order

12-28-2006        R. Charles                                                          0.6            231.00
                  Draft memo to Mr. G. Berman on post-confirmation report (.2);
                  work with Mr. Berman on letter to special litigation counsel
                  (.1); read memo from Ms. S. Freeman on same (.1); read memo
                  from Ms. A. Jarvis on Compass approval of language (.1); read
                  memo from Ms. E. Karasik on approval of language (.1); read
                  memo from Ms. S. Freeman and read memo from Mr. M.
                  Levinson on Reale (.1); work on response to inquiry from
                  special litigation counsel (.2)

12-29-2006        S. Freeman                                                          0.1                51.00
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                  Read S. Smith and G. Gordon e-mails re proposed notice to
                  debit lenders under confirmation order

12-29-2006        S. Freeman                                                           0.3            153.00
                  Read revised draft of confirmation order and e-mail from Ms.
                  A. Jarvis re same, and respond with comments (.2); read C.
                  Pajak, A. Jarvis, G. Gordon replies and further comments, and
                  respond with final correction (.1)

12-29-2006        S. Freeman                                                           0.1                51.00
                  Read e-mails from C. Pajak, C. Carlyon and A. Jarvis re
                  confirmation order problems and transcript, and re lodging
                  confirmation order

12-29-2006        R. Charles                                                           0.7            269.50
                  Read memo from Ms. C. Pajak on status of confirmation order
                  (.1); read memo from Ms. A. Jarvis on language requested by
                  Standard (.1); read memo from Mr. Pajak on Compass (.1);
                  read correspondence on transcripts (.1); read memo from Ms.
                  C. Carlyon on procedure (.1); read memo from Ms. E. Karasik
                  on Standard Property and pending issues (.1); read memo from
                  Ms. A. Jarvis on same (.1); read memos from Ms. Karasik, Ms.
                  Pajak and Ms. Jarvis on the confirmation order (.1); work with
                  Ms. Karasik on circulating the order for the 24 hour objection
                  period (.1)

12-30-2006        R. Charles                                                           0.5            192.50
                  Read memo from Mr. L. Schwartzer and read proposed
                  findings of fact and conclusions of law (.1); read memo from
                  Mr. Schwartzer's assistant and read proposed confirmation
                  order (.4); draft memo to Mr. T. Burr on a solution to the
                  computer issue (.1)

01-01-2007        R. Charles                                                           0.5            192.50
                  Draft memo to counsel approving the confirmation order and
                  the findings of fact and conclusions of law (.1); work with Mr.
                  G. Berman on access to information and computers issue for
                  discussion with Compass (.1); read memo from Mr. D. Kirby
                  on objection to findings of fact and conclusions of law (.1);
                  read memo from Mr. R. Ventura on objection (.1); read memos
                  from Mr. G. Gordon objecting to confirmation order and
                  findings (.1); read memo from Mr. S. Strong on amended
                  proposed findings (.1)

01-02-2007        R. Charles                                                           0.9            346.50
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                  Read memo from Mr. A. Brumby approving confirmation
                  order and findings (.1); read memo from Mr. R. Ventura
                  disapproving; approve findings for the UCC (.1); read memo
                  from Ms. S. Smith, analyze and draft memo to Ms. Smith,
                  Debtors' and Direct Lenders' counsel on servicer advances
                  holdbacks (.3); work with Mr. G. Berman on post-confirmation
                  report form and inquiry to UST (.1); read memo from Ms.
                  Smith and read memo from Mr. S. Strong on the servicer
                  advance issue (.1); read memo from Mr. A. Smith on objection
                  to findings and order (.1); read memo from Ms. C. Pajak on
                  transcript (.1); read memo from Ms. J. Chubb on objections to
                  findings and confirmation order (.1); read memo from Ms. S.
                  Smith on noticing expense (.1)

01-03-2007        R. Charles                                                          3.4           1,309.00
                  Read and respond to memo from Mr. A. Diamond for
                  background information for counsel interviewing as special
                  litigation counsel (.1); prepare for and attend hearing on the
                  proposed confirmation order and findings of fact and
                  conclusions of law (2.0); after the recess, attend the continued
                  hearing on the confirmation order and proposed findings (1.0);
                  work on confirmation order issues with Mr. G. Garman (.1);
                  read memo from Mr. S. Strong and review revised
                  confirmation order (.1); read memo from Ms. C. Pajak and
                  review additional revisions to the confirmation order (.1)

01-04-2007        S. Freeman                                                          0.1                51.00
                  Read revised confirmation order and e-mails from S. Strong
                  and C. Pajak re same and C. Gordon further revision

01-04-2007        R. Charles                                                          0.4            154.00
                  Read memo from Mr. G. Gordon on confirmation order (.1);
                  read memo from Mr. G. Davis for Compass on confirmation
                  order (.1); review findings re decision that the Del Bunch claim
                  is not estimated for voting purposes (.1); work on inquiry from
                  candidate for special litigation counsel on SOFA and
                  amendments (.1)

01-05-2007        R. Charles                                                          1.7            654.50
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                  Read memo from Ms. C. Pajak on transcript (.1); read memo
                  from Mr. S. Strong on confirmation order proposal (.1); work
                  with Mr. G. Berman and Ms. S. Freeman on Thursday
                  discussions on loans, plan effective date, document review and
                  retention, employment of special litigation counsel, transition
                  and litigation (1.3); review and approve para. 82 of
                  confirmation order (.1); read memo from Ms. A. Jarvis on
                  resolving disputes over the confirmation order (.1); read
                  memos from Ms. E. Karasik, Ms. A. Jarvis, Mr. G. Gordon and
                  Compass counsel on the revised confirmation order (.1)

01-06-2007        R. Charles                                                          0.1                38.50
                  Read memo from Mr. T. Burr on transition meeting with
                  Compass (.1); read memo from Mr. G. Berman on same

01-08-2007        R. Charles                                                          0.4            154.00
                  Draft memo to Mr. L. Beus with additional information for the
                  interview for special litigation counsel (.1); draft memo to Ms.
                  J. Chubb on proposed confirmation order and findings (.1);
                  work with Mr. G. Berman on meeting with Debtors on
                  transition issues (.2)

01-09-2007        R. Charles                                                          1.7            654.50
                  Work on outline of deadlines under the confirmation order and
                  plan upon entry of confirmation order (.8); read memo from
                  Mr. T. Burr on computers (.1); read memo from Mr. G.
                  Berman on same and forward Mr. M. Yoder's contact
                  information to Mr. Berman (.1); telephone call from Mr. G.
                  Berman on special litigation counsel and other transition issues
                  (.4); read memo from Mr. Berman on IT transition issue (.1);
                  telephone call from Mr. R. Williams as special litigation
                  counsel (.3); work on plan issues with Mr. Berman (.1)

01-09-2007        M. Schoenike                                                        0.6            108.00
                  Review Findings of Fact and Conclusions of Law in support of
                  the Order confirming the Debtors' Third Amended Joint
                  Chapter 11 Plan (.2); review confirmation order and identify
                  deadlines set thereby (.4)

01-10-2007        R. Charles                                                          0.1                38.50
                  Telephone call from Mr. G. Berman on transition issues

01-10-2007        M. Schoenike                                                        0.4                72.00
                  Review Mr. R. Charles memo on deadlines, date (.2); post
                  notices re confirmation order to website (.2)
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01-12-2007        R. Charles                                                         0.5            192.50
                  Work with Mr. G. Berman and Ms. S. Freeman on planning
                  meeting with special litigation counsel (.1); work with Mr.
                  Berman on all committees and debtors meeting (.1); work with
                  Mr. Berman on IT transition issues (.2); draft memo to Mr. M.
                  Olson on USA Capital website (.1); read memo from Mr.
                  Olson on administrator of website (.1); read memo from Mr.
                  Berman on meeting (.1)

01-15-2007        R. Charles                                                         0.1                38.50
                  Read memo from Mr. Geoff Berman and follow up with call to
                  Mr. G. Davis on transition issues (.1); read memo from Mr. T.
                  Burr and read memo from Berman on transition planning (.1)

01-16-2007        R. Charles                                                         0.3            115.50
                  Work with Mr. G. Berman on transition issues after the call
                  with all debtors and committees (.2); read memos from Mr.
                  Berman and Mr. A. Diamond on meeting on transition, inquiry
                  from SEC, documents and related issues (.2)

01-17-2007        R. Charles                                                         3.4           1,309.00
                  Read memo from Ms. J. McPherson on inquiry from the BAP
                  (.1) and respond (.2); work with committee counsel via emails
                  on the appeal issues (.4); work with Ms. E. Karasik and Mr. F.
                  Merola on appeal, stay pending appeal and related issues (.3);
                  begin draft of response to motion for stay pending appeal (.6);
                  read memo from Mr. S. Sherman on assignment of loan
                  interests (.1); read and respond to inquiry on expedited hearing
                  on stay relief motion as to Colt loans (.2); read responses of
                  counsel on Colt loans (.1); work with Diamond McCarthy on
                  Beadle firm (.1); return call to Mr. G. Garman, Ms. Karasik
                  and Mr. M. Levinson and then Ms. J. McPherson on appeal and
                  stay pending appeal (.6) and then work with Mr. Garman and
                  Mr. Levinson with an overview of the commingled account
                  issue (.3); read letter from Ms. McPherson to the BAP on the
                  appeal (.1); work with counsel for Committees and Debtors on
                  appeal strategy (.1); review BAP docket via Pacer re order for
                  stay on appeal (.1); participate in call on the appeal and stay
                  pending appeal (.8)

01-18-2007        R. Charles                                                         3.4           1,309.00
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                  Read stay motion (.1); read memo from and draft memo to Mr.
                  D. Walker on BAP appeal and stay pending appeal after
                  reviewing the BAP docket via Pacer (.2); telephone call from
                  Mr. M. Levinson on appeal, inquiry on interests in projects by
                  a buyer, and motion for stay relief on Colt servicing (.3); read
                  memos on BAP and read the stay order (.2); draft memo to
                  counsel on "opt out" (.1); work on Ms. C. Pajak's draft of a
                  motion to quash the temporary stay (.2); work with Mr. G.
                  Berman on appeal and stay (.3); read debtors' notice of opt out
                  (.1); read memo from Ms. J. McPherson on BAP filing (.1);
                  read memo from Mr. M. Levinson on motion to quash (.1);
                  read memo from Ms. S. Freeman and read memo from Mr. A.
                  Parlen on motion to quash (.1); continue work on response to
                  stay order and circulate to counsel (.8); call with Committees
                  and Debtors' professionals on stay pending appeal and motion
                  (.8)

01-19-2007        R. Charles                                                          1.4            539.00
                  Read memo from Ms. L. Dorsey (.1); read memo from Debtors'
                  counsel on judge assignment (.1) and read memo from Ms. C.
                  Carlyon in response (.1); work with Mr. G. Berman on
                  meetings in Las Vegas on transition (.1); telephone call from
                  Mr. G. Berman on follow up to Mr. Goe's call, meeting on site,
                  and issue of computer equipment and other transition issues
                  (.3); work on computer issue (.2); read memo from Mr. L.
                  Schwartzer on district court hearing and respond (.1); work on
                  memo on computer equipment issue raised by Mr. Berman (.2);
                  work on hearing before the district court, reading memos from
                  counsel and discussing strategy with Ms. S. Freeman and Mr.
                  F. Merola (.3); read and respond to inquiry from Mr. R. Goe
                  (.1)

01-20-2007        R. Charles                                                          1.3            500.50
                  Read response on motion to quash stay (.1); read memo from
                  Ms. P. Hunt on reply on motion to quash stay (.1); read memos
                  from Mr. J. Herman on issue for reply memo (.1); work on plan
                  issue raised by Ms. J. Chubb (.2); work with Ms. E. Karasik on
                  strategy on the motion to quash stay (.1); read memo from Mr.
                  G. Garman on delay in lender distributions (.1); read memo
                  from Ms. Karasik on delay in the plan's effective date (.1);
                  work with Mr. Herman, Ms. Carlyon and Ms. Karasik on
                  planning oral argument (.3); work on joinder to motion to
                  quash (.1); prepare pleading and e-file (.4) (NO CHARGE);
                  review appeal docket for notice of hearing (.1)

01-21-2007        R. Charles                                                          1.0            385.00
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                  Note FTDF joinder in motion to quash temporary stay pending
                  appeal (.1); read memo from Mr. F. Merola on strategy (.1);
                  read memo from Mr. G. Gordon on strategy (.1); read memo
                  from Ms. S. Smith; read memo from Ms. C. Pajak on stay and
                  impact on distributions (.1); read memo from Ms. A. Jarvis on
                  stay and impact on Compass and potential argument for a back
                  up bid (.1); read memo from Ms. P. Hunt and work on reply on
                  motion to quash interim stay (.4)

01-22-2007        R. Charles                                                             2.4            924.00
                  Read memo from Ms. A. Hosey with reply on motion to quash
                  (.1); read memos from Ms. C. Carlyon on briefing (.1);
                  participate in meeting by call on preparation for argument on
                  motion to quash stay on appeal (1.0); return call to Mr. M.
                  Levinson; work with Mr. Vigil on the district court's hearing
                  and order (.1); work with Ms. S. Freeman on Wednesday
                  hearing (.1); read memo from Mr. G. Berman on stay and
                  publicity (.1); read notice of hearing (.1); work on local district
                  rule on disclosure (.1); read committee joinders (.1); telephone
                  call from Mr. Berman on transition and on demand for
                  mediation by Judd (.2); work with Mr. T. Finley on critical
                  litigation issues (.2); read notice of hearing on emergency
                  motion for stay pending appeal (.1); read memo from Mr. J.
                  Herman on joint brief (.1); read memo from Ms. E. Karasik on
                  same (.1); work on joinder in opposition (.1); work on drafting
                  the response to the motion for stay pending appeal (.2)

01-23-2007        R. Charles                                                             1.3            500.50
                  Read Debtors' opposition to stay pending appeal, Allison and
                  Kvarda declarations (.3); telephone call from Mr. G. Berman
                  on transition issues (.1); draft memo to Mr. T. Finley on facts
                  alleged in declarations (.1); draft memo to Mr. T. Burr on
                  allocation of additional sale proceeds dispute (.1); read FTDF
                  joinder (.1); read memos on consolidation of appeals (.1); read
                  memo from Ms. C. Carlyon and read appellants' notice not to
                  seek a stay pending appeal (.1); read memo from Ms. A. Jarvis
                  on same (.1); read memo from Ms. Jarvis on licensing (.1);
                  read memo from Mr. E. Madden on meeting (.1); draft memo
                  to Ms. A. Jarvis on RQN meetings (.2); read memo from Ms.
                  Karasik and from Ms. Jarvis on consolidating appeals (.1);
                  work with Ms. Jarvis and our transition team on meeting with
                  RQN (.1); work with Mr. Diamond, Mr. Berman, Ms. Freeman
                  and Ms. Jarvis on meeting (.1)

01-23-2007        M. Schoenike                                                           0.4                72.00
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                  Review e-mail re stay pending appeal, calendar hearing dates
                  (.2); serve joinder in response to motion for stay pending
                  appeal (.2)

01-24-2007        R. Charles                                                           1.6            616.00
                  Work with Mr. E. Madden, Mr. A. Diamond and Mr. G.
                  Berman on planning the transition meeting (.1); work with Mr.
                  Berman on same (.1); meet with Mr. Berman, Ms. Freeman and
                  Mr. M. Yoder of AIS on information technology transition
                  issues (.2); work with Mr. G. Garman on accounting issues
                  requested by Ms. S. Smith (.1); meet with Mr. Berman, Mr. A.
                  Diamond, Mr. E. Madden, and Ms. Freeman on meeting with
                  Debtors and Diamond McCarthy (1.0); work on letter from Mr.
                  Berman to Compass on transition issues (.2)

01-25-2007        R. Charles                                                           1.0            385.00
                  Read memo from Mr. A. Diamond on transition meeting (.1);
                  note entry of district court order quashing stay (.1); read memo
                  from Mr. G. Berman on same (.1); work with Mr. E. Madden
                  on meeting agenda (.1); read letter from Mr. G. Berman to Mr.
                  D. Blatt on transition (.1); work with Mr. Berman on transition
                  issues (.2); work on Local Rule 7.1 disclosure on appeal (.1);
                  read notice of district court record on appeal (.1); read memo
                  from Ms. S. Smith and read memo from Mr. Berman on
                  employees (.1); note order of dismissal of the Standard
                  Property appeal in the BAP (.1)

01-26-2007        R. Charles                                                           0.7            269.50
                  Work with Mr. E. Madden on document request and draft
                  memo to Debtors' counsel on same (.2); draft memo to Ms. A.
                  Jarvis on meeting agenda after input from Mr. G. Berman (.2);
                  read revisions of document retention letter among Mr. A.
                  Diamond and Mr. Berman (.1); work with Ms. M. Schoenike
                  on supplement to disclosure in district court appeal (.1); read
                  memo from Mr. Berman on inquiry from Suncal (.1); telephone
                  call from Mr. Berman on transition issues (.1); read Bunch
                  notice of appeal on temporarily allowance of claim (.1)

01-27-2007        R. Charles                                                           0.1                38.50
                  Read memo from Ms. A. Jarvis on appeal strategy (.1); read
                  memo from Ms. E. Karasik on same (.1)

01-29-2007        R. Charles                                                           0.4            154.00
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                  Read memo from Mr. G. Berman on contact with potential
                  employees (.1); note LPG statement of issues on appeal and
                  designation of record (.1); note DACA statement of issues and
                  designation of record on appeal (.1); work on transition issues
                  with Mr. Berman, and in particular, expenses of administration
                  (.1); read documents on appeal by Bunch (.1)

01-30-2007        R. Charles                                                         0.4            154.00
                  Read draft Emergency Motion to Dismiss Appeal of USAIP
                  etc. (.2); read draft motion concerning plan implementation
                  (.1); work with Mr. D. Manch on PBGC issue (.1); read memo
                  from Mr. M. Tucker on prepetition account issue (.1)

01-31-2007        R. Charles                                                         1.7            654.50
                  Work with Mr. E. Madden on additional documents to be
                  scanned by the plan trustee's special counsel (.1); work with
                  Mr. C. Harvick on bid as to documents (.1); read memos from
                  Ms. E. Karasik and Ms. P. Hunt on motion to dismiss appeal
                  (.1); work with Ms. S. Freeman on plan transition issues with
                  the report on the hearing and follow up items (.3); work with
                  Ms. Schoenike on deadlines under the plan and confirmation
                  order and draft memo to Mr. G. Berman on same (.2); draft
                  memo to Ms. Hunt in response to hers on motion to dismiss
                  appeal (.1); read motion by Debtors to expedite motion to
                  dismiss (.1); work on Debtors' draft motion (.2); work on FTDF
                  draft motion and draft memo to FTDF counsel with comments
                  (.1); read memo from Mr. G. Gordon on appeal (.1); read
                  memo from Ms. Karasik on revised brief (.1); work on
                  licensing issue raised by Mr. M. Olson and Mr. G. Berman (.1)

01-31-2007        R. Blakley                                                         0.2                46.00
                  Review email from Mr. R. Charles and reply re plan issue

02-01-2007        S. Freeman                                                         0.6            306.00
                  Read e-mails from P. Hunt, E. Karasik, R. Charles, A. Jarvis re
                  motion to dismiss appeal issues and then drafts of motion (.5);
                  send e-mail with my comments and suggestions re same (.1)

02-01-2007        S. Freeman                                                         1.0            510.00
                  Read revised draft motion to dismiss appeal, and mark with
                  suggested changes (.7); read E. Karasik revised draft statement
                  of facts for motion to dismiss (.1); read responses to my
                  comments on draft motion and reply to P. Hunt re issues (.2)

02-01-2007        S. Freeman                                                         0.2            102.00
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                  Read revised draft of motion to dismiss appeal and e-mails
                  from C. Carlyon, E. Karasik, P. Hunt re same

02-01-2007        S. Freeman                                                            0.9            459.00
                  Read redraft of motion to dismiss appeal, mark edits, redline
                  and send back to P. Hunt (.8); read e-mails from A. Diamond
                  and G. Berman re agreement on documents and read e-mail
                  from A. Jarvis re appeal extension (.1)

02-01-2007        R. Charles                                                            1.8            693.00
                  Read memos from Mr. S. Sherman on revised draft of motion
                  to dismiss Hantges and Milanowski appeal, read memo from
                  Ms. A. Jarvis, read memo from Ms. E. Karasik on strategy (.1);
                  read memo from Mr. G. Berman on bid and licensing (.1);
                  prepare for and participate in meeting with Debtors and
                  committees on sale, appeals, motion to dismiss appeals,
                  Standard Property settlement and additional issues (.9); work
                  with Mr. Berman and Ms. Freeman on transition issues (.3);
                  work with Ms. Freeman on motion to dismiss insiders' appeal
                  (.1); work with Mr. M. Blakley on escrow agent licensing for
                  the trust (.1); read memo from Mr. Blakley and draft letter to
                  Mr. G. Berman on licensing (.2); read memo from Ms. A.
                  Jarvis on request by LPG for extension on brief (.1)

02-01-2007        R. Blakley                                                            4.6           1,058.00
                  Review Nevada statutes, administrative code, and case law as
                  to the licensing requirements for providing loan servicing
                  pursuant to an assignment of servicing rights and
                  responsibilities in a bankruptcy (2.1); conferences with
                  officials at the Nevada Mortgage Lending Division re
                  requirements to be a Loan Servicer in Nevada (.6); complete
                  draft of memorandum with recommendations (1.2); review
                  requirements for licensure as an escrow agency and compile
                  and review all forms necessary for such license (.7)

02-02-2007        R. Charles                                                            2.1            808.50
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                  Read memo from Ms. E. Karasik on motion to dismiss (.1);
                  telephone call from Mr. M. Sorensen and Mr. G. Berman on
                  the computer equipment transition (.1); read memo from Mr. C.
                  Harvick on document project (.1); read memo from Mr. J.
                  Herman on transition (.1); read memo from Ms. E. Karasik on
                  transition of appeal responsibility (.1); work with Ms. S.
                  Freeman on sect. 1142 issues (.1) and conference call with Ms.
                  Karasik on same (.1); work with Ms. B. Higgins on same (.1)
                  and discuss issues with Mr. J. Hermann as to sect. 1142 and
                  HMA Sales (.2); prepare for and participate in call with all
                  committees and debtors' professionals on plan and sale
                  implementation, and related issues (1.2); work with Mr.
                  Berman on transition issues (.2)

02-03-2007        R. Charles                                                            0.1                38.50
                  Work on appeal motion for joint administration

02-04-2007        R. Charles                                                            0.1                38.50
                  Read memos from Ms. A. Jarvis and Mr. F. Merola on Ms.
                  Cangelosi's effort to interfere with the sale and plan (.1)

02-05-2007        S. Freeman                                                            1.3            663.00
                  Review designation of record and FTDF counter-description
                  for additional items to include (.9); locate M. Tucker
                  declaration and send e-mail to other committee and debtor
                  professionals re adding (.2); read e-mails from E. Karasik re
                  reply on designation of record, debtor e-mail re hearing on
                  motion to dismiss appeal (.1); telephone to R. Charles re
                  handling argument of motion to dismiss appeal (.1)

02-05-2007        R. Charles                                                            0.3            115.50
                  Work with Ms. A. Jarvis and Ms. E. Monson and Ms. S.
                  Freeman on designation of record (.1); read memo from Ms. E.
                  Karasik on record on appeal (.1); read memo from Mr. A.
                  Parlen with additional items for record on appeal (.1); work
                  with Ms. Freeman on Tucker declaration for record on appeal
                  (.1); work on and file joinder in emergency motion to dismiss
                  appeal (.1)

02-05-2007        R. Blakley                                                            0.4                92.00
                  Review letter to client with memorandum attached

02-05-2007        M. Schoenike                                                          1.0            180.00
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                  Review and obtain district court appeal docket (.2); review
                  emergency motion to dismiss appeal (.1); draft joinder in
                  emergency motion to dismiss appeal and e-mail to Mr. Rob
                  Charles re same (.6); review order denying order shortening
                  time re Reale's motion to dismiss and motion for partial
                  summary judgment (.1)

02-06-2007        R. Charles                                                          0.7            269.50
                  Read comments from Ms. A. Jarvis and Ms. E. Monson on
                  appeal and record (.1); call from Mr. G. Berman on HMA Sales
                  and pending trust issues (.2); work with Ms. A. Loraditch, Ms.
                  S. Freeman and Mr. B. Olson on licensing issue (.2); work with
                  Messrs. Berman and Freeman on transition meeting and related
                  issues (.2); work with Mr. Berman and Ms. Freeman via email
                  on licensing issue (.1)

02-07-2007        S. Freeman                                                          0.1                51.00
                  Review draft IP appeal supplemented designation of record and
                  A. Jarvis e-mail and respond re approval

02-07-2007        R. Charles                                                          2.6           1,001.00
                  Attend hearing in the district court on the motion to dismiss the
                  USAIP etc. appeal and discuss with counsel(1.0); discuss
                  accounting issues and investor reports with Ms. S. Smith (.2);
                  meet with Ms. A. Jarvis, Ms. C. Carlyon, Ms. E. Monson, Ms.
                  J. McPherson, Ms. S. Smith on plan appeal strategy, sale and
                  lease transition issues (.7); work with Mr. G. Berman on
                  landlord issues (.1); read memos from Mr. A. Diamond and
                  Mr. M. Sorensen on server issue (.1); work with Mr. G.
                  Berman on meetings with Diversified and transition issues (.2);
                  note Bunch designation of record on appeal (.1); read Debtors'
                  updated transition list and schedule (.2); read landlord's
                  demand to Debtors (.1)

02-08-2007        R. Charles                                                          1.6            616.00
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                  Work with Mr. E. Madden and revise draft of agreement with
                  Compass after reading memo from Ms. S. Freeman (.1); read
                  memo from Mr. A. Parlen on designation of record (.1); work
                  with Mr. T. Burr on space issue (.2); discuss with Mr. G.
                  Berman (.1); work with Mr. Berman, and read memos from
                  Mr. C. Harvick, Mr. M. Levinson on Compass transition issues
                  (.1); read memos on reply to motion to strike appeal (.1); note
                  and circulate Daca appeal docketed (.1); read memo from Mr.
                  A. Parlen and briefly review and revise motion to dismiss
                  appeal (.2); read memos and read draft motion to expedite Daca
                  appeal briefing and comment on same (.2); read memos on
                  LPG appeal (.1); read motion to extend briefing schedule in
                  LPG appeal and declaration (.1); work with Mr. Berman on
                  Compass transition agreement (.1)

02-09-2007        S. Freeman                                                           0.1                51.00
                  E-mail and notice re DACA appeal and e-mails from C.
                  Carlyon, E. Karasik, P. Hunt re appeals

02-09-2007        R. Charles                                                           1.7            654.50
                  Read reply memo in support of emergency motion to dismiss
                  USAIP appeal (.2); prepare for and attend oral argument on
                  emergency motion to dismiss USAIP appeal (1.3) and follow
                  up after hearing in discussions with committee counsel (.2)

02-10-2007        R. Charles                                                           0.2                77.00
                  Note assignment of the Daca district court appeal (.1); read
                  minute entry in USAIP appeal (.1); note briefing schedule on
                  motions to dismiss Daca and LPG appeals (.1)

02-11-2007        R. Charles                                                           0.3            115.50
                  Call to Mr. G. Berman on licensing of the USACM Liquidating
                  Trust (.2); call to Mr. M. Levinson on licensing of post-
                  confirmation entities (.2)

02-12-2007        R. Charles                                                           1.0            385.00
                  Read Debtors' emergency motion to dismiss DACA appeal
                  (.1); read Debtors' emergency motion to dismiss LPG appeal
                  (.1); Nevada mortgage lending statutes for letter to Mr. S. Bice
                  (.2); work on letter to Mr. S. Bice on Nevada Mortgage
                  Department licensing (.6); draft memo to Ms. A. Jarvis and Ms.
                  S. Smith on AIS invoices for transition work (.1)

02-13-2007        R. Charles                                                           1.1            423.50
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                  Read memo from Mr. G. Berman and finalize letter to Mr. S.
                  Bice (.2); read memo from Mr. E. Madden to debtors' counsel
                  on transition issues (.1); work with Ms. S. Freeman on
                  aftermath of Compass meeting and implementation stipulation
                  and order (.2); note filing of excerpts of record in emergency
                  motions to dismiss (.1); note joinder by DTDF committee in
                  emergency motion to dismiss (.1); note responses to motion to
                  dismiss Daca and LPG appeals (.1); read memos from Mr. S.
                  Strong and Mr. M. Levinson on subservicing agreement (.1);
                  read memo from Ms. A. Jarvis on motion for plan
                  implementation (.1); work with Ms. Freeman on
                  implementation motion (.1); read memo from Mr. Levinson on
                  post-confirmation servicing issues (.1); work with Mr. D.
                  Brenner on hearing on motion to dismiss appeals (.1); read
                  memos from Mr. Levinson, Mr. A. Landis, Mr. Garman on
                  motion to implement plan and revisions (.2); read
                  correspondence from Compass on transition agreement (.1) and
                  draft memo to Mr. Berman on same (.1)

02-13-2007        R. Blakley                                                            3.3            759.00
                  Continue review of complaint and all supporting documents
                  and exhibits

02-14-2007        R. Charles                                                            0.8            308.00
                  Work with Mr. G. Berman on office space, plan and transition
                  issues (.3); locate materials for Ms. S. Freeman (.1); note filing
                  of LPG opening brief (.1); work with Ms. C. Carlyon on order
                  for dismissal of USAIP appeal (.1); work with Mr. Berman on
                  inquiry from Mr. R. Creaser on documents (.1); read sect. 1142
                  motion as filed (.1); work with Ms. Carlyon and Ms. E. Karasik
                  on order for dismissal of USAIP appeal (.1); read memo from
                  Mr. D. Brenner on motion to dismiss appeals denied (.1); read
                  memo from Mr. S. Strong on order approving supplementation
                  (.1) and read memo from Ms. E. Karasik on same (.1)

02-14-2007        D. Brenner                                                            3.6            918.00
                  Attend hearing re Debtors' emergency motion(s) to dismiss
                  appeal(s), including preparation therefore and preparation of
                  brief e-mail memorandum to Mr. R. Charles re order denying
                  motion(s).

02-14-2007        M. Schoenike                                                          0.2                36.00
                  Serve Response to Motion to Enforce Debtors' Third Amended
                  Joint Plan as it Relates to Allocation of Sale Proceeds

02-15-2007        S. Freeman                                                            0.3            153.00
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                  E-mail to G. Berman and read his response re settlement
                  conference and read E. Madden e-mail re same (.1); read and
                  respond to E. Karasik e-mail re 1142 motion, respond to her
                  reply (.1); read E. Monson and D. Griffith e-mails re court
                  team and send e-mail to R. Charles re same (.1)

02-15-2007        R. Charles                                                          0.4            154.00
                  Review and approve order on sect. 1142 implementation and
                  loan subservicing (.1); work with Mr. G. Berman and Ms. S.
                  Freeman on licensing issues (.1); note Ex Parte Motion for
                  Order Shortening Time to Hear Joint Emergency Motion for
                  Order Related to Implementation of Confirmed Plan (.1); note
                  entry of Order Granting Joint Emergency Motion for Order
                  Related to Implementation of Confirmed Plan (.1); work with
                  Ms. E. Karasik on follow up sect. 1142 motion (.1)

02-16-2007        R. Charles                                                          0.6            231.00
                  Telephone to Mr. G. Berman on lease issue raised by Mr. M.
                  Yoder (.1); telephone to Ms. C. Carlyon on lease issue (.1);
                  telephone call from Ms. A. Jarvis on lease issue (.1); draft
                  memo to Mr. Yoder (.1) Work with Mr. G. Berman on plan
                  funding (.1); call from Mr. Berman on same (.1); call from Ms.
                  E. Karasik on appeal (.1)

02-17-2007        R. Charles                                                          0.3            115.50
                  Read memo from Ms. A. Jarvis (.1); draft memo to Mr. G.
                  Gordon on Mr. J. Bonfiglio for trust oversight committee (.2);
                  read memo from Mr. Garman on same (.1)

02-18-2007        R. Charles                                                          0.7            269.50
                  Work with Ms. E. Karasik on appeals (.1); read memo from
                  Ms. E. Karasik with sect. 11142 implementation motion and
                  read memo from Mr. G. Berman with comments (.2) and work
                  on redraft of motion and draft memo to Mr. Berman on same
                  (.4)

02-19-2007        S. Freeman                                                          0.5            255.00
                  Read joint 1142 motion draft and send e-mail to R. Charles and
                  G. Berman re same (.1); mark changes to draft and send to E.
                  Karasik with explanation (.2); read e-mails from R. Charles, E.
                  Karasik re appellate briefing and respond (.1); telephone to A.
                  Jarvis (leave message re same) and e-mail to all re same (.1)

02-19-2007        R. Charles                                                          5.7           2,194.50
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                  Call from Mr. G. Berman on meeting (.1); meet with Mr.
                  Berman, Mr. M. Levinson, Mr. J. Hermann, Mr. M. Tucker,
                  Mr. C. Harvick, Mr. M. Sorenson, Mr. A. Diamond, Mr. B.
                  Reid, Mr. E. Madden on Diversified and joint litigation issues
                  (2.5); to USACM offices and meet with all as well as Mr. T.
                  Allison, Mr. S. Strong, Ms. E. Monson, Mr. J. Reid, and Mr.
                  M. Olson on information concerning Hantges, Milanowski,
                  USAIP, litigation and transition issues and return to office (3.1)

02-20-2007        S. Freeman                                                           0.3            153.00
                  Read e-mail from A. Parlan and revised draft of 1142 order
                  (.1); respond to A. Parlan and E. Karasik re same and e-mail to
                  all recipients re additional provisions (.1); review order re IP
                  appeal dismissal and e-mail my approval (.1)

02-20-2007        S. Freeman                                                           0.3            153.00
                  Read E. Karasik response, read J. Herman and E. Karasik e-
                  mails re stay pending appeal motion, M. Levinson e-mail re
                  same (.1); read motion for stay pending appeal and application
                  for order shortening time, and e-mail from A. Jarvis re same
                  (.2)

02-20-2007        R. Charles                                                           3.2           1,232.00
                  Meetings at USACM offices with Ms. S. Smith, Mr. T. Allison,
                  Mr. G. Berman, Mr. M. Sorenson, Ms. E. Monson, Mr. S.
                  Strong, Mr. M. Levinson, Mr. M. Tucker, Mr. C. Harvick, Mr.
                  J. Herman, Mr. E. Madden and later Ms. A. Jarvis on plan of
                  reorganization effective date and transition issues (2.7); work
                  with Mr. Berman and Mr. Sorenson on effective date and
                  transition issues (.2); work with Mr. A. Diamond, Mr. J. Bier,
                  Mr. E. Madden on meeting with government investigators (.3)

02-21-2007        S. Freeman                                                           1.9            969.00
                  Review and note concerns re revised draft of 1142 motion (.3);
                  study motion for stay pending appeal and emergency motion to
                  expedite, and debtor opposition (.4); participate in call with
                  debtors and committee professionals re stay pending appeal,
                  1142 motion (1.2)

02-21-2007        R. Charles                                                           1.6            616.00
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                  Read memo from Ms. P. Hunt on sect. 1142 motion and read
                  response from Ms. C. Carlyon (.1); note filing of motion for
                  stay pending appeal and draft memo to Mr. C. Hainsworth on
                  same (.1); call with counsel for debtors and committees on
                  motion for stay pending appeal, implementation motion and
                  other issues (1.0); telephone call from Mr. G. Berman on
                  transition issues (.1); work with Mr. G. Garman on loan
                  servicing and the plan (.1); read memo from Ms. P. Monson
                  and read memo from Mr. Levinson on sect. 1124 motion (.1);
                  read memo from Ms. E. Karasik on sect. 1142 motion (.1); read
                  memos from Ms. Hunt, Mr. Garman and Ms. Carlyon on sect
                  1142 motion (.1)

02-22-2007        S. Freeman                                                            0.3            153.00
                  Read C. Larsen and R. Charles e-mails re discovery issues;
                  read revisions of 1142 motion and e-mails re same by P. Hunt,
                  G. Garman, E. Karasik, and send e-mail re approval

02-22-2007        S. Freeman                                                            0.5            255.00
                  Analyze stay pending appeal issues, and send e-mail to L.
                  Kasten re same and e-mail to R. Charles re same (.3); send e-
                  mail to E. Madden, A. Diamond and G. Berman re same (.2)

02-22-2007        R. Charles                                                            0.8            308.00
                  Read memos from counsel on sect. 1142 motion (.1); work
                  with Mr. M. Sorenson on lease and transition issue (.1);
                  telephone call from Mr. J. Miller from BMC (.2) and draft
                  memo to Mr. M. Sorenson on BMC transition (.1); work on
                  joinder in lease motion (.3)

02-23-2007        S. Freeman                                                            0.7            357.00
                  Telephone from E. Karasik re brief status and potential
                  arguments, analysis (.3); read case from her re same (.1);
                  telephone to P. Hunt re stay response (.2); telephone to R.
                  Charles re appellate stay issues, allocation issues (.1)

02-23-2007        S. Freeman                                                            1.1            561.00
                  Work on insert for objection to stay pending appeal

02-23-2007        R. Charles                                                            0.9            346.50
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                  Read memo from Ms. P. Hunt on letter to appellants' counsel
                  (.1); work on joinder in motion to extend occupancy period
                  under Haspinov lease with input from Mr. G. Berman and
                  reviewing for Haspinov claim (.3); read memo from Mr. S.
                  Bice and work with Ms. Freeman on response re licensing and
                  motion requesting exemption (.2); read memo from Ms. A.
                  Jarvis on hearing on motion to dismiss (.1); read
                  correspondence on LPG brief and standing issues (.1); work
                  with Mr. G. Berman on plan transition issues (.1)

02-23-2007        M. Schoenike                                                        0.3                54.00
                  Review motion for order for implementation of confirmed plan,
                  calendar proposed deadlines

02-24-2007        R. Charles                                                          0.2                77.00
                  Read memo from Mr. A. Parlen on opening brief and issues
                  (.2); read memo from Mr. J. Hermann on same (.1)

02-25-2007        S. Freeman                                                          1.0            510.00
                  Begin review and edit of draft answering brief

02-26-2007        S. Freeman                                                         12.0           6,120.00
                  Work on revisions to draft answering brief and response to stay
                  motion (5.8); participate in call with debtors' and committee
                  counsel to discuss brief and response (.8); participate in call
                  with debtors' counsel to further discuss brief (.4); continue
                  work on revisions to brief (2.8); send draft to debtors' counsel
                  with comments and redline (.1); respond to A. Jarvis e-mails re
                  support for position (.1); work on revisions to next draft of
                  debtors' response to stay motion (2.0)

02-26-2007        R. Charles                                                          1.4            539.00
                  Work on draft for motion for stay pending appeal (.9); work on
                  sect. 1142 motion (.3) and draft memo to Ms. A. Jarvis on
                  transition agreement (.1) and draft memo to Ms. S. Freeman on
                  motion (.1); read sect. 1142 motion and notice as filed (.1)

02-27-2007        S. Freeman                                                          0.6            306.00
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                  Read C. Carlyon comments on draft brief and forward to B.
                  Wride (.1); review DACA designation of record on appeal,
                  Bunch objection to debtor's supplemental designation (.1);
                  discuss appeals issues and claims issues with R. Charles (.2);
                  send e-mail to P. Hunt re appeals issue, read her response, send
                  reply (.1); send e-mail to DTDF debtors professionals and IP
                  professionals re taint team review of documents and search
                  terms (.1)

02-27-2007        S. Freeman                                                          0.1                51.00
                  Respond to D. Griffith e-mails re taint team review; respond to
                  R. Charles and E. Karasik e-mail re 1142 reserve

02-27-2007        S. Freeman                                                          0.7            357.00
                  Review revised draft of stay response, note suggested changes
                  and e-mail back with comments and suggestions (.6); read A.
                  Jarvis, E. Karasik and M. Levinson e-mails re 1142 reserves,
                  and respond re same (.1)

02-27-2007        R. Charles                                                          0.5            192.50
                  Read memo from Ms. S. Smith on plan reserves estimate (.1);
                  draft memo to Ms. A. Jarvis on estimate and BMC issue (.1);
                  draft memo to Ms. Smith on sources of cash (.1); work with
                  Ms. S. Freeman and Mr. G. Berman on response to Debtors'
                  estimate for reserves (.1); read committee memos on reserves
                  (.1) and draft memo to Ms. Jarvis on reserves (.1)

02-28-2007        S. Freeman                                                          1.0            510.00
                  Read and respond to M. Levinson e-mail re arguments in
                  answering brief (.1); check confirmation brief and revise draft
                  answering brief to restructure argument, redline and send to all
                  with explanation

02-28-2007        S. Freeman                                                          7.9           4,029.00
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                  Review draft appellate answering brief and begin marking
                  suggested changes (1.8); read and reply to P. Hunt e-mail re
                  stay response, read E. Madden e-mail re Reale documents (.1);
                  continue work on answering brief (1.1); read e-mails from A.
                  Jarvis and R. Charles re requested continuance, and respond
                  (.1); further respond to G. Berman e-mail re same, and call
                  direct to discuss (.2); read e-mails from E. Karasik, R. Charles,
                  J. Herman, A. Jarvis, M. Levinson re stay postponement, G.
                  Garman joinder and respond re call to discuss (.1); join in call
                  of debtor and committee professionals re strategy on stay
                  continuance (.4); read e-mails from E. Karasik, A. Jarvis re
                  stay review follow-up (.1); continue work on answering brief
                  (1.1); read e-mails from A. Jarvis and R. Charles re requested
                  continuance and respond (.1); further call him to discuss (.2);
                  read e-mails from E. Karasik, R. Charles, J. Hermann, A.
                  Jarvis, M. Levinson re stay postponement, G. Garman joinder
                  and respond re call to discuss (.1); join in call of debtor and
                  committee professionals re strategy on stay continuance (.4);
                  read e-mails from E. Karasik, A. Jarvis re stay review follow-
                  up (.1); continue work on answering brief, redline and send
                  with comments to all professionals (1.3); research for standard
                  of review cases (.7); send e-mail to debtors' counsel re cases to
                  cite (.1)

02-28-2007        S. Freeman                                                           0.7            357.00
                  Respond to A. Parlan e-mail re citations and read additional
                  case and send further e-mail re citation (.2); read C. Carlyon, E.
                  Karasik e-mails re suggested changes to brief (.1); read A.
                  Jarvis response to my changes, E. Karasik e-mail re LPG
                  motion, M. Levinson and A. Jarvis e-mails re same (.1); review
                  opposition to attachment and e-mails from C. Larson and B.
                  Olson and respond re same (.2); read C. Larson response and
                  A. Loraditch e-mail re writ (.1)

02-28-2007        R. Charles                                                           0.9            346.50
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                  Work on statement of interested parties in DACA appeal (.1);
                  note submission of order dismissing USAIP appeal (.1); read
                  submissions by USACM and FTDF Committee on reserves
                  (.1); work with Mr. Berman on claims analysis for the USACM
                  Trust (.2); read memo from Ms. A. Jarvis on stay pending
                  appeal (.1); work with Ms. E. Karasik and Ms. S. Freeman on
                  stay pending appeal and strategy (.1); work with Mr. Berman
                  and Ms. Freeman on motion and read correspondence from Mr.
                  M. Levinson (.1); work with Ms. Freeman on appeal brief and
                  servicing agreement (.1); read memos on continuing hearing on
                  stay pending appeal (.1); read memo from Mr. C. Harvick on,
                  and work with Mr. Berman and Mr. Madden on Beadle
                  McBride documents (.1)

03-01-2007        R. Charles                                                            3.2           1,232.00
                  Prepare for and participate in hearing on sect. 1142 motion,
                  motion on extension of occupancy of Haspinov premises,
                  motion for partial stay pending appeal, and related matters
                  (3.0); report to Mr. Geoff Berman on developments (.2)

03-02-2007        S. Freeman                                                            0.6            306.00
                  Check appellate materials re interlocutory status of Bunch
                  appeal (.3); telephone to R. Holly re continuation of current
                  appeal (.1); follow-up e-mail re same (.2)

03-02-2007        S. Freeman                                                            1.1            561.00
                  Read and respond to S. Strong and P. Hunt e-mails re effective
                  date language in order (.1); read E. Karasik and S. Strong e-
                  mails re same and respond (.1); read further e-mails from E.
                  Karasik, M. Levinson, S. Strong re 1142 order and respond
                  (.1); read S. Farrow e-mail re same, and follow-up from E.
                  Karasik and M. Levinson (.1); read answering brief on LPG
                  appeal, as filed (.3); telephone to P. Hunt re Bunch appeal and
                  claims issue (.2); continue call with P. Hunt and add S. Strong
                  and R. Charles re change scheduling and effect issue and
                  strategy (.1); e-mail to R. Charles and G. Berman re overbid
                  allocation issue, read responses and reply re same (.1)

03-02-2007        S. Freeman                                                            0.2            102.00
                  Review form of order for 1142 motion, and respond with
                  comments

03-02-2007        R. Charles                                                            0.6            231.00
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                  Note declarations filed in support of motion to stay pending
                  appeal (.1); work with Ms. S. Freeman on Bunch appeal
                  documents and settlement (.2); work with Mr. G. Berman and
                  Ms. Freeman on allocation of additional bid, claims objections
                  and related issues (.3)

03-03-2007        R. Charles                                                           0.2                77.00
                  Telephone call from Mr. G. Berman on meetings with
                  witnesses, PBGC and other issues (.2)

03-05-2007        S. Freeman                                                           0.2            102.00
                  Respond to P. Hunt e-mail re pending appeals (.1); read G.
                  Berman e-mail re Tanamara and B. Reid response (.1)

03-05-2007        S. Freeman                                                           0.6            306.00
                  Read E. Karasik e-mail response re overbid allocation
                  percentages and forward to T. Burr, G. Berman and R. Charles
                  with query (.1); read responses, check prior e-mails during sale
                  and draft response to E. Karasik and send for comment (.3);
                  read and respond to G. Berman and R. Charles responses (.1);
                  per G. Berman e-mail finalize and send to E. Karasik (.1)

03-05-2007        S. Freeman                                                           0.5            255.00
                  Telephone from A. Jarvis and P. Hunt re appeal issues

03-05-2007        S. Freeman                                                           0.2            102.00
                  Read T. Burr additional allocation analysis, and draft
                  supplemental e-mail to E. Karasik re same

03-05-2007        R. Charles                                                           0.1                38.50
                  Work with Ms. S. Freeman on notice of effective date

03-05-2007        M. Schoenike                                                         0.3                54.00
                  Assist Ms. S. Freeman re Notice of Effective Date and
                  Deadlines

03-06-2007        S. Freeman                                                           0.5            255.00
                  Further revise and send draft notice of effective date to R.
                  Charles with explanation

03-06-2007        S. Freeman                                                           1.5            765.00
                  Work on draft notice of effective date

03-06-2007        R. Charles                                                           0.3            115.50
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                  Work with Mr. E. Madden on attorney client privilege (.1);
                  read correspondence from Ms. A. Jarvis and Ms. E. Karasik on
                  effective date of plan (.1); read memo from Mr. M. Tucker and
                  read memo from Ms. D. Cangelosi on plan misinformation (.1)

03-07-2007        S. Freeman                                                           0.3            153.00
                  Revise draft stipulation and order extending Bunch appeal
                  deadlines and send to RQN and S&M for approval, copy to G.
                  Berman

03-07-2007        S. Freeman                                                           0.1                51.00
                  Read A. Jarvis and E. Karasik e-mails on changes to effective
                  date notice

03-07-2007        S. Freeman                                                           0.3            153.00
                  Send e-mail to R. Holley re Bunch appeal resolution, read
                  response (.1); check deadlines and send additional e-mail to R.
                  Holley re Bunch appeal and read his response (.1); check notice
                  and calendar and reply to R. Holley re extension proposal (.1)

03-07-2007        S. Freeman                                                           1.8            918.00
                  Work on effective date notice, incorporating and modifying
                  comments from Mr. R. Charles

03-07-2007        S. Freeman                                                           0.3            153.00
                  Send draft of effective date notice to professionals for debtors,
                  committees for input with comments (.2); respond to E.
                  Karasik inquiry re same (.1)

03-07-2007        R. Charles                                                           0.5            192.50
                  Work on notice of effective date of plan (.4); draft memo to
                  Ms. A. Jarvis on effective date of plan (.1)

03-08-2007        S. Freeman                                                           3.9           1,989.00
                  Read some new cases and send e-mail to M. Ruth re follow-up
                  research (.7); work on outline of response to motion for stay
                  pending appeal (3.2)

03-08-2007        S. Freeman                                                           1.1            561.00
                  Read answering brief in LPG appeal (.7); read motion for stay
                  pending appeal (.4)

03-08-2007        R. Charles                                                           0.4            154.00
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               Read memo from Ms. S. Freeman and read memo from Ms. P.
               Hunt on Bunch appeal (.1); read memos from Ms. E. Karasik,
               Ms. C. Carlyon and Ms. S. Freeman on notice of effective date
               (.1); read memo from Ms. S. Smith and read estimate of cash
               distributions on effective date (.1); read memos on LPG motion
               for stay pending appeal (.1)

03-09-2007     S. Freeman                                                          1.8            918.00
               Further work on motion for stay pending appeal

03-09-2007     S. Freeman                                                          0.1                51.00
               Read C. Carlyon, A. Jarvis, A. Loraditch e-mails re transcript,
               appeal brief

03-09-2007     S. Freeman                                                          3.1          1,581.00
               Send e-mail to R. Holley re status of stipulation to dismiss and
               e-mail to J. McPherson re same (.1); work on objection to
               motion for stay pending appeal (3.0)

03-09-2007     S. Freeman                                                          0.3            153.00
               Read J. McPherson response re Bunch appeal, respond to her
               and to R. Holley re Bunch appeal (.1); read J. McPherson next
               e-mail re Bunch appeal and filings (.1); read M. Ruth e-mail re
               appellate research, A. Jarvis e-mail re Gateway Stone, D.
               Walker and R. Charles e-mails re Great White (.1)

03-09-2007     S. Freeman                                                          0.3            153.00
               Send e-mail to S. Smith, debtors and committees re call on
               effective date issues, read e-mails from R. Charles, E. Karasik
               re same and S. Smith accounting sheet (.2); read A. Jarvis e-
               mail re effective date calculations, G. Berman response, M.
               Levinson response (.1)

03-09-2007     S. Freeman                                                          0.1                51.00
               Read R. Holley e-mail re Bunch stipulation and J. McPherson
               re same, and respond

03-09-2007     R. Charles                                                          1.1            423.50
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               Work with Mr. G. Berman on reserves, Ms. S. Smith's analysis
               and Lerin Hills issue (.2); work on motion to extend plan bar
               date for objections to claims arising out of rejection of
               executory contracts and unexpired leases (.3); work on deadline
               and strategy with Mr. G. Berman (.1); read memo from Ms. L.
               Dorsey on service of notice of entry of confirmation order (.1);
               draft memo to Ms. A. Jarvis, Ms. S. Smith and Mr. M. Kvarda
               on plan reserves (.1); continue work on motion to extend
               deadline to objection to rejection damages claims (.2); read
               memos on plan and effective date from Ms. E. Karasik and Mr.
               M. Kvarda (.1); work with Mr. Burr on analysis of cash
               distributed on effective date of plan (.1)

03-10-2007     S. Freeman                                                            0.1                51.00
               Read M. Levinson, C. Carlyon, E. Karasik e-mails re effective
               date notice

03-10-2007     R. Charles                                                            0.5            192.50
               Read memo from Mr. T. Burr and analyze Ms. S. Smith's
               calculations (.1); draft memo to Mr. Burr on issues (.1);
               telephone call from Mr. G. Berman on Russell inquiry, Placer
               Vineyards and effective date accounting (.3); follow up call
               with Mr. G. Berman (.1); read memo from Mr. T. Burr on
               follow up on call re effective date calculations (.1)

03-10-2007     M. Ruth                                                               3.0            600.00
               Continue research re recoupment in the context of contested
               matters and/or plans of reorganization

03-11-2007     S. Freeman                                                            5.5          2,805.00
               Work on expansion and revision of draft opposition to stay
               pending appeal

03-11-2007     R. Charles                                                            0.1                38.50
               Read revised proposed notice of plan's effective date

03-12-2007     S. Freeman                                                            0.1                51.00
               Read E. Karasik and P. Hunt e-mails re effective date notice,
               and reply

03-12-2007     S. Freeman                                                            1.8            918.00
               Work on further revisions to opposition to stay motion,
               including checking record adding cites, reviewing R. Charles
               proposed changes
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03-12-2007     S. Freeman                                                            0.1                51.00
               Send draft opposition to stay to debtor and committee counsel
               for input; read response from E. Karasik and P. Hunt and send
               replies

03-12-2007     S. Freeman                                                            0.1                51.00
               Read e-mail from P. Hunt re transcript of hearing on stay
               pending appeal, respond re same, read her reply re transcript
               problems

03-12-2007     S. Freeman                                                            0.2            102.00
               Read e-mails from A. Jarvis, R. Charles re wires and effective
               date, and send e-mail to G. Berman re same (.1); e-mails to and
               from R. Charles re getting information to committee and read
               e-mail from M. Schoenike re claims objections (.1)

03-12-2007     R. Charles                                                            1.9            731.50
               Read memo from Ms. S. Smith and read memo from Ms. E.
               Karasik on accounting for Effective Date transfers (.1); read
               memo from Mr. M. Kvarada (.1); draft memo on effective date
               to committees' and debtors' counsel (.1); work with Ms. S.
               Freeman on district court motion for stay pending appeal (.1);
               read memo from Mr. M. Kvarda and read memo from Ms.
               Karasik on effective date calculations (.1); work on response to
               district court stay pending appeal motion (.9); read memo from
               Ms. S. Smith on transfers (.1); work on calendar as to the
               effective date and related deadlines (.3); telephone call from
               Mr. Berman on wire transfers (.1); read memo from Ms. A.
               Jarvis on effective date (.1); read memo from Mr. M. Levinson
               on notice of effective date (.1)

03-12-2007     M. Ruth                                                               5.5          1,100.00
               Continue research recoupment in the context of contested
               matters and/or plans of reorganization (1.2); research re res
               judicata effect of Chapter 11 plans (2.8); draft memo to Ms. S.
               Freeman re same (1.5)

                   TOTAL FOR TASK CODE B320                                        648.0        267,523.50




                                   TOTAL FEES                                                   $980,259.00
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ADVANCES

08-01-2006     Postage                                                                       69.30
08-01-2006     Westlaw                                                                       28.87
08-01-2006     Westlaw                                                                       82.00
08-01-2006     Westlaw                                                                      406.82
08-01-2006     Westlaw                                                                       16.06
08-01-2006     Westlaw                                                                      357.79
08-01-2006     Westlaw                                                                       60.66
08-01-2006     Westlaw                                                                      573.91
08-01-2006     Westlaw                                                                       77.44
08-01-2006     Photocopying                                                                 154.00
08-01-2006     Photocopying                                                                   3.60
08-01-2006     Long Distance Telephone 1(702)471-7432 5891                                    0.99
08-01-2006     Long Distance Telephone 1(916)329-4910 4427                                    0.99
08-02-2006     Westlaw                                                                       10.17
08-02-2006     Westlaw                                                                       28.87
08-02-2006     Westlaw                                                                      256.72
08-02-2006     Westlaw                                                                      171.78
08-02-2006     Westlaw                                                                       65.24
08-02-2006     Westlaw                                                                      185.49
08-02-2006     Westlaw                                                                    2,078.93
08-02-2006     Westlaw                                                                      109.48
08-02-2006     Westlaw                                                                      677.35
08-02-2006     Westlaw                                                                      153.31
08-02-2006     Westlaw                                                                       95.20
08-02-2006     Westlaw                                                                       98.56
08-02-2006     Westlaw                                                                        5.59
08-02-2006     Long Distance Telephone 1(602)790-4778 4427                                    1.98
08-02-2006     Long Distance Telephone 1(801)532-1500 5756                                    1.98
08-03-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call            205.20
08-03-2006     Photocopying                                                                   1.40
08-03-2006     Photocopying                                                                  25.00
08-03-2006     Photocopying                                                                   3.60
08-03-2006     Photocopying                                                                   5.80
08-03-2006     Photocopying                                                                   1.60
08-03-2006     Long Distance Telephone 1(602)744-7144 8387                                    1.98
08-03-2006     Long Distance Telephone 1(602)744-7101 8277                                   18.81
08-03-2006     Long Distance Telephone 1(602)744-7101 8387                                   66.33
08-04-2006     Photocopying                                                                   4.40
08-07-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 17319804456                  17.85
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08-08-2006     Photocopying                                                                      3.60
08-08-2006     Long Distance Telephone 1(520)349-0737 5756                                       0.36
08-08-2006     Travel Expenses by R. McKirgan on 08/03/06 for Travel to Las Vegas for          291.61
               meeting with counsel for Diversified
08-09-2006     Long Distance Telephone 1(203)542-4026 5756                                       0.99
08-09-2006     Long Distance Telephone 1(602)424-7007 4427                                       0.36
08-09-2006     Long Distance Telephone 1(702)388-6600 4427                                       1.98
08-10-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call               224.76
08-11-2006     Long Distance Telephone 1(310)228-5660 5756                                       3.96
08-11-2006     Long Distance Telephone 1(916)329-4910 4427                                      16.83
08-11-2006     Long Distance Telephone 1(925)200-2977 4427                                       1.98
08-11-2006     Long Distance Telephone 1(801)323-3321 4427                                       0.99
08-14-2006     Long Distance Telephone 1(916)329-4910 4427                                       0.99
08-15-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV to           426.48
               attend hearings and meetings 8/3-4/06 165
08-15-2006     Photocopying                                                                      1.40
08-15-2006     Long Distance Telephone 1(203)542-4026 8332                                       0.99
08-16-2006     Long Distance Telephone 1(310)228-5705 8332                                       1.98
08-17-2006     Photocopying                                                                      0.20
08-17-2006     Long Distance Telephone 1(702)217-8599 4427                                       9.90
08-17-2006     Long Distance Telephone 1(602)418-2906 4427                                       0.36
08-17-2006     Long Distance Telephone 1(949)276-6201 4427                                       0.99
08-18-2006     Photocopying                                                                      1.20
08-18-2006     Long Distance Telephone 1(305)579-0537 4427                                      14.85
08-22-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Travel/Los Angeles,            342.93
               CA for meetings in USA Capital 8/5-8/06 165
08-22-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call               292.32
08-22-2006     Other Disbursements - - VENDOR:Bridge City Legal, Inc. 46533.1 -                623.53
               scanning of Susan Smith's loan books/binders - FTDF loans and electronic
               numbering - 1/3 of invoice
08-22-2006     Other Disbursements - - VENDOR:Bridge City Legal, Inc. 46533.1 DVD               26.30
               duplication - 1/3 of invoice
08-22-2006     Photocopying                                                                      1.40
08-22-2006     Photocopying                                                                      0.20
08-22-2006     Photocopying                                                                      1.00
08-22-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 17526460556                     16.25
08-22-2006     Long Distance Telephone 1(972)719-2564 4427                                       3.96
08-22-2006     Long Distance Telephone 1(702)250-3638 4427                                      10.89
08-23-2006     Long Distance Telephone 1(916)329-4910 4427                                       4.95
08-23-2006     Long Distance Telephone 1(702)250-3638 4427                                      70.29
08-23-2006     Long Distance Telephone 1(702)942-2306 4427                                      68.31
08-23-2006     Long Distance Telephone 1(916)329-4910 4427                                      32.67
08-23-2006     Long Distance Telephone 1(702)250-3638 4427                                       2.97
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08-24-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas to            685.70
               prepare for attend hearings and meetings 8/15-17/06 165
08-24-2006     Postage                                                                       42.90
08-24-2006     Photocopying                                                                  35.60
08-24-2006     Photocopying                                                                   3.20
08-24-2006     Photocopying                                                                  88.00
08-24-2006     Photocopying                                                                  14.00
08-24-2006     Long Distance Telephone 1(702)734-8549 4427                                    5.94
08-24-2006     Long Distance Telephone 1(310)228-5790 4427                                   13.86
08-24-2006     Long Distance Telephone 1(916)329-4910 4427                                    0.99
08-25-2006     Fedex                                                                         20.10
08-25-2006     Photocopying                                                                   0.20
08-25-2006     Photocopying                                                                  23.20
08-25-2006     Photocopying                                                                   0.60
08-25-2006     Photocopying                                                                  17.40
08-25-2006     Photocopying                                                                   1.20
08-25-2006     Photocopying                                                                   1.00
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                  0.96
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                  0.16
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                  0.32
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                 33.92
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                 10.32
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                  2.72
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                 37.04
08-28-2006     Outside Professional Services - - VENDOR:PACER Service Center                 19.68
08-28-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call             18.72
08-28-2006     Westlaw                                                                       29.16
08-28-2006     Westlaw                                                                       82.94
08-28-2006     Westlaw                                                                      849.31
08-28-2006     Westlaw                                                                      166.76
08-28-2006     Westlaw                                                                      325.68
08-28-2006     Westlaw                                                                       49.28
08-28-2006     Westlaw                                                                        8.70
08-28-2006     Photocopying                                                                  15.40
08-29-2006     Westlaw                                                                       23.90
08-29-2006     Westlaw                                                                       67.77
08-29-2006     Westlaw                                                                      669.48
08-29-2006     Westlaw                                                                      337.44
08-29-2006     Westlaw                                                                       18.12
08-29-2006     Westlaw                                                                       46.24
08-29-2006     Westlaw                                                                       21.12
08-29-2006     Long Distance Telephone 1(602)424-7007 4427                                    2.52
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08-29-2006     Long Distance Telephone 1(801)532-1500 4427                                   0.99
08-29-2006     Long Distance Telephone 1(972)719-2564 4427                                   1.98
08-29-2006     Long Distance Telephone 1(203)542-4026 4427                                  57.42
08-30-2006     Westlaw                                                                      59.16
08-30-2006     Westlaw                                                                       4.12
08-30-2006     Westlaw                                                                      11.67
08-30-2006     Westlaw                                                                     143.37
08-30-2006     Westlaw                                                                       2.48
08-30-2006     Westlaw                                                                     118.93
08-30-2006     Westlaw                                                                      14.08
08-30-2006     Photocopying                                                                  6.80
08-30-2006     Long Distance Telephone 1(775)746-1439 5314                                   0.99
08-30-2006     Long Distance Telephone 1(503)344-3733 5314                                   1.98
08-30-2006     Long Distance Telephone 1(702)796-5555 4427                                   6.93
08-30-2006     Long Distance Telephone 1(602)790-4778 4427                                   0.36
08-30-2006     Long Distance Telephone 1(801)323-3321 4427                                   3.96
08-30-2006     Long Distance Telephone 1(702)388-6629 4427                                   1.98
08-31-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call           117.48
08-31-2006     APostage                                                                     95.70
08-31-2006     Westlaw                                                                       4.43
08-31-2006     Westlaw                                                                      12.64
08-31-2006     Westlaw                                                                     127.20
08-31-2006     Westlaw                                                                       3.08
08-31-2006     Westlaw                                                                       7.04
08-31-2006     Photocopying                                                                 47.40
08-31-2006     Photocopying                                                                250.80
08-31-2006     Photocopying                                                                  0.20
08-31-2006     Photocopying                                                                  3.20
08-31-2006     Photocopying                                                                  4.80
08-31-2006     Long Distance Telephone 1(702)228-7590 5314                                   2.97
08-31-2006     Long Distance Telephone 1(702)228-7590 5314                                   3.96
08-31-2006     Long Distance Telephone 1(702)250-3638 5314                                   1.98
09-01-2006     Other Disbursements - - VENDOR:A+ Conferencing call                          27.36
09-01-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           3.96
09-01-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           5.88
09-01-2006     Postage                                                                      72.45
09-01-2006     Westlaw                                                                       6.73
09-01-2006     Westlaw                                                                       7.03
09-01-2006     Photocopying                                                                  3.00
09-01-2006     Photocopying                                                                  5.60
09-01-2006     Photocopying                                                                  3.60
09-01-2006     Long Distance Telephone 1(310)228-5790 4427                                   1.98
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09-01-2006     Long Distance Telephone 1(310)228-5705 4427                                     0.99
09-01-2006     Long Distance Telephone 1(310)228-5660 4427                                     4.95
09-01-2006     Long Distance Telephone 1(602)790-4778 4427                                     0.60
09-01-2006     Long Distance Telephone 1(916)329-4910 4427                                    37.62
09-01-2006     Long Distance Telephone 1(1480)241-4777 4427                                    0.45
09-01-2006     Long Distance Telephone 1(702)228-7590 5314                                     1.98
09-04-2006     Long Distance Telephone 1(818)784-4884 4427                                     2.97
09-05-2006     Other Disbursements - - VENDOR A+ Conferencing call                            63.36
09-05-2006     Other Disbursements - - VENDOR A+ Conferencing call                            36.00
09-05-2006     Long Distance Telephone 1(602)424-7007 4427                                     2.29
09-05-2006     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner             10.00
               Service 08/04/06 to Bankruptcy Court Cler
09-05-2006     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner             10.00
               Service 08/25/06
09-05-2006     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner             48.00
               Service 08/28/06
09-05-2006     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner             33.00
               Service 08/29/06 ROC to Don Walker
09-06-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           197.04
09-06-2006     Long Distance Telephone 1(305)579-0537 4427                                    12.87
09-06-2006     Long Distance Telephone 1(516)781-5186 5321                                     0.99
09-06-2006     Long Distance Telephone 1(801)532-1500 5756                                     0.99
09-06-2006     Long Distance Telephone 1(916)329-4910 5756                                     9.90
09-06-2006     Long Distance Telephone 1(702)250-3638 5756                                     0.99
09-06-2006     Long Distance Telephone 1(801)323-3321 5756                                    12.87
09-06-2006     Long Distance Telephone 1(520)349-0737 5756                                     1.20
09-06-2006     Long Distance Telephone 1(916)329-4910 5756                                     7.92
09-06-2006     Long Distance Telephone 1(801)323-3321 5756                                     0.99
09-06-2006     Long Distance Telephone 1(520)349-0737 5756                                     0.43
09-06-2006     Long Distance Telephone 1(801)323-3321 5756                                     1.98
09-07-2006     Delivery - Federal Express - - VENDOR:Federal Express Corporation Fed          76.01
               Ex 08/24/06 Mailroom to Rob Charles
09-07-2006     Long Distance Telephone 1(702)873-7111 4427                                     4.95
09-07-2006     Long Distance Telephone 1(310)614-5144 4427                                     4.95
09-07-2006     Long Distance Telephone 1(408)244-4662 5321                                    10.89
09-07-2006     Travel Expenses by S. Freeman on 08/31/06 for Travel to Las Vegas for         527.90
               court hearing on 08/31/06
09-08-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           163.08
09-08-2006     Copying Expense (Outside Office) - - VENDOR:Case by Case, Ltd.                223.04
               Outside copy service
09-10-2006     Long Distance Telephone 1(702)388-6192 4427                                     1.98
09-11-2006     Postage                                                                        44.46
09-11-2006     Westlaw                                                                         5.63
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09-11-2006     Photocopying                                                                   0.20
09-11-2006     Photocopying                                                                   1.80
09-11-2006     Photocopying                                                                   3.80
09-11-2006     Photocopying                                                                  91.60
09-11-2006     Long Distance Telephone 1(702)871-6790 4427                                   33.66
09-11-2006     Long Distance Telephone 1(702)385-5509 4427                                   12.87
09-11-2006     Long Distance Telephone 1(602)790-4778 4427                                    3.00
09-11-2006     Long Distance Telephone 1(702)385-5509 4427                                    0.99
09-12-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                 10.00
09-12-2006     Westlaw                                                                        5.63
09-12-2006     Westlaw                                                                       63.27
09-12-2006     Westlaw                                                                       67.56
09-12-2006     Photocopying                                                                  12.00
09-12-2006     Long Distance Telephone 1(801)323-3321 4427                                    1.98
09-12-2006     Long Distance Telephone 1(916)329-4910 4427                                   22.77
09-12-2006     Long Distance Telephone 1(702)250-3638 4427                                    2.97
09-12-2006     Long Distance Telephone 1(602)790-4778 4427                                    0.84
09-13-2006     Westlaw                                                                        5.63
09-13-2006     Westlaw                                                                      139.26
09-13-2006     Photocopying                                                                   0.20
09-13-2006     Photocopying                                                                   0.40
09-14-2006     Westlaw                                                                       46.88
09-14-2006     Westlaw                                                                      123.86
09-14-2006     Westlaw                                                                      170.71
09-14-2006     Westlaw                                                                       11.26
09-15-2006     Postage                                                                      181.26
09-15-2006     Westlaw                                                                       59.09
09-15-2006     Westlaw                                                                      111.34
09-15-2006     Westlaw                                                                      106.97
09-15-2006     Westlaw                                                                       59.09
09-15-2006     Westlaw                                                                       58.16
09-15-2006     Westlaw                                                                        5.86
09-15-2006     Westlaw                                                                       16.89
09-15-2006     Photocopying                                                                   7.80
09-15-2006     Photocopying                                                                   0.80
09-15-2006     Photocopying                                                                   3.80
09-15-2006     Photocopying                                                                   1.80
09-15-2006     Photocopying                                                                 295.80
09-15-2006     Photocopying                                                                  69.60
09-15-2006     Photocopying                                                                 295.80
09-15-2006     Photocopying                                                                   2.00
09-15-2006     Photocopying                                                                   0.60
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09-15-2006     Long Distance Telephone 1(702)796-5555 4427                                    1.98
09-15-2006     Long Distance Telephone 1(916)329-4910 4427                                   17.82
09-15-2006     Long Distance Telephone 1(801)323-3321 4427                                    1.98
09-15-2006     Long Distance Telephone 1(702)228-7590 4427                                    0.99
09-18-2006     Long Distance Telephone 1(916)329-4910 4427                                   38.61
09-18-2006     Long Distance Telephone 1(602)424-7007 4427                                    5.80
09-18-2006     Long Distance Telephone 1(818)576-8211 5321                                    2.97
09-19-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                 10.00
09-19-2006     Other Disbursements - - VENDOR:A+ Conferencing call                          243.72
09-19-2006     Postage                                                                       71.82
09-19-2006     Photocopying                                                                   2.20
09-19-2006     Photocopying                                                                 150.20
09-19-2006     Long Distance Telephone 1(801)532-1500 4427                                    0.99
09-20-2006     Long Distance Telephone 1(702)796-5555 4427                                   28.71
09-20-2006     Long Distance Telephone 1(775)786-5000 4427                                    0.99
09-20-2006     Long Distance Telephone 1(602)424-7007 4427                                    0.36
09-21-2006     Postage                                                                       40.56
09-21-2006     Photocopying                                                                  18.00
09-21-2006     Photocopying                                                                   2.00
09-21-2006     Photocopying                                                                   1.40
09-21-2006     Photocopying                                                                  68.40
09-21-2006     Long Distance Telephone 1(602)418-2906 4427                                    5.64
09-22-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           21.00
09-22-2006     Other Disbursements - - VENDOR:A+ Conferencing call                          121.68
09-22-2006     Photocopying                                                                  18.00
09-22-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 17973077054                  21.75
09-22-2006     Long Distance Telephone 1(623)551-1516 4427                                    3.48
09-22-2006     Long Distance Telephone 1(1480)747-5657 4427                                   1.97
09-22-2006     Long Distance Telephone 1(1480)216-9900 4427                                   0.16
09-22-2006     Long Distance Telephone 1(480)998-7761 4427                                    4.46
09-22-2006     Long Distance Telephone 1(702)250-3638 5740                                    0.99
09-22-2006     Long Distance Telephone 1(310)228-5605 5740                                   20.79
09-22-2006     Long Distance Telephone 1(702)735-1509 5321                                    4.95
09-22-2006     Long Distance Telephone 1(702)385-5509 5740                                    1.98
09-22-2006     Long Distance Telephone 1(520)349-0737 5756                                    0.60
09-25-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV to        291.90
               attend hearing and meetings 9/13/06 165
09-25-2006     Other Disbursements - - VENDOR:A+ Conferencing call                           21.72
09-25-2006     Long Distance Telephone 1(602)424-7007 4427                                    2.28
09-25-2006     Long Distance Telephone 1(702)228-7590 4461                                    0.99
09-25-2006     Long Distance Telephone 1(702)471-7432 4461                                    2.97
09-26-2006     Westlaw                                                                       11.72
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09-26-2006     Westlaw                                                                        22.52
09-26-2006     Photocopying                                                                    7.20
09-26-2006     Long Distance Telephone 1(916)329-4910 4427                                    19.80
09-26-2006     Long Distance Telephone 1(702)796-5555 4427                                    27.72
09-26-2006     Long Distance Telephone 1(310)228-5605 4427                                     4.95
09-27-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 9/26/06                156.48
09-27-2006     Long Distance Telephone 1(602)418-2906 4427                                    10.20
09-27-2006     Long Distance Telephone 1(310)228-5605 4427                                    39.60
09-27-2006     Long Distance Telephone 1(801)323-3321 4427                                     5.94
09-28-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                  10.00
09-28-2006     Photocopying                                                                    0.20
09-28-2006     Photocopying                                                                    4.20
09-29-2006     Photocopying                                                                   10.60
10-02-2006     Long Distance Telephone 1(801)532-1500 4427                                     1.98
10-02-2006     Long Distance Telephone 1(702)471-7432 4427                                     3.96
10-02-2006     Long Distance Telephone 1(801)532-1500 4427                                     2.97
10-02-2006     Long Distance Telephone 1(941)929-9044 4427                                     3.96
10-02-2006     Long Distance Telephone 1(702)253-5875 4427                                     2.97
10-02-2006     Long Distance Telephone 1(213)612-2413 4427                                     9.90
10-02-2006     Long Distance Telephone 1(801)323-3382 4427                                     0.99
10-03-2006     Long Distance Telephone 1(310)228-5605 4427                                     0.99
10-04-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 10/3/06                165.72
10-04-2006     Westlaw                                                                       126.63
10-04-2006     Westlaw                                                                         5.86
10-04-2006     Westlaw                                                                        11.26
10-04-2006     Westlaw                                                                       118.18
10-04-2006     Photocopying                                                                    9.60
10-04-2006     Long Distance Telephone 1(702)388-6600 4427                                     1.98
10-04-2006     Long Distance Telephone 1(925)277-3580 4427                                     0.99
10-04-2006     Long Distance Telephone 1(310)228-5605 4427                                    30.69
10-05-2006     Photocopying                                                                    1.40
10-05-2006     Photocopying                                                                    4.80
10-05-2006     Photocopying                                                                   43.40
10-05-2006     Photocopying                                                                  116.20
10-05-2006     Long Distance Telephone 1(702)388-6709 4427                                     1.98
10-05-2006     Long Distance Telephone 1(602)418-2906 4427                                     5.88
10-06-2006     Postage                                                                        71.43
10-06-2006     Westlaw                                                                        21.10
10-06-2006     Westlaw                                                                        59.09
10-06-2006     Long Distance Telephone 1(602)424-7007 4427                                     2.28
10-09-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 10/6/06                 63.96
10-09-2006     Long Distance Telephone 1(702)796-5555 4427                                     3.96
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10-09-2006     Long Distance Telephone 1(602)424-7007 4427                                     4.20
10-09-2006     Long Distance Telephone 1(702)228-7590 5314                                     6.93
10-09-2006     Long Distance Telephone 1(702)453-5863 5321                                     0.99
10-10-2006     Photocopying                                                                    4.80
10-10-2006     Long Distance Telephone 1(702)388-6600 4427                                     1.98
10-10-2006     Long Distance Telephone 1(702)250-3638 4427                                     2.97
10-10-2006     Long Distance Telephone 1(702)250-3638 4427                                    10.89
10-10-2006     Long Distance Telephone 1(702)388-6629 4427                                     5.94
10-11-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 10/10/06                65.64
10-11-2006     Photocopying                                                                  579.20
10-11-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 18253654650                   89.53
10-11-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 18253764852                   89.53
10-11-2006     Long Distance Telephone 1(801)323-3321 8332                                     1.98
10-12-2006     Photocopying                                                                    0.80
10-13-2006     Photocopying                                                                    5.20
10-13-2006     Long Distance Telephone 1(520)296-3576 5314                                     1.32
10-13-2006     Long Distance Telephone 1(702)228-7590 5314                                     3.96
10-16-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 10/14/06                22.92
10-16-2006     Photocopying                                                                    5.40
10-16-2006     Long Distance Telephone 1(801)323-3321 5712                                     0.99
10-16-2006     Long Distance Telephone 1(702)474-2604 4427                                     0.99
10-16-2006     Travel Expense by Ms S Freeman on 9/28/06 for travel to Las Vegas, NV         264.10
               for court hearing on 9/28/06
10-17-2006     Other Disbursements - - VENDOR:A+ Conferencing call on 10/16/06               237.72
10-17-2006     Long Distance Telephone 1(702)474-2604 4427                                     0.99
10-17-2006     Long Distance Telephone 1(702)302-2887 4427                                     7.92
10-17-2006     Long Distance Telephone 1(702)474-2604 4427                                     9.90
10-17-2006     Long Distance Telephone 1(702)855-4547 4427                                     5.94
10-18-2006     Postage                                                                        44.46
10-18-2006     Photocopying                                                                    4.00
10-18-2006     Photocopying                                                                    4.20
10-18-2006     Photocopying                                                                   91.20
10-18-2006     Long Distance Telephone 1(702)250-3638 5314                                     1.98
10-18-2006     Long Distance Telephone 1(480)505-4048 4427                                     0.36
10-18-2006     Long Distance Telephone 1(1480)747-5657 4427                                    0.56
10-18-2006     Long Distance Telephone 1(503)344-3733 4427                                     2.97
10-19-2006     Witness Fee - - VENDOR:USA Commercial Real Estate Group                        40.00
10-19-2006     Photocopying                                                                    3.60
10-19-2006     Long Distance Telephone 1(310)228-5605 8336                                     0.99
10-19-2006     Long Distance Telephone 1(310)228-5605 8336                                    12.87
10-20-2006     Photocopying                                                                    5.80
10-20-2006     Long Distance Telephone 1(702)248-8822 5740                                    25.74
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10-20-2006     Long Distance Telephone 1(702)474-2604 5740                                       0.99
10-20-2006     Long Distance Telephone 1(702)228-7590 5740                                       5.94
10-23-2006     Postage                                                                         100.05
10-23-2006     Photocopying                                                                    138.00
10-23-2006     Photocopying                                                                    161.00
10-23-2006     Photocopying                                                                      5.20
10-23-2006     Photocopying                                                                      0.20
10-23-2006     Long Distance Telephone 1(310)228-5660 4427                                       1.98
10-23-2006     Facsimile Document 1-213-612-4128                                                 2.00
10-24-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LA, CA for                 668.27
               meeting with all Committees on plan negotiations 10/12-13/06 165
10-24-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV              299.32
               for Bankruptcy Court hearing on 10/19/06 165
10-24-2006     Postage                                                                          44.85
10-24-2006     Photocopying                                                                      4.00
10-24-2006     Photocopying                                                                     92.00
10-24-2006     Long Distance Telephone 1(702)233-6149 4427                                      38.61
10-25-2006     Other Disbursements - - VENDOR:A+ Conferencing call 10/24/06                     46.56
10-25-2006     Photocopying                                                                     11.40
10-25-2006     Photocopying                                                                      0.40
10-25-2006     Photocopying                                                                      4.80
10-25-2006     Long Distance Telephone 1(520)349-0737 5314                                       0.36
10-26-2006     Long Distance Telephone 1(1480)505-4048 4427                                      0.59
10-26-2006     Long Distance Telephone 1(702)388-7185 4427                                      11.88
10-27-2006     Photocopying                                                                      6.40
10-27-2006     Long Distance Telephone 1(503)344-3733 5314                                       1.98
10-30-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call                72.48
               10/27/06 Committee meeting w/Don Walker, Del Bunch
10-31-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LV to attend               312.92
               continued hearings on sale issues/employee retention program 10/25/06
               165
10-31-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV              308.43
               for hearings on 10/30/06 165
10-31-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                    10.00
10-31-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                    65.00
10-31-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                    30.00
10-31-2006     Westlaw                                                                          49.21
10-31-2006     Westlaw                                                                         259.28
10-31-2006     Westlaw                                                                         119.59
10-31-2006     Westlaw                                                                          48.78
10-31-2006     Long Distance Telephone 1(775)788-2205 4427                                       2.97
10-31-2006     Long Distance Telephone 1(310)228-5605 4427                                       6.93
10-31-2006     Long Distance Telephone 1(503)344-3733 4427                                       2.97
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10-31-2006     Long Distance Telephone 1(702)796-5555 4427                                  2.97
10-31-2006     Facsimile Document 1-503-344-3733                                           20.00
11-01-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call          179.40
               10/31/06 meeting of unsecured creditors committee
11-01-2006     Westlaw                                                                    105.49
11-01-2006     Westlaw                                                                     32.83
11-01-2006     Westlaw                                                                     64.74
11-01-2006     Westlaw                                                                    142.56
11-02-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call            6.96
               11/1/06 committee call
11-02-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee           238.68
               meeting on 11/1/06
11-02-2006     Westlaw                                                                    112.54
11-02-2006     Westlaw                                                                      5.63
11-02-2006     Westlaw                                                                     93.79
11-02-2006     Photocopying                                                                 0.60
11-03-2006     Westlaw                                                                     77.37
11-03-2006     Westlaw                                                                     65.66
11-03-2006     Westlaw                                                                      5.63
11-03-2006     Westlaw                                                                    146.32
11-03-2006     Photocopying                                                                12.00
11-03-2006     Photocopying                                                                 3.60
11-06-2006     Westlaw                                                                     28.12
11-06-2006     Westlaw                                                                     33.78
11-06-2006     Westlaw                                                                    225.47
11-06-2006     Long Distance Telephone 1(702)360-2266 4427                                  0.99
11-06-2006     Long Distance Telephone 1(702)360-2266 4427                                  6.93
11-06-2006     Long Distance Telephone 1(310)228-5605 4427                                  3.96
11-07-2006     Westlaw                                                                     28.12
11-07-2006     Westlaw                                                                     11.72
11-07-2006     Westlaw                                                                     28.15
11-07-2006     Westlaw                                                                    185.71
11-07-2006     Westlaw                                                                      7.03
11-07-2006     Westlaw                                                                     11.25
11-07-2006     Photocopying                                                                 4.20
11-07-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 18647528152                20.45
11-07-2006     Long Distance Telephone 1(503)326-1565 5314                                  0.99
11-07-2006     Facsimile Document 1-702-777-0047                                            4.00
11-08-2006     Westlaw                                                                     63.27
11-08-2006     Westlaw                                                                      5.86
11-08-2006     Westlaw                                                                     32.83
11-08-2006     Westlaw                                                                     61.93
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11-08-2006     Westlaw                                                                       349.27
11-08-2006     Westlaw                                                                        14.06
11-08-2006     Westlaw                                                                        65.66
11-08-2006     Photocopying                                                                   26.80
11-08-2006     Photocopying                                                                   57.80
11-08-2006     Photocopying                                                                  259.20
11-08-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 18649597853                   17.85
11-08-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 18665375153                   16.25
11-08-2006     Long Distance Telephone 1(1480)505-4048 4427                                    2.37
11-08-2006     Long Distance Telephone 1(602)424-7007 4427                                     6.12
11-09-2006     Westlaw                                                                        84.36
11-09-2006     Westlaw                                                                         5.86
11-09-2006     Westlaw                                                                        32.83
11-09-2006     Westlaw                                                                        75.98
11-09-2006     Photocopying                                                                   16.40
11-09-2006     Photocopying                                                                   27.80
11-09-2006     Long Distance Telephone 1(702)796-5555 4427                                     1.98
11-10-2006     Westlaw                                                                       112.48
11-10-2006     Westlaw                                                                       149.11
11-10-2006     Photocopying                                                                    4.80
11-10-2006     Long Distance Telephone 1(775)345-0176 5314                                     5.94
11-10-2006     Long Distance Telephone 1(801)323-3321 4427                                     0.99
11-10-2006     Long Distance Telephone 1(801)323-3321 4427                                    23.76
11-13-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LV for USA               331.72
               Commercial Real Estate Group Deposition 11/9/06 165
11-13-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call             183.60
               11/10/06
11-13-2006     Postage                                                                         4.44
11-13-2006     Long Distance Telephone 1(702)228-7590 5314                                     2.97
11-14-2006     Outside Professional Services - - VENDOR:PACER Service Center                 387.44
11-14-2006     Photocopying                                                                    1.00
11-14-2006     Long Distance Telephone 1(713)688-4331 5756                                     7.92
11-14-2006     Long Distance Telephone 1(916)329-4910 4427                                    14.85
11-14-2006     Long Distance Telephone 1(208)336-0942 4427                                     6.93
11-14-2006     Long Distance Telephone 1(702)388-6192 4427                                     1.98
11-14-2006     Long Distance Telephone 1(503)344-3733 4427                                     1.98
11-15-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 conf. call              90.12
               11/14/06
11-15-2006     Long Distance Telephone 1(267)960-4051 4427                                     8.91
11-15-2006     Long Distance Telephone 1(702)855-4547 5756                                     8.91
11-15-2006     Long Distance Telephone 1(303)683-6038 5756                                     1.98
11-16-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LV for deposition        291.75
               of USA Commercial Real Estate Group 11/13/06 165
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11-16-2006     Westlaw                                                                       70.34
11-16-2006     Westlaw                                                                      438.93
11-16-2006     Westlaw                                                                        7.03
11-16-2006     Westlaw                                                                       32.83
11-16-2006     Westlaw                                                                        5.84
11-16-2006     Westlaw                                                                       16.60
11-16-2006     Westlaw                                                                      273.15
11-16-2006     Westlaw                                                                       37.60
11-16-2006     Westlaw                                                                        7.03
11-16-2006     Photocopying                                                                   5.00
11-17-2006     Westlaw                                                                        7.03
11-17-2006     Westlaw                                                                        5.63
11-17-2006     Westlaw                                                                       48.77
11-17-2006     Photocopying                                                                   7.40
11-17-2006     Long Distance Telephone 1(303)296-9600 4427                                   22.77
11-17-2006     Long Distance Telephone 1(1480)505-4048 4427                                   0.21
11-17-2006     Long Distance Telephone 1(702)388-6600 4427                                    1.98
11-18-2006     Westlaw                                                                       38.60
11-18-2006     Westlaw                                                                      109.88
11-18-2006     Westlaw                                                                      561.15
11-18-2006     Westlaw                                                                      766.86
11-18-2006     Westlaw                                                                      105.67
11-18-2006     Westlaw                                                                        1.12
11-18-2006     Westlaw                                                                       23.99
11-19-2006     Westlaw                                                                       16.66
11-19-2006     Westlaw                                                                       47.33
11-19-2006     Westlaw                                                                      420.21
11-19-2006     Westlaw                                                                      276.51
11-19-2006     Westlaw                                                                        5.79
11-20-2006     Outside Professional Services - - VENDOR:Aspen Solutions, Inc                212.50
11-20-2006     Westlaw                                                                        7.12
11-20-2006     Westlaw                                                                       20.11
11-20-2006     Westlaw                                                                       12.83
11-20-2006     Westlaw                                                                       99.44
11-20-2006     Westlaw                                                                      120.69
11-20-2006     Westlaw                                                                       21.09
11-20-2006     Westlaw                                                                        7.03
11-20-2006     Westlaw                                                                       36.57
11-20-2006     Westlaw                                                                      109.73
11-20-2006     Westlaw                                                                       11.25
11-20-2006     Long Distance Telephone 1(702)233-6149 4427                                   10.89
11-20-2006     Long Distance Telephone 1(702)388-6600 4427                                    0.99
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11-20-2006     Long Distance Telephone 1(702)990-3727 5756                                        0.99
11-20-2006     Long Distance Telephone 1(916)329-4910 5756                                        0.99
11-20-2006     Long Distance Telephone 1(702)326-1858 5756                                        2.97
11-21-2006     Reporting Services and Transcript - - VENDOR:O'Malley & DeGagne                  493.25
               46533.1 depo of Joseph D. Milanowski on 11/9/06
11-21-2006     Long Distance Telephone 1(702)388-6600 4427                                        1.98
11-21-2006     Long Distance Telephone 1(702)796-5555 4427                                        0.99
11-21-2006     Long Distance Telephone 1(702)873-7111 5756                                       18.81
11-22-2006     Long Distance Telephone 1(801)323-3382 4427                                        8.91
11-22-2006     Long Distance Telephone 1(602)424-7007 4427                                        2.52
11-24-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee                 256.08
               meeting 11/22/06
11-27-2006     Outside Professional Services - - VENDOR:Aspen Solutions, Inc                    614.25
11-27-2006     Westlaw                                                                           21.09
11-27-2006     Westlaw                                                                           28.15
11-27-2006     Meeting Expense - - VENDOR:Jason's Deli                                          118.03
11-27-2006     Photocopying                                                                       0.40
11-27-2006     Photocopying                                                                      26.80
11-27-2006     Photocopying                                                                       2.20
11-27-2006     Long Distance Telephone 1(214)954-1455 4427                                       47.52
11-28-2006     Long Distance Telephone 1(702)250-3638 4427                                       17.82
11-28-2006     Long Distance Telephone 1(404)920-6610 4427                                       59.40
11-28-2006     Long Distance Telephone 1(702)228-7590 5314                                        1.98
11-28-2006     Long Distance Telephone 1(702)388-6192 5314                                        1.98
11-28-2006     Long Distance Telephone 1(702)250-3638 5756                                        3.96
11-28-2006     Long Distance Telephone 1(404)920-6610 5756                                       61.38
11-28-2006     Travel Expenses for S. Freeman on 12/12/06 for Air fare to Las Vegas for         107.10
               court hearing
11-28-2006     Travel Expenses for S. Freeman on 11/27/06 for Air fare to Las Vegas for         282.10
               court hearing
11-29-2006     Long Distance Telephone 1(530)273-1473 4427                                       21.78
11-29-2006     Long Distance Telephone 1(602)424-7007 4427                                        2.60
11-29-2006     Long Distance Telephone 1(702)796-5555 4427                                        2.97
11-29-2006     Long Distance Telephone 1(602)424-7007 4427                                        3.22
11-29-2006     Long Distance Telephone 1(702)796-5555 4427                                        1.98
11-29-2006     Long Distance Telephone 1(801)532-1500 4427                                        1.98
11-29-2006     Long Distance Telephone 1(916)329-4910 4427                                        2.97
11-29-2006     Long Distance Telephone 1(213)617-2717 5756                                        1.98
11-29-2006     Long Distance Telephone 1(562)714-6866 5756                                        0.99
11-29-2006     Long Distance Telephone 1(212)207-4710 5756                                        0.99
11-29-2006     Long Distance Telephone 1(917)940-1270 5756                                        0.99
11-29-2006     Long Distance Telephone 1(702)792-3773 5756                                        1.98
11-29-2006     Long Distance Telephone 1(310)228-5765 5254                                        5.94
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11-29-2006     Long Distance Telephone 1(520)349-0737 5254                                  0.60
11-30-2006     Westlaw                                                                     59.09
11-30-2006     Photocopying                                                                 4.20
11-30-2006     Photocopying                                                                 2.80
11-30-2006     Photocopying                                                                 5.60
11-30-2006     Photocopying                                                                 0.60
11-30-2006     Photocopying                                                                 2.60
11-30-2006     Photocopying                                                                 5.20
11-30-2006     Photocopying                                                                 0.80
11-30-2006     Long Distance Telephone 1(801)532-1500 4427                                  0.99
11-30-2006     Long Distance Telephone 1(310)228-5790 4427                                  6.93
11-30-2006     Long Distance Telephone 1(760)889-7200 4427                                  5.94
11-30-2006     Long Distance Telephone 1(702)796-5555 4427                                  3.96
11-30-2006     Long Distance Telephone 1(310)228-5765 5254                                 10.89
12-01-2006     Photocopying                                                                 0.40
12-01-2006     Photocopying                                                                 0.40
12-01-2006     Photocopying                                                                 0.40
12-01-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19000531852 pckg.          20.45
               to Del Bunch
12-01-2006     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19000596355 pckg.          16.25
               to Sierra Consulting Group
12-01-2006     Long Distance Telephone 1(1480)505-4048 4427                                 0.16
12-01-2006     Long Distance Telephone 1(212)549-0270 4427                                  0.99
12-01-2006     Long Distance Telephone 1(212)494-9087 4427                                 10.89
12-01-2006     Long Distance Telephone 1(562)714-6866 5756                                  4.95
12-01-2006     Long Distance Telephone 1(917)940-1270 5756                                  4.95
12-01-2006     Long Distance Telephone 1(310)753-1324 5756                                  0.99
12-01-2006     Long Distance Telephone 1(562)714-6866 5756                                  1.98
12-02-2006     Long Distance Telephone 1(520)349-0737 5756                                  1.14
12-04-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee           405.24
               meeting conf. call 12/1/06
12-04-2006     Long Distance Telephone 1(1623)551-1516 4427                                 0.21
12-04-2006     Long Distance Telephone 1(602)424-7007 4427                                  0.36
12-04-2006     Long Distance Telephone 1(213)617-2717 5756                                  1.98
12-04-2006     Long Distance Telephone 1(702)388-6600 5314                                 14.85
12-04-2006     Long Distance Telephone 1(213)617-2717 5756                                  1.98
12-05-2006     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.               10.00
12-05-2006     Westlaw                                                                     28.12
12-05-2006     Westlaw                                                                     11.72
12-05-2006     Westlaw                                                                     33.75
12-05-2006     Westlaw                                                                    134.96
12-05-2006     Westlaw                                                                    500.63
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12-05-2006     Photocopying                                                                0.40
12-05-2006     Photocopying                                                                0.40
12-05-2006     Long Distance Telephone 1(801)323-3321 4427                                 1.98
12-05-2006     Long Distance Telephone 1(801)520-7010 4427                                 3.96
12-05-2006     Long Distance Telephone 1(702)855-4547 5756                                 6.93
12-05-2006     Long Distance Telephone 1(213)617-2717 5756                                13.86
12-05-2006     Long Distance Telephone 1(702)217-8599 7419                                 0.99
12-05-2006     Long Distance Telephone 1(702)990-3727 7419                                 1.98
12-05-2006     Long Distance Telephone 1(702)855-4547 5314                                 0.99
12-05-2006     Long Distance Telephone 1(775)746-1439 7419                                 0.99
12-05-2006     Long Distance Telephone 1(760)889-7200 5314                                 2.97
12-05-2006     Long Distance Telephone 1(702)360-2266 7419                                 1.98
12-05-2006     Long Distance Telephone 1(702)250-3638 7419                                 0.99
12-05-2006     Long Distance Telephone 1(702)250-3638 5756                                 2.97
12-06-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee          295.32
               meeting conf. call 12/5/06
12-06-2006     Westlaw                                                                   118.12
12-06-2006     Westlaw                                                                    15.67
12-06-2006     Westlaw                                                                    44.54
12-06-2006     Westlaw                                                                   488.01
12-06-2006     Westlaw                                                                   166.16
12-06-2006     Westlaw                                                                   135.78
12-06-2006     Westlaw                                                                   126.54
12-06-2006     Photocopying                                                                2.80
12-06-2006     Photocopying                                                               26.80
12-06-2006     Long Distance Telephone 1(203)542-4598 8261                                 5.94
12-06-2006     Long Distance Telephone 1(310)228-5605 8261                                24.75
12-07-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee           33.36
               conf. call 12/6/06
12-07-2006     Westlaw                                                                   168.75
12-07-2006     Westlaw                                                                   146.25
12-07-2006     Westlaw                                                                     3.11
12-07-2006     Westlaw                                                                     8.85
12-07-2006     Westlaw                                                                    33.59
12-07-2006     Westlaw                                                                    74.47
12-07-2006     Photocopying                                                                7.20
12-07-2006     Photocopying                                                                0.20
12-07-2006     Photocopying                                                                5.40
12-07-2006     Long Distance Telephone 1(520)349-0737 5254                                 1.32
12-08-2006     Westlaw                                                                    28.12
12-08-2006     Westlaw                                                                    11.72
12-08-2006     Westlaw                                                                    56.25
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12-08-2006     Westlaw                                                                        123.70
12-08-2006     Westlaw                                                                         59.06
12-08-2006     Westlaw                                                                         16.41
12-08-2006     Westlaw                                                                         32.81
12-08-2006     Westlaw                                                                         58.12
12-08-2006     Photocopying                                                                     0.20
12-08-2006     Long Distance Telephone 1(520)349-0737 5254                                      0.36
12-08-2006     Long Distance Telephone 1(214)740-8000 4427                                      0.99
12-08-2006     Long Distance Telephone 1(213)617-2717 4427                                      6.93
12-08-2006     Long Distance Telephone 1(1480)505-4048 4427                                     0.19
12-08-2006     Long Distance Telephone 1(702)240-4400 4427                                     28.71
12-08-2006     Long Distance Telephone 1(702)233-6149 4427                                     28.71
12-11-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee               146.76
               meeting conf. call 12/8/06
12-11-2006     Postage                                                                        101.79
12-11-2006     Westlaw                                                                        246.09
12-11-2006     Westlaw                                                                        326.24
12-11-2006     Westlaw                                                                         15.43
12-11-2006     Westlaw                                                                         43.91
12-11-2006     Westlaw                                                                        753.71
12-11-2006     Westlaw                                                                         84.76
12-11-2006     Photocopying                                                                    26.60
12-11-2006     Photocopying                                                                     3.00
12-11-2006     Photocopying                                                                     6.00
12-11-2006     Photocopying                                                                   690.00
12-11-2006     Photocopying                                                                     9.00
12-11-2006     Photocopying                                                                     4.60
12-11-2006     Long Distance Telephone 1(702)388-6192 5314                                      1.98
12-11-2006     Long Distance Telephone 1(310)228-5790 5756                                      0.99
12-11-2006     Long Distance Telephone 1(480)505-4048 4427                                      0.36
12-11-2006     Long Distance Telephone 1(623)551-1516 4427                                      0.36
12-11-2006     Long Distance Telephone 1(1480)747-5657 4427                                     0.14
12-11-2006     Long Distance Telephone 1(760)889-7200 4427                                      0.99
12-11-2006     Long Distance Telephone 1(702)217-8599 4427                                      0.99
12-11-2006     Facsimile Document 1-866-904-4778                                                3.00
12-11-2006     Facsimile Document 1-866-904-4778                                                3.00
12-11-2006     Travel Expenses by Ms S Freeman on 11/27/06 for travel to Las Vegas, NV        282.10
               for meeting
12-11-2006     Travel Expenses by Ms S Freeman on 11/27/06 for travel to Las Vegas, NV         20.00
               for meeting
12-12-2006     Westlaw                                                                          5.99
12-12-2006     Westlaw                                                                         17.03
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12-12-2006     Westlaw                                                                  288.48
12-12-2006     Westlaw                                                                   34.80
12-12-2006     Long Distance Telephone 1(702)838-2813 5321                                0.99
12-13-2006     Westlaw                                                                   11.18
12-13-2006     Westlaw                                                                   31.78
12-13-2006     Westlaw                                                                  191.59
12-13-2006     Westlaw                                                                  149.54
12-13-2006     Westlaw                                                                  264.14
12-13-2006     Westlaw                                                                    2.68
12-13-2006     Westlaw                                                                    7.62
12-13-2006     Westlaw                                                                  211.35
12-13-2006     Westlaw                                                                   21.09
12-13-2006     Westlaw                                                                   60.17
12-13-2006     Westlaw                                                                  746.37
12-13-2006     Westlaw                                                                  254.54
12-13-2006     Westlaw                                                                   42.18
12-13-2006     Long Distance Telephone 1(702)796-5555 4427                                4.95
12-13-2006     Long Distance Telephone 1(702)796-5555 4427                                2.97
12-13-2006     Long Distance Telephone 1(480)505-4048 4427                                0.36
12-13-2006     Long Distance Telephone 1(1480)747-5657 4427                               0.14
12-13-2006     Long Distance Telephone 1(702)796-5555 4427                                3.96
12-13-2006     Long Distance Telephone 1(214)740-8547 4427                                5.94
12-14-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee         119.16
               meeting conf. call 12/13
12-14-2006     Westlaw                                                                    13.70
12-14-2006     Westlaw                                                                    38.88
12-14-2006     Westlaw                                                                   101.39
12-14-2006     Westlaw                                                                     5.62
12-14-2006     Westlaw                                                                   245.80
12-14-2006     Westlaw                                                                   256.01
12-14-2006     Westlaw                                                                    78.75
12-14-2006     Westlaw                                                                    43.20
12-14-2006     Westlaw                                                                   122.84
12-14-2006     Westlaw                                                                 1,343.71
12-14-2006     Westlaw                                                                   446.67
12-14-2006     Westlaw                                                                   405.62
12-14-2006     Westlaw                                                                    56.24
12-14-2006     Photocopying                                                                4.20
12-14-2006     Long Distance Telephone 1(310)228-5605 4427                                21.78
12-14-2006     Long Distance Telephone 1(702)796-5555 5756                                 1.98
12-14-2006     Long Distance Telephone 1(702)388-6988 7419                                 0.99
12-14-2006     Long Distance Telephone 1(310)228-5605 5770                                 5.94
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12-14-2006     Travel Expenses by Ms. S Freeman on 12/19/06 for airfare to Las Vegas,          107.10
               NV to attend court hearing
12-15-2006     Westlaw                                                                           4.83
12-15-2006     Westlaw                                                                          13.70
12-15-2006     Westlaw                                                                         140.54
12-15-2006     Westlaw                                                                           5.62
12-15-2006     Westlaw                                                                           4.54
12-15-2006     Westlaw                                                                          12.91
12-15-2006     Westlaw                                                                          78.03
12-15-2006     Westlaw                                                                          65.05
12-15-2006     Filing Fee - - VENDOR:U.S. District Court                                       175.00
12-15-2006     Photocopying                                                                      0.60
12-15-2006     Photocopying                                                                      0.80
12-15-2006     Photocopying                                                                      5.80
12-15-2006     Photocopying                                                                    115.00
12-18-2006     Postage                                                                         126.54
12-18-2006     Photocopying                                                                    276.00
12-18-2006     Photocopying                                                                      3.40
12-18-2006     Photocopying                                                                      9.40
12-18-2006     Long Distance Telephone 1(562)714-6866 5756                                      19.80
12-18-2006     Long Distance Telephone 1(602)424-7007 4427                                       5.64
12-19-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee                 53.52
               meeting conf. call on 12/18/06
12-19-2006     Westlaw                                                                          59.06
12-19-2006     Westlaw                                                                           5.86
12-19-2006     Westlaw                                                                          22.48
12-19-2006     Westlaw                                                                          11.25
12-19-2006     Westlaw                                                                           7.09
12-19-2006     Westlaw                                                                          20.17
12-19-2006     Westlaw                                                                         366.25
12-19-2006     Westlaw                                                                          27.20
12-19-2006     Westlaw                                                                           2.13
12-19-2006     Facsimile Document 1-801-532-7543                                                 3.00
12-21-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LV to attend               509.38
               hearing, negotiate with counsel for committees 12/6-7/06 165
12-21-2006     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/LV to attend               264.15
               Diversified settlement conference 12/12/06 165
12-22-2006     Long Distance Telephone 1(602)418-2906 4427                                       0.84
12-22-2006     Long Distance Telephone 1(702)796-5555 4427                                       2.97
12-22-2006     Long Distance Telephone 1(212)310-8000 4427                                       0.99
12-22-2006     Travel Expenses by Ms S Freeman on 12/12/06 for travel to Las Vegas,            163.10
               NV to attend court hearing
12-27-2006     Photocopying                                                                     13.00
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12-27-2006     Photocopying                                                                       4.80
12-27-2006     Long Distance Telephone 1(801)323-3321 4679                                        0.99
12-27-2006     Long Distance Telephone 1(310)228-5790 4679                                        1.98
12-27-2006     Long Distance Telephone 1(916)329-4910 5258                                       38.61
12-27-2006     Long Distance Telephone 1(562)714-6866 5756                                        4.95
12-27-2006     Long Distance Telephone 1(520)349-0737 5756                                        0.58
12-29-2006     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 Committee                 167.28
               meeting 12/28/06
12-29-2006     Photocopying                                                                          0.20
12-29-2006     Photocopying                                                                          5.40
12-29-2006     Meal Expenses by Mr. J Hinderaker on 12/18/06 for meal in Las Vegas,                  5.86
               NV for direct examination
12-29-2006     Travel Expenses by Mr. J Hinderaker on 12/18/06 for parking and cab fare          44.00
               while in Las Vegas, NV for direct examination
01-02-2007     Photocopying                                                                      48.20
01-03-2007     Photocopying                                                                       0.80
01-03-2007     Photocopying                                                                       5.40
01-04-2007     Meeting Expense - - VENDOR:Desert Cafe                                            85.68
01-04-2007     Photocopying                                                                       8.00
01-04-2007     Travel Expenses for S. Freeman on 1/10/07-1/11/07 for Interview of               279.30
               litigation counsel
01-05-2007     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                     15.00
01-05-2007     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                     10.00
01-05-2007     Service of Process - - VENDOR:Paradigm Attorney Service, Inc.                     30.00
01-05-2007     Photocopying                                                                       1.00
01-05-2007     Photocopying                                                                       4.80
01-05-2007     Long Distance Telephone 1(702)388-6192 5314                                        0.99
01-05-2007     Long Distance Telephone 1(702)388-6192 5314                                        0.99
01-05-2007     Long Distance Telephone 1(702)388-6709 5314                                        1.98
01-05-2007     Long Distance Telephone 1(213)617-2717 4427                                       82.17
01-05-2007     Long Distance Telephone 1(775)788-2206 4427                                       29.70
01-05-2007     Long Distance Telephone 1(801)323-3382 4427                                       18.81
01-08-2007     Westlaw                                                                           27.70
01-08-2007     Westlaw                                                                           78.79
01-08-2007     Westlaw                                                                          309.56
01-08-2007     Westlaw                                                                           73.72
01-08-2007     Westlaw                                                                          325.96
01-08-2007     Westlaw                                                                           49.19
01-08-2007     Westlaw                                                                          770.89
01-08-2007     Westlaw                                                                           21.87
01-08-2007     Long Distance Telephone 1(212)310-8962 4427                                        0.99
01-08-2007     Long Distance Telephone 1(702)360-2266 4427                                        0.99
01-08-2007     Long Distance Telephone 1(775)786-5000 4427                                        7.92
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01-08-2007     Long Distance Telephone 1(212)310-8962 4427                                    1.98
01-08-2007     Long Distance Telephone 1(562)714-6866 4427                                   16.83
01-08-2007     Long Distance Telephone 1(801)323-3380 4427                                    0.99
01-08-2007     Long Distance Telephone 1(801)323-3346 5756                                    8.91
01-08-2007     Long Distance Telephone 1(801)323-3346 5756                                   40.59
01-09-2007     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 Committee             139.92
               meeting 1/8/07
01-09-2007     Photocopying                                                                   0.60
01-09-2007     Photocopying                                                                   0.20
01-09-2007     Long Distance Telephone 1(702)388-6192 5314                                    0.99
01-09-2007     Long Distance Telephone 1(916)329-4910 5756                                   13.86
01-09-2007     Long Distance Telephone 1(310)228-5605 4427                                    4.95
01-09-2007     Meal Expenses by Ms S Freeman on 12/19-21/06 for meal in Las Vegas,           11.85
               NV for court hearing
01-09-2007     Travel Expenses by Ms S Freeman on 12/19-21/06 for travel to Las             327.36
               Vegas, NV for court hearing
01-10-2007     Long Distance Telephone 1(702)791-0308 4427                                   19.80
01-10-2007     Long Distance Telephone 1(310)228-5605 4427                                   16.83
01-10-2007     Long Distance Telephone 1(916)329-4910 4427                                    2.97
01-10-2007     Long Distance Telephone 1(916)329-4910 4427                                   32.67
01-10-2007     Long Distance Telephone 1(702)855-4547 5756                                    0.99
01-10-2007     Long Distance Telephone 1(916)329-4910 5756                                    0.99
01-10-2007     Long Distance Telephone 1(916)329-4910 5756                                   12.87
01-10-2007     Long Distance Telephone 1(916)329-4910 5756                                   11.88
01-11-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV to        471.62
               attend confirmation hearings and meet with clients 12/18-20/06 165
01-11-2007     Meeting Expense - - VENDOR:Jason's Deli                                      134.47
01-11-2007     Photocopying                                                                   2.80
01-11-2007     Miscellaneous Expenses for R.Charles on 12/15/06 for Court Conference         96.50
               call with Judge Riegle in Tree Moss involuntary re appt of trustee;
               temporary allowance of Binford claim
01-12-2007     Photocopying                                                                   4.80
01-12-2007     Long Distance Telephone 1(530)304-5283 5756                                    0.99
01-12-2007     Long Distance Telephone 1(702)855-4547 7727                                   11.88
01-12-2007     Long Distance Telephone 1(562)714-6866 4427                                    7.92
01-15-2007     Westlaw                                                                       29.16
01-15-2007     Westlaw                                                                       54.46
01-15-2007     Long Distance Telephone 1(702)228-7590 4430                                    9.90
01-15-2007     Long Distance Telephone 1(212)310-8962 4427                                    1.98
01-15-2007     Long Distance Telephone 1(602)744-7144 4427                                    0.84
01-15-2007     Long Distance Telephone 1(213)308-0034 4427                                    4.95
01-15-2007     Long Distance Telephone 1(916)329-4910 5756                                    5.94
01-16-2007     Long Distance Telephone 1(213)617-2717 4427                                    7.92
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01-16-2007     Long Distance Telephone 1(713)333-5180 4427                                       6.93
01-16-2007     Long Distance Telephone 1(713)333-5180 4427                                      90.09
01-16-2007     Long Distance Telephone 1(713)333-5104 5756                                       6.93
01-16-2007     Long Distance Telephone 1(916)329-4910 5756                                       3.96
01-17-2007     Photocopying                                                                     86.60
01-17-2007     Long Distance Telephone 1(702)796-5555 4427                                       0.99
01-17-2007     Long Distance Telephone 1(702)810-9065 4427                                       0.99
01-17-2007     Long Distance Telephone 1(602)647-6382 4427                                       3.96
01-17-2007     Long Distance Telephone 1(213)617-2717 4427                                      25.74
01-17-2007     Long Distance Telephone 1(310)228-5605 4427                                      18.81
01-17-2007     Long Distance Telephone 1(702)796-5555 4427                                       0.99
01-17-2007     Long Distance Telephone 1(775)788-2219 4427                                       0.99
01-17-2007     Long Distance Telephone 1(702)796-5555 4427                                       1.98
01-17-2007     Long Distance Telephone 1(702)855-4547 4427                                       0.99
01-18-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV              460.46
               for hearings on 1/3/07 and meeting with Trustee and oversight committee
               on 1/4/07
01-18-2007     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee                111.48
               call on 1/17/07
01-18-2007     Photocopying                                                                     30.60
01-18-2007     Long Distance Telephone 1(702)228-7590 5756                                       9.90
01-18-2007     Long Distance Telephone 1(214)500-1606 5314                                       1.98
01-18-2007     Long Distance Telephone 1(702)855-4547 4427                                      14.85
01-18-2007     Long Distance Telephone 1(702)388-6600 4427                                       0.99
01-18-2007     Travel Expenses by Mr J Hinderaker on 12/18/06 for airfare to Las Vegas,        225.10
               NV for direct examination
01-19-2007     Postage                                                                         186.03
01-19-2007     Westlaw                                                                          11.67
01-19-2007     Westlaw                                                                           7.78
01-19-2007     Photocopying                                                                      6.40
01-19-2007     Photocopying                                                                     10.40
01-19-2007     Photocopying                                                                      7.00
01-19-2007     Photocopying                                                                    744.40
01-19-2007     Photocopying                                                                      0.40
01-19-2007     Photocopying                                                                      3.80
01-19-2007     Photocopying                                                                      2.80
01-19-2007     Long Distance Telephone 1(520)349-0737 7419                                       0.60
01-19-2007     Long Distance Telephone 1(702)233-6149 4427                                      13.86
01-19-2007     Long Distance Telephone 1(602)744-7144 4427                                       0.43
01-19-2007     Long Distance Telephone 1(310)228-5660 4427                                       2.97
01-20-2007     Long Distance Telephone 1(310)614-5144 4427                                       5.94
01-21-2007     Photocopying                                                                      2.60
01-22-2007     Postage                                                                          67.41
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01-22-2007     Photocopying                                                               165.40
01-22-2007     Photocopying                                                                26.40
01-22-2007     Long Distance Telephone 1(530)304-5283 4427                                  0.99
01-22-2007     Long Distance Telephone 1(713)333-5130 5314                                  9.90
01-22-2007     Long Distance Telephone 1(702)388-6192 5314                                  1.98
01-22-2007     Parking Expense                                                              1.50
01-23-2007     Photocopying                                                                 2.20
01-23-2007     Photocopying                                                                 0.20
01-23-2007     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19750924255                23.28
01-23-2007     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19750972651                24.55
01-23-2007     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19771646856                18.70
01-23-2007     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19771713452                18.97
01-23-2007     Long Distance Telephone 1(214)389-5306 5756                                 46.53
01-23-2007     Long Distance Telephone 1(530)273-1473 4427                                  7.92
01-23-2007     Long Distance Telephone 1(213)617-2717 4427                                  3.96
01-23-2007     Long Distance Telephone 1(702)233-6149 4427                                 34.65
01-24-2007     Fedex                                                                       40.17
01-24-2007     Photocopying                                                                86.60
01-24-2007     Photocopying                                                                 6.00
01-24-2007     Long Distance Telephone 1(213)617-2717 4427                                 20.79
01-24-2007     Long Distance Telephone 1(702)360-2266 4427                                  0.99
01-24-2007     Long Distance Telephone 1(702)302-2887 4427                                 14.85
01-24-2007     Long Distance Telephone 1(1480)505-4048 4427                                 0.24
01-24-2007     Long Distance Telephone 1(213)617-2717 4427                                 20.79
01-24-2007     Long Distance Telephone 1(702)360-2266 4427                                  0.99
01-24-2007     Long Distance Telephone 1(702)302-2887 4427                                 14.85
01-24-2007     Long Distance Telephone 1(1480)505-4048 4427                                 0.24
01-25-2007     Other Disbursements - - VENDOR:U.S. Bankruptcy Court Clerk CD from          26.00
               U.S. Bankruptcy Court for Rob Charles
01-25-2007     Delivery - UPS - - VENDOR:Worldwide Express Inv. 19800230553                52.74
01-25-2007     Long Distance Telephone 1(713)333-5130 5314                                  0.99
01-25-2007     Long Distance Telephone 1(702)228-7590 5314                                  1.98
01-25-2007     Long Distance Telephone 1(702)388-6587 5314                                  2.97
01-25-2007     Long Distance Telephone 1(702)388-6587 5314                                  2.97
01-25-2007     Long Distance Telephone 1(702)388-6587 5314                                  0.99
01-25-2007     Long Distance Telephone 1(702)388-6587 5314                                  0.99
01-25-2007     Long Distance Telephone 1(713)333-5130 5314                                  8.91
01-25-2007     Long Distance Telephone 1(602)744-7144 4427                                  0.36
01-25-2007     Long Distance Telephone 1(602)255-6088 4427                                  0.60
01-25-2007     Long Distance Telephone 1(1480)747-5657 4427                                 0.24
01-25-2007     Long Distance Telephone 1(760)328-0510 4427                                  7.92
01-25-2007     Long Distance Telephone 1(801)323-3321 4427                                 13.86
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01-25-2007     Long Distance Telephone 1(702)796-5555 4427                               1.98
01-25-2007     Long Distance Telephone 1(916)329-4910 4427                              24.75
01-25-2007     Long Distance Telephone 1(602)744-7144 4427                               0.36
01-25-2007     Long Distance Telephone 1(602)255-6088 4427                               0.60
01-25-2007     Long Distance Telephone 1(1480)747-5657 4427                              0.24
01-25-2007     Long Distance Telephone 1(760)328-0510 4427                               7.92
01-25-2007     Long Distance Telephone 1(801)323-3321 4427                              13.86
01-25-2007     Long Distance Telephone 1(702)796-5555 4427                               1.98
01-25-2007     Long Distance Telephone 1(916)329-4910 4427                              24.75
01-26-2007     Postage                                                                   4.56
01-26-2007     Photocopying                                                              7.00
01-26-2007     Photocopying                                                              4.60
01-26-2007     Photocopying                                                              8.00
01-26-2007     Long Distance Telephone 1(801)323-3346 5756                               6.93
01-26-2007     Long Distance Telephone 1(213)617-2717 4427                              16.83
01-26-2007     Long Distance Telephone 1(702)796-5555 4427                               0.99
01-26-2007     Long Distance Telephone 1(602)744-7100 4427                               0.60
01-26-2007     Long Distance Telephone 1(702)855-4547 4427                              12.87
01-26-2007     Long Distance Telephone 1(702)796-5555 4427                               0.99
01-26-2007     Long Distance Telephone 1(213)617-2717 4427                              16.83
01-26-2007     Long Distance Telephone 1(702)796-5555 4427                               0.99
01-26-2007     Long Distance Telephone 1(602)744-7100 4427                               0.60
01-26-2007     Long Distance Telephone 1(702)855-4547 4427                              12.87
01-26-2007     Long Distance Telephone 1(702)796-5555 4427                               0.99
01-26-2007     Document Preparation                                                      1.50
01-26-2007     Document Preparation color copies                                        23.10
01-28-2007     Westlaw                                                                 153.09
01-28-2007     Westlaw                                                                  18.24
01-28-2007     Westlaw                                                                 287.86
01-28-2007     Westlaw                                                                 983.17
01-29-2007     Westlaw                                                                  63.21
01-29-2007     Westlaw                                                                  36.45
01-29-2007     Westlaw                                                                  18.24
01-29-2007     Westlaw                                                                  73.91
01-29-2007     Westlaw                                                                 281.05
01-29-2007     Westlaw                                                                  14.58
01-29-2007     Westlaw                                                                  34.04
01-29-2007     Westlaw                                                                  62.24
01-29-2007     Photocopying                                                              5.00
01-29-2007     Photocopying                                                              0.60
01-29-2007     Photocopying                                                              7.40
01-29-2007     Long Distance Telephone 1(916)329-4910 5756                               0.99
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01-29-2007     Long Distance Telephone 1(801)323-3346 5756                                   0.99
01-29-2007     Long Distance Telephone 1(713)333-5130 5314                                   1.98
01-29-2007     Long Distance Telephone 1(213)617-2717 5756                                   2.97
01-29-2007     Long Distance Telephone 1(702)228-7590 4430                                   1.98
01-29-2007     Long Distance Telephone 1(602)744-7144 4427                                   0.36
01-29-2007     Long Distance Telephone 1(702)228-7590 4430                                   1.98
01-29-2007     Long Distance Telephone 1(602)744-7144 4427                                   0.36
01-30-2007     Westlaw                                                                      72.90
01-30-2007     Westlaw                                                                       6.08
01-30-2007     Westlaw                                                                     102.12
01-30-2007     Westlaw                                                                     105.03
01-30-2007     Westlaw                                                                     632.11
01-30-2007     Photocopying                                                                 26.40
01-30-2007     Photocopying                                                                 18.40
01-30-2007     Long Distance Telephone 1(702)471-7432 4427                                   4.95
01-30-2007     Long Distance Telephone 1(702)796-5555 4427                                   0.99
01-30-2007     Long Distance Telephone 1(702)471-7432 4427                                   4.95
01-30-2007     Long Distance Telephone 1(702)796-5555 4427                                   0.99
01-31-2007     Other Disbursements - - VENDOR:A+ Conferencing Meeting with debtors          22.08
               and Ms. S. Freeman on Discovery 1/26/07
01-31-2007     Other Disbursements - - VENDOR:A+ Conferencing Creditors committee          154.44
               meeting 1/24/07
01-31-2007     Westlaw                                                                      29.16
01-31-2007     Westlaw                                                                      31.12
01-31-2007     Westlaw                                                                     197.41
01-31-2007     Photocopying                                                                  8.00
01-31-2007     Photocopying                                                                  0.40
01-31-2007     Long Distance Telephone 1(602)910-0257 4427                                   1.32
01-31-2007     Long Distance Telephone 1(760)889-7200 4427                                   3.96
02-01-2007     Fedex                                                                        68.30
02-01-2007     Westlaw                                                                       7.78
02-01-2007     Westlaw                                                                     367.71
02-01-2007     Photocopying                                                                  1.00
02-01-2007     Long Distance Telephone 1(602)744-7144 4427                                   1.56
02-01-2007     Long Distance Telephone 1(602)424-7007 4427                                   0.27
02-01-2007     Long Distance Telephone 1(702)796-5555 4427                                   1.98
02-01-2007     Long Distance Telephone 1(602)744-7144 4427                                   1.56
02-01-2007     Long Distance Telephone 1(602)424-7007 4427                                   0.27
02-01-2007     Long Distance Telephone 1(702)796-5555 4427                                   1.98
02-02-2007     Westlaw                                                                      19.93
02-02-2007     Westlaw                                                                      56.65
02-02-2007     Westlaw                                                                     285.14
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02-02-2007     Westlaw                                                                     226.39
02-02-2007     Westlaw                                                                     105.45
02-02-2007     Westlaw                                                                     415.86
02-02-2007     Westlaw                                                                      46.68
02-02-2007     Westlaw                                                                       1.11
02-02-2007     Westlaw                                                                      19.16
02-02-2007     Photocopying                                                                  0.20
02-02-2007     Long Distance Telephone 1(213)617-2717 4427                                   1.98
02-02-2007     Long Distance Telephone 1(310)228-5605 4427                                   4.95
02-02-2007     Long Distance Telephone 1(702)796-5555 4427                                   0.99
02-02-2007     Long Distance Telephone 1(213)612-2413 4427                                  12.87
02-02-2007     Long Distance Telephone 1(702)796-5555 4427                                   1.98
02-02-2007     Long Distance Telephone 1(213)617-2717 4427                                  12.87
02-02-2007     Long Distance Telephone 1(213)617-2717 4427                                   1.98
02-02-2007     Long Distance Telephone 1(310)228-5605 4427                                   4.95
02-02-2007     Long Distance Telephone 1(702)796-5555 4427                                   0.99
02-02-2007     Long Distance Telephone 1(213)612-2413 4427                                  12.87
02-02-2007     Long Distance Telephone 1(702)796-5555 4427                                   1.98
02-02-2007     Long Distance Telephone 1(213)617-2717 4427                                  12.87
02-05-2007     Other Disbursements - - VENDOR:A+ Conferencing Call to D. Walker, G.         85.56
               Berman, S. Freeman, T. Burr on Std. Prop. Settlement; 2) Committee's
               meeting of creditors 2/1/07
02-05-2007     Westlaw                                                                      14.60
02-05-2007     Westlaw                                                                      34.05
02-05-2007     Westlaw                                                                     472.77
02-05-2007     Westlaw                                                                      17.43
02-05-2007     Westlaw                                                                      49.53
02-05-2007     Westlaw                                                                      50.86
02-05-2007     Westlaw                                                                     499.12
02-05-2007     Westlaw                                                                      45.57
02-05-2007     Westlaw                                                                       7.30
02-05-2007     Westlaw                                                                      46.68
02-05-2007     Westlaw                                                                      12.88
02-05-2007     Photocopying                                                                  4.40
02-05-2007     Photocopying                                                                  6.60
02-05-2007     Long Distance Telephone 1(310)228-5600 4427                                   0.99
02-05-2007     Long Distance Telephone 1(530)559-3641 4427                                   4.95
02-05-2007     Long Distance Telephone 1(702)796-5555 4427                                   4.95
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           10.00
               Service 01/04/07
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           15.00
               Service 01/19/07
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02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           33.00
               Service 01/19/07
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           10.00
               Service 01/22/07
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           10.00
               Service 01/25/07
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           30.00
               Service 01/26/07
02-05-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner           10.00
               Service 01/30/07
02-06-2007     Westlaw                                                                       3.23
02-06-2007     Westlaw                                                                       9.18
02-06-2007     Westlaw                                                                     100.47
02-06-2007     Photocopying                                                                  2.80
02-06-2007     Photocopying                                                                 38.40
02-06-2007     Photocopying                                                                  0.40
02-06-2007     Photocopying                                                                  0.20
02-06-2007     Long Distance Telephone 1(520)349-0737 5756                                   0.36
02-06-2007     Long Distance Telephone 1(213)617-2717 5740                                   4.95
02-06-2007     Long Distance Telephone 1(916)329-4910 5740                                  12.87
02-06-2007     Long Distance Telephone 1(702)796-5555 5756                                   1.98
02-06-2007     Long Distance Telephone 1(520)349-0737 5756                                   1.82
02-07-2007     Westlaw                                                                       7.56
02-07-2007     Westlaw                                                                     116.74
02-07-2007     Westlaw                                                                     101.14
02-07-2007     Westlaw                                                                     201.37
02-07-2007     Photocopying                                                                  7.20
02-07-2007     Long Distance Telephone 1(702)228-7590 4427                                   0.99
02-07-2007     Long Distance Telephone 1(702)791-0308 4427                                   0.99
02-07-2007     Long Distance Telephone 1(214)389-5306 5756                                  16.83
02-07-2007     Long Distance Telephone 1(801)323-3382 5756                                   4.95
02-08-2007     Other Disbursements - - VENDOR:A+ Conferencing Call with debtors and         82.44
               DTDF on HMA Sales matter 2/5/07
02-08-2007     Westlaw                                                                      14.60
02-08-2007     Westlaw                                                                      11.67
02-08-2007     Westlaw                                                                      15.56
02-08-2007     Westlaw                                                                      56.42
02-08-2007     Photocopying                                                                  0.20
02-08-2007     Photocopying                                                                  0.40
02-08-2007     Long Distance Telephone 1(702)384-7111 4427                                   0.99
02-08-2007     Long Distance Telephone 1(702)233-6149 4427                                   9.90
02-08-2007     Facsimile Document 1-801-532-7543                                             5.00
         Case 06-10725-gwz      Doc 3614-4      Entered 04/27/07 13:36:08         Page 130 of 146
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02-08-2007     Travel Expenses for S. Freeman on 01/17/07 for Airfare, Cab Fare, and           247.30
               Parking while on trip to Las Vegas for court hearing
02-08-2007     Travel Expenses for S. Freeman on 1/30/07 for Airfare, Hotel Room, Cab          598.01
               fare, and Parking while on trip to Las Vegas to attend court hearing
02-09-2007     Photocopying                                                                      7.20
02-09-2007     Long Distance Telephone 1(602)955-4466 4427                                       4.61
02-09-2007     Long Distance Telephone 1(702)796-5555 4427                                      26.73
02-09-2007     Long Distance Telephone 1(562)714-6866 4427                                       1.98
02-09-2007     Travel Expenses for Ms. Susan Freeman on 01/11/07 for Trip to Las Vegas          97.00
               to attend Court Hearing
02-11-2007     Westlaw                                                                          21.90
02-11-2007     Westlaw                                                                           6.08
02-11-2007     Westlaw                                                                          34.05
02-11-2007     Westlaw                                                                         101.14
02-11-2007     Westlaw                                                                         427.06
02-12-2007     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 2/9/07                    98.40
               particpate in conf. call w/USACM committee members
02-12-2007     Photocopying                                                                      1.60
02-12-2007     Long Distance Telephone 1(562)714-6866 5756                                       0.99
02-12-2007     Long Distance Telephone 1(562)714-6866 5756                                       2.97
02-12-2007     Long Distance Telephone 1(602)424-7007 4427                                       6.36
02-12-2007     Long Distance Telephone 1(602)744-7144 4427                                       6.36
02-12-2007     Long Distance Telephone 1(702)250-3638 4427                                      15.84
02-12-2007     Long Distance Telephone 1(702)796-5555 4427                                       8.91
02-12-2007     Long Distance Telephone 1(305)968-9007 4427                                       0.99
02-12-2007     Travel Expenses for Mr. Rob Charles on 02/07/07 for Trip to Las Vegas to        290.58
               attend USDC hearing on motion to dismiss appeal
02-13-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Attend District Court          292.55
               in Las Vegas, NV for hearing on emergency motion to dismiss USAIP
               appeal (motion granted) 2/9/07 165
02-13-2007     Westlaw                                                                           8.42
02-13-2007     Westlaw                                                                          23.93
02-13-2007     Westlaw                                                                           7.42
02-13-2007     Westlaw                                                                         147.97
02-13-2007     Westlaw                                                                          75.75
02-13-2007     Westlaw                                                                         117.07
02-13-2007     Westlaw                                                                           7.30
02-13-2007     Westlaw                                                                           6.08
02-13-2007     Westlaw                                                                          15.56
02-13-2007     Photocopying                                                                      4.80
02-13-2007     Photocopying                                                                      2.40
02-13-2007     Lexis                                                                            43.75
02-13-2007     Lexis                                                                            45.00
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02-13-2007     Long Distance Telephone 1(214)389-5306 8277                                        1.98
02-13-2007     Long Distance Telephone 1(702)873-7111 4427                                       11.88
02-13-2007     Long Distance Telephone 1(602)424-7007 4427                                        0.36
02-13-2007     Long Distance Telephone 1(801)532-1500 4427                                        1.98
02-13-2007     Long Distance Telephone 1(801)323-3382 4427                                        6.93
02-13-2007     Long Distance Telephone 1(562)714-6866 5756                                        0.99
02-13-2007     Miscellaneous Expenses for Mr. Robert Charles on 01/17/07 for                     51.00
               Telephonic hearing on general status report on intercompany claims,
               USAIP protective order
02-13-2007     Miscellaneous Expenses for Mr. Robert Charles on 12/28/06 for Court               31.50
               Conference call with Judge Riegle regarding Application for TRO in
               USACM & Diversified vs. HMA Sales
02-14-2007     Service of Process - - VENDOR:PACER Service Center                               255.36
02-14-2007     Photocopying                                                                       0.80
02-14-2007     Long Distance Telephone 1(213)617-2717 4427                                        1.98
02-14-2007     Long Distance Telephone 1(775)786-7600 4427                                        1.98
02-15-2007     Westlaw                                                                           10.95
02-15-2007     Westlaw                                                                           31.10
02-15-2007     Westlaw                                                                          248.44
02-15-2007     Westlaw                                                                          113.72
02-15-2007     Westlaw                                                                          263.86
02-15-2007     Westlaw                                                                           29.20
02-16-2007     Other Disbursements - - VENDOR:A+ Conferencing Call on transition                 26.52
               issues w/Debtors, FTDF and Compass
02-16-2007     Long Distance Telephone 1(702)228-7590 4427                                       20.79
02-16-2007     Long Distance Telephone 1(310)228-5605 4427                                        7.92
02-16-2007     Travel Expenses for Ms. Susan Freeman on 2/13/07 for trip to Las Vegas to        272.30
               attend meetings with debtors, committees, Mr. S. Bice
02-19-2007     Other Disbursements - - VENDOR:A+ Conferencing Call with creditors               126.12
               committee mtg. 2/16/07
02-19-2007     Westlaw                                                                            7.78
02-19-2007     Westlaw                                                                            8.09
02-19-2007     Westlaw                                                                           23.05
02-19-2007     Westlaw                                                                          379.17
02-19-2007     Westlaw                                                                           58.28
02-19-2007     Westlaw                                                                           24.00
02-19-2007     Westlaw                                                                           73.00
02-20-2007     Westlaw                                                                           16.83
02-20-2007     Westlaw                                                                           47.65
02-20-2007     Westlaw                                                                          774.83
02-20-2007     Westlaw                                                                          142.32
02-20-2007     Westlaw                                                                            1.70
02-20-2007     Westlaw                                                                            2.72
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02-20-2007     Westlaw                                                                        65.70
02-20-2007     Photocopying                                                                    0.60
02-20-2007     Long Distance Telephone 1(520)349-0737 5756                                     5.64
02-20-2007     Facsimile Document 1(1702)796-4848                                              4.00
02-21-2007     Westlaw                                                                        36.48
02-21-2007     Westlaw                                                                        77.80
02-21-2007     Westlaw                                                                        11.67
02-21-2007     Westlaw                                                                        11.42
02-21-2007     Westlaw                                                                        32.39
02-21-2007     Westlaw                                                                       363.89
02-21-2007     Westlaw                                                                       162.33
02-21-2007     Westlaw                                                                        37.91
02-21-2007     Westlaw                                                                        14.60
02-21-2007     Photocopying                                                                    6.00
02-21-2007     Long Distance Telephone 1(213)617-2717 4427                                    19.80
02-21-2007     Facsimile Document 1-702-388-6970                                               7.00
02-21-2007     Facsimile Document 1-702-796-4848                                               4.00
02-22-2007     Westlaw                                                                        11.00
02-22-2007     Westlaw                                                                        31.04
02-22-2007     Westlaw                                                                       171.90
02-22-2007     Westlaw                                                                       147.49
02-22-2007     Westlaw                                                                       271.24
02-22-2007     Westlaw                                                                         7.30
02-22-2007     Westlaw                                                                        25.10
02-22-2007     Westlaw                                                                        71.25
02-22-2007     Westlaw                                                                     1,030.24
02-22-2007     Westlaw                                                                       275.09
02-22-2007     Westlaw                                                                         9.28
02-22-2007     Westlaw                                                                        87.60
02-22-2007     Long Distance Telephone 1(310)228-5605 5756                                     0.99
02-22-2007     Long Distance Telephone 1(702)388-6505 4427                                     1.98
02-22-2007     Long Distance Telephone 1(305)968-9007 4427                                     7.92
02-22-2007     Facsimile Document 1-702-388-6970                                               9.00
02-22-2007     Facsimile Document 1-702-365-6940                                               3.00
02-23-2007     Outside Professional Services - - VENDOR:PACER Service Center                  60.80
02-23-2007     Westlaw                                                                       670.84
02-23-2007     Westlaw                                                                        55.61
02-23-2007     Westlaw                                                                         7.30
02-23-2007     Westlaw                                                                         1.78
02-23-2007     Westlaw                                                                         2.19
02-23-2007     Westlaw                                                                        43.11
02-23-2007     Westlaw                                                                        12.29
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02-23-2007     Westlaw                                                                         34.89
02-23-2007     Photocopying                                                                     1.40
02-23-2007     Photocopying                                                                     6.60
02-23-2007     Long Distance Telephone 1(801)532-1500 5756                                      2.97
02-23-2007     Long Distance Telephone 1(916)329-4910 5756                                     11.88
02-26-2007     Other Disbursements - - VENDOR:A+ Conferencing Call by committee                 3.24
               chairman 2/21/07
02-26-2007     Westlaw                                                                          37.75
02-26-2007     Westlaw                                                                         107.45
02-26-2007     Westlaw                                                                       1,402.90
02-26-2007     Westlaw                                                                         427.27
02-26-2007     Westlaw                                                                         165.92
02-26-2007     Westlaw                                                                          36.50
02-26-2007     Photocopying                                                                      1.20
02-26-2007     Photocopying                                                                      0.40
02-26-2007     Long Distance Telephone 1(530)273-1473 8336                                      23.76
02-27-2007     Westlaw                                                                           7.78
02-27-2007     Travel Expenses for Ms. Susan Freeman on 2/15/07 for Trip to Las Vegas          382.30
               for Court hearing
02-28-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Travel to Las Vegas,          417.00
               NV for meeting with USACM Trustee, DTDF Committee and Debtors
               2/19-20/07 165
02-28-2007     Travel Expenses by Ms S Freeman on 12/12/06 for CREDIT for duplicate          (107.10)
               airfare to Las Vegas, NV for court hearing
02-28-2007     Travel Expenses by Ms S Freeman on 12/19/06 for CREDIT for duplicate          (107.10)
               airfare to Las Vegas, NV for court hearing
02-28-2007     Travel Expenses by Ms S Freeman on 8/31/06 for CREDIT for duplicate           (123.30)
               charge for airfare to Las Vegas, NV for court hearing
02-28-2007     Westlaw                                                                         97.28
02-28-2007     Westlaw                                                                         11.67
02-28-2007     Westlaw                                                                        116.70
02-28-2007     Westlaw                                                                         23.34
02-28-2007     Westlaw                                                                        112.84
02-28-2007     Photocopying                                                                     2.80
02-28-2007     Long Distance Telephone 1(801)323-3321 5756                                      0.99
02-28-2007     Long Distance Telephone 1(801)323-3382 5756                                      2.97
02-28-2007     Long Distance Telephone 1(212)310-8962 5756                                      3.96
02-28-2007     Long Distance Telephone 1(213)617-2717 5756                                      1.98
02-28-2007     Long Distance Telephone 1(801)323-3387 5756                                      0.99
02-28-2007     Long Distance Telephone 1(213)617-2717 5756                                      9.90
02-28-2007     Long Distance Telephone 1(702)796-5555 4427                                      1.98
02-28-2007     Long Distance Telephone 1(213)617-2717 4427                                      5.94
02-28-2007     Long Distance Telephone 1(702)796-4000 4427                                     11.88
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02-28-2007     Long Distance Telephone 1(702)228-7590 4427                                          1.98
03-01-2007     Photocopying                                                                         0.60
03-01-2007     Long Distance Telephone 1(214)389-5300 5314                                          1.98
03-01-2007     Long Distance Telephone 1(520)991-5839 5321                                          0.36
03-02-2007     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 committee                   162.12
               meeting 2/27/07
03-02-2007     Westlaw                                                                             29.21
03-02-2007     Westlaw                                                                             12.16
03-02-2007     Westlaw                                                                             23.36
03-02-2007     Westlaw                                                                             31.16
03-02-2007     Westlaw                                                                             31.16
03-02-2007     Westlaw                                                                             31.15
03-02-2007     Westlaw                                                                              1.34
03-02-2007     Westlaw                                                                             14.70
03-02-2007     Westlaw                                                                             19.48
03-02-2007     Photocopying                                                                         0.40
03-02-2007     Long Distance Telephone 1(212)668-2870 5314                                          4.95
03-02-2007     Long Distance Telephone 1(702)228-7590 5314                                          2.97
03-02-2007     Long Distance Telephone 1(801)323-3387 5756                                         21.78
03-02-2007     Long Distance Telephone 1(702)791-0308 5756                                          2.97
03-02-2007     Long Distance Telephone 1(602)424-7007 4427                                          0.84
03-02-2007     Long Distance Telephone 1(801)532-1500 4427                                          1.98
03-03-2007     Photocopying                                                                         6.00
03-04-2007     Photocopying                                                                         7.20
03-05-2007     Travel Expenses for Ms. Susan Freeman on 3/01/07 for Trip to Las Vegas             278.30
               for court hearing
03-05-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas for                 295.57
               Reale settlement conference 2/26/07 165
03-05-2007     Travel Expense - - VENDOR:Robert M. Charles, Jr. Trv/Las Vegas, NV                 292.07
               for hearings on Sect. 1142 motion, lease extension, stay pending appeal and
               allocation motion 3/1/07 165
03-05-2007     Other Disbursements - - VENDOR:A+ Conferencing 46533.1 Call w/ S.                   21.00
               Strong, A. Jarvis & G. Berman 3/2/07
03-05-2007     Westlaw                                                                             11.68
03-05-2007     Westlaw                                                                              7.79
03-05-2007     Photocopying                                                                         1.20
03-05-2007     Long Distance Telephone 1(213)617-2717 4427                                         10.89
03-05-2007     Long Distance Telephone 1(916)329-4910 4427                                         26.73
03-05-2007     Long Distance Telephone 1(801)323-3321 4427                                          9.90
03-05-2007     Long Distance Telephone 1(213)617-2717 4427                                          6.93
03-05-2007     Long Distance Telephone 1(213)617-2717 4427                                          3.96
03-05-2007     Long Distance Telephone 1(530)273-1473 4427                                          2.97
03-05-2007     Long Distance Telephone 1(213)617-2717 4427                                          1.98
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03-05-2007     Long Distance Telephone 1(480)505-4048 4427                                        2.52
03-05-2007     Long Distance Telephone 1(917)952-2450 5756                                        0.99
03-06-2007     Court Fees - - VENDOR:Clk, U.S. Bankruptcy Ct Nevada 46533.1 charge               26.00
               for CD of 1/17/07 m/partial Summary Jgmt. re USACM's counterclaim for
               decl. relief
03-06-2007     Westlaw                                                                           12.16
03-06-2007     Westlaw                                                                           38.96
03-06-2007     Westlaw                                                                           46.74
03-06-2007     Westlaw                                                                          115.85
03-06-2007     Photocopying                                                                       0.60
03-06-2007     Long Distance Telephone 1(602)744-7100 4427                                        0.60
03-06-2007     Long Distance Telephone 1(602)424-7007 7736                                        0.36
03-06-2007     Long Distance Telephone 1(214)389-5306 4427                                        5.94
03-06-2007     Long Distance Telephone 1(702)388-6192 5314                                        1.98
03-06-2007     Long Distance Telephone 1(801)323-3346 5756                                        0.99
03-06-2007     Long Distance Telephone 1(713)333-5104 5314                                       16.83
03-06-2007     Long Distance Telephone 1(562)714-6866 5756                                        0.99
03-06-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner                35.00
               service 02/02/07
03-06-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner                30.00
               service 02/06/07
03-06-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner                10.00
               service 02/12/07
03-06-2007     Delivery/Pick-up - - VENDOR:Paradigm Attorney Service, Inc. Runner                10.00
               service 02/15/07
03-07-2007     Miscellaneous Expenses by Ms. S Freeman on 1/30-31/07 for additional              56.30
               airfare for travel change to Las Vegas, NV on 1/30-31/07 to attend court
               hearing
03-07-2007     Miscellaneous Expenses by Ms. S Freeman on 12/19-21/07 for additional             70.50
               airfare for travel to change attending court hearing
03-07-2007     Photocopying                                                                      95.00
03-07-2007     Long Distance Telephone 1(702)952-5200 5756                                        1.98
03-08-2007     Photocopying                                                                      31.80
03-09-2007     Westlaw                                                                            4.42
03-09-2007     Westlaw                                                                           12.57
03-09-2007     Westlaw                                                                          132.67
03-09-2007     Westlaw                                                                           73.01
03-09-2007     Westlaw                                                                           58.44
03-09-2007     Westlaw                                                                            1.44
03-09-2007     Westlaw                                                                            4.03
03-09-2007     Westlaw                                                                           11.71
03-09-2007     Westlaw                                                                           38.47
03-09-2007     Westlaw                                                                           38.96
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03-09-2007        Photocopying                                                                  4.00
03-09-2007        Long Distance Telephone 1(602)424-7007 4427                                   0.36
03-09-2007        Long Distance Telephone 1(702)388-7185 4427                                   0.99
03-09-2007        Long Distance Telephone 1(562)714-6866 4427                                   1.98
03-09-2007        Long Distance Telephone 1(702)228-7590 4427                                   0.99
03-09-2007        Long Distance Telephone 1(602)418-2906 4427                                   0.36
03-09-2007        Long Distance Telephone 1(562)714-6866 4427                                   1.98
03-09-2007        Long Distance Telephone 1(702)796-4000 4427                                   2.97
03-10-2007        Long Distance Telephone 1(562)947-0547 4427                                   2.97


                                    TOTAL ADVANCES                                      $ 80,326.22


TIMEKEEPER SUMMARY BY TASK

                                         Billed        Hours        Billed
   Timekeeper                         Per Hour         Billed      Amount


       TASK CODE      B110 CASE ADMINISTRATION

   S. Freeman                           510.00          119.9     61,149.00
   D. Manch                             405.00            0.3       121.50
   R. Charles                             0.00            0.6          0.00
   R. Charles                           385.00           79.6     30,646.00
   H. Taylor                            355.00            2.5       887.50
   T. Morgan                            400.00            1.3       520.00
   L. Kasten                            390.00            0.4       156.00
   S. Brown                             320.00           23.3      7,456.00
   M. Schoenike                           0.00            5.2          0.00
   M. Schoenike                         180.00           95.0     17,100.00
   C. Clancy                            195.00            0.8       156.00
   C. Arnold                            170.00            0.2        34.00
   K. Cady                              140.00            1.3       182.00
   N. Tanner                            160.00            1.5       240.00
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C. Jordan                         0.00         21.3           0.00
C. Jordan                        55.00         19.2       1,056.00
S. Bundy                        110.00          2.9        319.00

                TOTAL FOR TASK CODE B110      375.3     120,023.00


    TASK CODE     B120 ASSET ANALYSIS/RECOVERY

S. Freeman                      510.00         11.7       5,967.00
R. Charles                      385.00        121.3      46,700.50
R. McKirgan                     425.00          1.7        722.50
B. Griffin                      340.00          3.3       1,122.00
J. Hinderaker                   340.00         37.9      12,886.00
P. Mause                        200.00         48.1       9,620.00
M. Ruth                         200.00          5.1       1,020.00
S. Meskell                        0.00          6.4           0.00
C. Jordan                        55.00          0.8         44.00

                TOTAL FOR TASK CODE B120      236.3      78,082.00


    TASK CODE     B130 ASSET DISPOSITION

S. Freeman                      510.00         50.7      25,857.00
R. Charles                      385.00        122.0      46,970.00
B. Griffin                      340.00          9.7       3,298.00
T. Morgan                       400.00         17.4       6,960.00
S. Brown                        320.00         16.2       5,184.00
J. Murphy                       200.00          1.6        320.00
M. Schoenike                    180.00          1.2        216.00
J. Siatta                       145.00          0.5         72.50

                TOTAL FOR TASK CODE B130      219.3      88,877.50
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   TASK CODE     B140 RELIEF FROM STAY PROCEEDI

S. Freeman                     510.00          1.7        867.00
R. Charles                     385.00          3.7       1,424.50
M. Schoenike                   180.00          3.0        540.00

               TOTAL FOR TASK CODE B140        8.4       2,831.50


   TASK CODE     B150 MEETINGS OF CREDITORS

S. Freeman                       0.00          1.0           0.00
S. Freeman                     510.00         72.9      37,179.00
R. Charles                     385.00        165.4      63,679.00
H. Taylor                      355.00          0.2         71.00
S. Brown                       320.00          0.9        288.00
M. Schoenike                     0.00         32.5           0.00
M. Schoenike                   180.00         60.9      10,962.00
S. Meskell                       0.00         11.4           0.00
S. Meskell                     145.00         21.5       3,117.50

               TOTAL FOR TASK CODE B150      366.7     115,296.50


   TASK CODE B160 FEE/EMPLOYMENT APPLICATIO
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S. Freeman                      510.00          9.2       4,692.00
R. Charles                        0.00          0.5           0.00
R. Charles                      385.00         17.0       6,545.00
J. Hinderaker                   340.00          0.3        102.00
S. Brown                        320.00          0.2         64.00
M. Schoenike                      0.00          0.2           0.00
M. Schoenike                    180.00         64.4      11,592.00
S. Meskell                      145.00          2.8        406.00

                TOTAL FOR TASK CODE B160       94.6      23,401.00


    TASK CODE     B170 FEE/EMPLOYMENT OBJECTIONS

S. Freeman                      510.00         22.9      11,679.00
R. Charles                        0.00          0.1           0.00
R. Charles                      385.00         20.6       7,931.00
S. Brown                        320.00         36.4      11,648.00
M. Ruth                         200.00         15.0       3,000.00
M. Schoenike                    180.00         12.7       2,286.00
J. Siatta                       145.00          0.7        101.50

                TOTAL FOR TASK CODE B170      108.4      36,645.50


    TASK CODE     B180 AVOIDANCE ACTION ANALYSIS

S. Freeman                      510.00          3.7       1,887.00
R. Charles                      385.00          5.9       2,271.50

                TOTAL FOR TASK CODE B180        9.6       4,158.50


    TASK CODE B185 ASSUMPTION/REJECTION LEAS
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S. Freeman                     510.00          0.3        153.00

                TOTAL FOR TASK CODE B185       0.3        153.00


    TASK CODE     B190 OTHER CONTESTED MATTERS

S. Freeman                     510.00         95.9      48,909.00
R. Charles                       0.00          0.3           0.00
R. Charles                     385.00         38.2      14,707.00
R. McKirgan                    425.00          6.8       2,890.00
B. Griffin                     340.00          0.5        170.00
M. Ruth                        200.00         14.2       2,840.00
L. Lackland                    305.00          1.4        427.00
M. Schoenike                     0.00          3.0           0.00
M. Schoenike                   180.00         21.6       3,888.00

                TOTAL FOR TASK CODE B190     181.9      73,831.00


    TASK CODE     B195 NON-WORKING TRAVEL

S. Freeman                     510.00         21.5      10,965.00
R. Charles                       0.00          0.7           0.00
R. Charles                     385.00         43.1      16,593.50
R. McKirgan                    425.00          1.3        552.50
J. Hinderaker                  340.00          3.3       1,122.00

                TOTAL FOR TASK CODE B195      69.9      29,233.00


    TASK CODE     B210 BUSINESS OPERATIONS
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R. Charles                     385.00          0.2         77.00

               TOTAL FOR TASK CODE B210        0.2         77.00


   TASK CODE     B220 EMPLOYEE BENEFITS/PENSION

S. Freeman                     510.00          0.9        459.00
R. Charles                     385.00          0.3        115.50

               TOTAL FOR TASK CODE B220        1.2        574.50


   TASK CODE     B230 FINANCING

M. Schoenike                   180.00          0.3         54.00

               TOTAL FOR TASK CODE B230        0.3         54.00


   TASK CODE     B310 CLAIMS ADMIN/OBJECTIONS
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S. Freeman                     510.00         20.2      10,302.00
D. Manch                       405.00          1.3        526.50
R. Charles                     385.00         60.9      23,446.50
J. Belanger                    385.00         10.0       3,850.00
J. Hinderaker                  340.00         38.2      12,988.00
S. Brown                       320.00         38.1      12,192.00
E. Simpson                     295.00        140.4      41,418.00
A. Vigil                       260.00          1.9        494.00
M. Ruth                        200.00         40.3       8,060.00
R. Blakley                     230.00         38.9       8,947.00
M. Schoenike                   180.00         52.3       9,414.00
M. Linarez                      55.00         14.0        770.00
C. Jordan                       55.00        113.6       6,248.00
K. Francis                      55.00         15.3        841.50

                TOTAL FOR TASK CODE B310     585.4     139,497.50


    TASK CODE     B320 PLAN/DISCLOSURE STATEMENT

S. Freeman                     510.00        242.5     123,675.00
R. Charles                     385.00        299.6     115,346.00
H. Taylor                      355.00         27.7       9,833.50
S. Brown                       320.00         22.9       7,328.00
M. Ruth                        200.00         34.6       6,920.00
D. Brenner                     255.00          3.6        918.00
R. Blakley                     230.00          8.5       1,955.00
M. Schoenike                   180.00          8.6       1,548.00

                TOTAL FOR TASK CODE B320     648.0     267,523.50
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              TOTAL ALL TASKS        2,905.8    980,374.50
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TIMEKEEPER SUMMARY

                                                Billed      Hours                 Billed
     Timekeeper                              Per Hour       Billed             Amount
     S. Freeman                                   0.00         1.0                 0.00
     S. Freeman                                510.00       674.0            343,740.00
     D. Manch                                  405.00          1.6               648.00
     R. Charles                                   0.00         2.2                 0.00
     R. Charles                                385.00       977.8            376,453.00
     R. McKirgan                               425.00          9.8             4,165.00
     J. Belanger                               385.00        10.0              3,850.00
     B. Griffin                                340.00        13.5              4,590.00
     H. Taylor                                 355.00        30.4             10,792.00
     J. Hinderaker                             340.00        79.7             27,098.00
     T. Morgan                                 400.00        18.7              7,480.00
     L. Kasten                                 390.00          0.4               156.00
     S. Brown                                  320.00       138.0             44,160.00
     E. Simpson                                295.00       140.4             41,418.00
     A. Vigil                                  260.00          1.9               494.00
     P. Mause                                  200.00        48.1              9,620.00
     M. Ruth                                   200.00       109.2             21,840.00
     L. Lackland                               305.00          1.4               427.00
     D. Brenner                                255.00          3.6               918.00
     R. Blakley                                230.00        47.4             10,902.00
     J. Murphy                                 200.00          1.6               320.00
     J. Siatta                                 145.00          1.2               174.00
     S. Bundy                                  110.00          2.9               319.00
     M. Linarez                                  55.00       14.0                770.00
     C. Jordan                                    0.00       21.3                  0.00
     C. Jordan                                   55.00      133.6              7,348.00
     K. Francis                                  55.00       15.3                841.50
     M. Schoenike                                 0.00       40.9                  0.00
     M. Schoenike                              180.00       320.0             57,600.00
     C. Clancy                                 195.00          0.8               156.00
     C. Arnold                                 170.00          0.2                34.00
     S. Meskell                                   0.00       17.8                  0.00
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                                                      Billed      Hours                  Billed
     Timekeeper                                    Per Hour       Billed              Amount
     S. Meskell                                      145.00        24.3               3,523.50
     K. Cady                                         140.00          1.3                182.00
     N. Tanner                                       160.00          1.5                240.00

    Total all Timekeepers                                        2,905.8           $ 980,259.00

ADVANCE SUMMARY


   Description                                                                          Amount
   Delivery - Federal Express                                                              76.01
   Travel Expense                                                                       7,029.82
   Federal Express                                                                        128.57
   Service of Process                                                                     200.00
   Witness Fee                                                                             40.00
   Outside Professional Services                                                        1,635.47
   Court Fees                                                                              26.00
   Other Disbursements                                                                  6,479.39
   Postage                                                                              1,370.01
   Westlaw Computer Research                                                           46,244.10
   Filing Fee                                                                             175.00
   Meeting Expense                                                                        338.18
   Reporting Services and Transcript                                                      493.25
   Delivery - UPS                                                                         464.40
   Lexis                                                                                   88.75
   Long Distance Telephone                                                              3,511.86
   Document Preparation                                                                    24.60
   Facsimile Document                                                                      71.00
   Pickup and Delivery                                                                    304.00
   Parking Expense                                                                          1.50
   Copying Expense (Outside Office)                                                       223.04
   Meal Expenses                                                                           17.71
   Travel Expenses                                                                      4,506.26
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Description                                                                  Amount
Miscellaneous Expenses                                                         481.10
Photocopying                                                                 6,396.20

Total Advances                                                             $ 80,326.22


                                TOTAL FEES AND ADVANCES                     $1,060,585.22


                                DUE AND PAYABLE UPON RECEIPT
